Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 1 of 185 Page|D #:1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

SEAN MCDERMOTT,

Plaintiff,
v.
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC, CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED SAFETY,
and GM SAFETY AND SUPPLY, LLC,

Defendants.

\/\./\./\./\./\./\./\/\./\./\./\/\/

DEFENDANT, GM SAFETY & RENTAL, LLC’S NOTICE FOR REMOVAL
TO: Clerk of the United States District Court, Northern District of Illinois, Eastern Division,

219 S. Dearborn Street, Chicago, lllinois

Milo W. Lundblad, Frank Derrnody, Brustin & Lundblad, Ltd., 10 N. Dearborn - 7th

Floor, Chicago, IL 60602

David E. Kawala, Kelly Konzen, Swanson Martin & Bell LLP, 330 N. Wabash Street

Chicago, IL 60611

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant, GM
SAFETY & RENTAL, LLC., ("GM Safety"), by and through its undersigned attorney, hereby
removes to the United States District Court for the Northern District of Illinois the state court
action, Case No. 17 L 9093 in the Circuit Court of Cook County, lllinois described beloW. The
basis for removal is diversity jurisdiction pursuant to 28 U.S.C. § 1332:

I. INTRODUCTION

1. Plaintiffs, Sean McDermott, (hereafter referred to as "Plaintift") filed his First

Amended Cornplaint, (hereinafter referred to as the "Cornplaint") alleging counts of negligence

against Defendants on March l, 2018. (See Plaintiffs First Amended Complaint attached hereto

as Exhibit ”l")

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3. GM Safety Was served on April 23, 2018, (See Alias Summons, Notice of Service
of Process on GM Safety attached hereto as Exhibit "2".) The time has not yet elapsed Within
Which GM Safety is permitted to remove this action, and therefore this Notice of Removal
("Notice") is filed in a timely manner. 28 U.S.C. § 1446(b).

4. The United States District Court for the Northern District of lllinois has
jurisdiction over this action under 28 U.S.C. § 1332, and this action is removable under 28
U.S.C. § 1441(b) in that it is a civil action between citizens of different states and the matter in
controversy exceeds the sum of 875,000, exclusive of interest and costs.

5. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, orders and
papers or exhibits filed in the Circuit Court of Cook County, lllinois are appended to this Notice
as Exhibit "3" (excluding Plaintiffs First Amended Complaint, attached as Exhibit "l".)

6. Venue is proper in this district, under 28 U.S.C. § 1446(3), because this district
embraces the place in Which the removed action is pending

7. Written notice of the filing of the Notice of Removal Will be promptly served on
Plaintiff` s and co-defendant’s counsel and a copy Will be filed promptly With the Circuit Court of
Cook County, lllinois pursuant to 28 U.S.C. § 1446(d). (See a copy of the Notice of Filing of
this Notice of Removal to Federal Court is attached hereto as Exhibit "4".)

II. DIVERSITY OF CITIZENSHIP EXISTS

8. Pursuant to 28 U.S.C. § 1332(a)(1), diversity of citizenship exists because the
Plaintiff and Defendants are citizens of different states. As set forth below, diversity of
citizenship exists because: (a) Plaintiff is a citizen of Illinois; and (b) Defendants are citizens of

different states and country than Plaintiff.

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9. Citizenship and the removability of an action is determined at the time the
removal petition is filed. ln re Burll`ngton N. Santa Fe Ry. Co., 606 F.3d 379, 380 (7th Cir.
2010);1n re Shell Oil, 970 F.2d 355, 356 (7th Cir. 1992).

A. Plaintiff is a Citizen of Illinois.

10. For purposes of federal diversity jurisdiction, the state citizenship of a natural
person is determined by the state where the person is domicilcd, meaning the state where the
person is physically present with the intent to remain there. See Denlinger v. Brennan, 87 F.3d
214, 216 (7th Cir. 1996); Perry v. Pogeml`ller, 16 F.3d 138, 140 (7th Cir. 1993). ln determining
domicile, courts look to a variety of factors such as current residence, location of belongings and
personal property, voter registration, driver's license and vehicle registrations among other
things. 24 Hour Fitness USA, Inc. v. Bally Total Fitness H()la’ing Corp., 2008 U.S. Dist. LEXIS
84374, at *ll (N.D. lll. October 21, 2008) (citing Sadat v. Mertes, 615 F.2d 1176, 1181 (7th Cir.
1980)).

11. In this case, Plaintiff is a citizen of the State of lllinois. (See Plaintiff s answers to
Co-Defendant, Code Red Safcty & Rental, LLC’s Forum Non Conveniens interrogatories,
attached hereto as Exhibit "5".

B. Defendants are Citizens of Different States than Plaintiff.

12. For diversity purposes, the citizenship of a corporation, is the state or country
where the corporation is inco;porated and the state where the corporation has its principal place
of business, meaning the state where the corporation maintains its headquarters or "nerve center."
See 28 U.S.C. § 1332(c)(l); Hertz Corp. v. Frl`end, 130 S. Ct. 1181, 1192-95, 175 L. Ed. 2d 1029

(2010); CCC Info. Servs., lnc. v. American Salvage Pool Ass'n, 230 F.3d 342, 346 (7th Cir.

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2000); Wisconsin Knife Works v. National Metal Crafters, 781 F.2d 1280, 1282 (7th Cir. 1986);
Nuclear Eng'g C0. v. Scott, 660 F.2d 241, 250 (7th Cir. 1981).

13. Here none of the Defendants are from the same state or country as Plaintiff and
therefore complete diversity exists. Gl\/I Safety is a citizen of Nevada, (incorporated) and
lndiana (headquartered). (See Counsel for Gl\/l Safety’s Affidavit, attached hereto as Exhibit
"6".) Defendant, Code Red Safety & Rental, LLC is a citizen of Delaware, (incorporated) and
lndiana (headquartered). (See Exhibit “6”).

14. Defendant, Arcelorl\/littal U.S.A., LLC is owned through various limited liability
companies organized under the laws of the United States and various foreign jurisdictions, which
are ultimately held by ArcelorMittal SA, a Luxembourg corporation The sole member of
ArcelorMittal USA LLC is Arcelor l\/littal USA Holdings ll LLC. The sole member of
ArcelorMittal USA Holdings ll LLC is Arcelorl\/littal North America Holdings LLC. The sole
member of ArcelorMittal North America Holdings LLC is ArcelorMittal Holdings LLC. The
sole member of Arcelorl\/Iittal Holdings LLC is ArcelorMittal USA Holdings LLC. The sole
member of ArcelorMittal USA Holdings LLC is lspat lnland S.a.r.l., a limited liability company.
lspat lnland S.a.r.l. is wholly owned by ArcelorMittal SA. (See Defendant, ArcelorMittal U.S.A.,
LLC’s general counsel and secretary’s Affidavit, attached hereto as Exhibit "7".)

15. Defendant, Arcelormittal Intemational America, LLC, is no longer a party to this
matter and was voluntarily dismissed on April 5, 2018. (See Exhibit 3, April 5, 2018, Order).

III. THE AMOUNT IN CONTROVERSY EXCEEDS 875.000

15. Federal diversity jurisdiction also requires that an amount in excess of $75,000,

exclusive of interest and costs, be in controversy. See 28 U.S.C. § l332(a)(l); LM Ins. Corp. v.

Spaula'ing Enters. lnc., 533 F.3d 542, 547 (7th Cir. 2008). When a complaint does not state the

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amount in controversy and it pleads in excess of the jurisdictional minimum, a complaint's
statements regarding severe and permanent damages demonstrate that the amount in controversy
exceeds "575,000.l See, e.g. Campbell v. Bayou Steel Corp., 338 F. Supp. 2d 896, 901 (N.D. lll.
2004); Gallo v. Homelz`te Consumer Prods., 371 F. Supp. 2d 943, 948 (N.D. lll. 2005). "Courts
have routinely held that when plaintiffs allege serious, permanent injuries and significant
medical expenses, it is obvious from the face of the complaint that the plaintiffs' damages
exceeded thejurisdictional amount." McCoy v. GMC, 226 F. Supp. 2d 939, 941 (N.D. lll. 2002).
16. ln McCoy v. General Motors, the court found that removability regarding the
amount in controversy was obvious from the complaint's allegations because the plaintiffs
alleged that they suffered:
'lasting and permanent injuries' and incurred bills related to 'medical, surgical,
hospital, and nursing care for their injuries'. . .'[lost] wages and profits which they
otherwise would have earned and acquired'...'severe pain, emotional distress,
disability, lost value and enjoyment of life, future loss of income, medical
expenses, loss of normal life, disfigurement and paralysis.'
McCoy, 226 F. Supp. 2d at 941. The court stated that "these statements should sound warning
bells in defendants' ears that significant damages are sought." Id.
17. ln this case, analogous to the foregoing case law, the Complaint alleges that
plaintiff sustained injuries: “that have caused him and in the future will continue to cause him, to
become liable for large and diverse sums of money to medical providers in an effort to be cured;

and have interfered, and in the future will continue to interfere, with his livelihood, employment,

employability and enjoyment of life, all to his damage”. (Exhibit “1”).

 

1 in illinois state courts, a personal injury plaintiff may not specify exact damages in his complaint beyond the limit
set by the local circuit court rule. 735 lll. Comp. 5/2~604.

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18. Accordingly, Plaintiff s claimed damages for severe, permanent, past and future
injuries, lost wages and future employment clearly demonstrate that the amount in controversy
exceeds $75,000.

19. This notice of removal and all exhibits attached hereto are signed pursuant to Rule
11 of the Federal Rules of Civil Procedure.

WHEREFORE, further proceedings in this action should be discontinued, and this action
shall be removed to the United States District Court for the Northern District of lllinois, Eastern
Division.

Respectfully submitted,

TRIBLER ORPETT & MEYER, P.C.

By: 7%
own GM safety & Rentai,
LL " attorneys

 

 

Patrick E. Burgess - ARDC # 6274640
TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 2550
Chicago, lllinois 60606

(312) 201-6400

(312) 201-6401 (fax)

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EXH|B|T 1

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN McDERMOTT,
Plaintiff,

v. No. 17 L 9093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC,

ARCELORMITTAL U.S.A., LLC,

CODE RED SAFETY AND RENTAL, LLC,
d/b/a CODE RED SAFETY, and GM SAFETY
AND SUPPLY, LLC

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Defendants.
FIRST AMENDED COMPLAINT AT LAW
NOW COMES the Plaintif`r`, SEAN McDERMOTT, by and through his attomeys,
BRUSTIN & LUNDBLAD, LTD., and complaining of the Defendants, ARCELORMITTAL
INTERNATIONAL AMERICA, LLC, (International), ARCELORMITTAL U.S.A., LLC,
(U.S.A), CODE RED SAFETY AND RENTAL, LLC., d/b/a CODE RED SAFETY (Code Red),
and GM SAFETY AND SUPPLY, LLC (GM Safety) and each of them, states as follows:
COUNT I--NEGLIGENCE AGAINST ALL DEFENDANTS
1. On October 19, 2016, and at all times mentioned herein and relevant hereto, the
Defendants, International and U.S.A., were limited liability companies organized under the laws
of the State of Delaware and did business in and maintained their principle offices at One South
Dearbom Street, Chicago, Illinois.
2. On October 19, 2016, and at all times mentioned herein and relevant hcreto, the

Defendant, Code Red, was a limited liability company duly organized under the laws of the State

 

 

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of Delaware for the purposes of offering industrial level safety training, products, equipment and
personnel

3. On October 19, 2016, and all times mentioned herein and relevant hereto, the
Defendant, GM Safety, was a limited liability company with their corporate office at 2030
Summer St, Hammond, Indiana, in the business of offering industrial level safety training,
products, equipment and personnel.

4. On October 19, 2016, and for a long time prior thereto, the Defendants,
Intemational and U.S.A., owned, operated and maintained a steel fabricating facility known as
ArcelorMittal lndiana Harbor, located at 3210 Watling Street in East Chicago, Indiana.

5 . On and prior to October 19, 2016, the Defendants, Intemational and U.S.A. had
undertaken to repair and/or refurbish parts of the lndiana Harbor facility, including an area
known as Oven No. 3 in Plant B.

6. Prior to October 19, 2016, the Def`endants, International and U.S.A. contracted
with the Defendant, Code Red, and Defendant, GM Safety, to provide Safety consulting
personnel, services and equipment to assure that the repair and/or refiirbishment of their
premises, including Oven No. 3 in Plant B, was done in a safe manner.

7. Prior to October 19, 2016, the Defendants, Intemational and U.S.A., contracted
with various entities, including Plaintiff” s employer, Rogers and Sons, to perform repair and/or
rehirbishment services on Oven No. 3, Plant B at lndiana Harbor.

8. On October 19, 2016, Plaintiff was lawfully on the premises at the Defendants’,
International and U.S.A.’s lndiana Harbor facility in pursuit of his employment with Rogers &

Sons and in furtherance of the repair and/or refurbishment of the Def`endants’ premises

 

 

 

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9. On and before October 19, 2016, the Defendants, lnternational, U.S.A., Code

Red, and GM Safety, and each of them, were negligent in one, or more, of the following ways;

a. failing to properly maintain the floor of Oven No. 3;
b. failing to adequately illuminate the interior of Oven No. 3;
c. directing Plaintiff to enter Oven No. 3 when they know, or in the exercise

of ordinary care should have known, that it was unsafe to do so;

d. failing to properly inspect the interior of Oven No. 3 to assure that it was
safe for workmen, including the Plaintiff, to enter; and/or

e. failing to provide the Plaintiff with a safe place to work.

10. As a direct and proximate result 0f one or more of the foregoing negligent acts
and/or omissions on the part of the Defendants, lnternational, U.S.A., Code Red, and GM Safety,
and each of them, Plaintiff was caused to partially fall through the floor of Oven No. 3 When he
was instructed to enter it, causing him sever, permanent painful and disabling injuries

11. The injuries Plaintiff sustained as aforesaid have caused him, and in the future
will continue to cause him, to become liable for large and diverse sums of money to medical
providers in an effort to be cured; and have interfered, and in the future will continue to interfere,
with his livelihood, employment, employability and enjoyment of life, all to his damage.

12. Plaintiff"s counsel’s affidavit pursuant to Supreme Court Rule 222 (b) is attached
hereto as Exhibit A and incorporated herein by reference

WHEREFORE, Plaintiff, SEAN McDERMOTT, by and through his attorneys,
BRUSTIN & LUNDBLAD, LTD., prays for judgment against the Defendants,
ARCELORMITTAL INTERNATIONAL AMERICA, LLC, ARCELORMITTAL U.S.A, LLC,

CODE RED SAFETY AND RENTAL, LLC, d/b/a CODE RED SAFETY, and GM SAFETY

 

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AND SUPPLY, LLC, and each of them, in an amount in excess of Fifty thousand Dollars

($50,000.00).
Respectfully submitted,
BRUSTIN & LUNDBLAD, LTD.

By: J»/"/) ':Z//(/ ` 6 .,

Francis J.VDermodyM

Francis J. Derrnody

BRUSTIN & LUNDBLAD, LTD.
10 N. Dearborn Street, 7th Floor
Chicago, lllinois 60602
(312)263-1250

Atty. No. 21626

Attorney for Plaintiff

 

 

 

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EXH|B|T 2

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lN THE C|RCU¥T CCURT OF COOK COUNTY, ILUNOIS
COUNTY DEPARTMENT, LAW D|VlSION

v

Sean McDermott,
plaintiff

v. Case No.: 17 L 9093
PLEASE SERVE:

ArcelorMittal internationai America, LLC,
See Reverse Side

ArcelorMittal U.S.A., LLC, and Code Red
Safety and Rental, LLC, d/b/a Code Red Safety,

`v"--"-¢`-¢~._-`..'-_-_-"v

Defendants,

ALlAS SUMMDNS

 

To each Defendant:

¥OU ARF. SUMMONED and required to fife an answer to the complaint in this case, a copy of which is
hereto attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this
Court at the Richard J. Daley Center, 50 W. Washington, Room 801, Chicago, iliinois 60602.

You must file within 30 days after service of this Summons, not counting the clay of service.
lF ¥OU FAiL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGA|NST YOU FOR THE REL|EF REQUESTED
lN THE COMPLA!NT.

To the officer:

This Summons must be returned by the officer or other person to whom it was given for service, with
endorsement of service and fees, if any, immediately after service if service cannot be made, this Summons
shall be returned so endorsed This Summons may not be served iater than 30 days after its date.

BRusT:N a LuNDBLAD, LTD. wirNEss, ’ 'g?'~`~;;gsa.\ .. sat §in 2 5 29!7
10 N. Dearborn Street, 7"' Fioor
Chicago, tiiinois 60602

(312) 263~1250 Clerl< of Court

 

 

    
  
  

Attorney No.: 21626 ,; ~,.“ - ,» , ._~
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Service List
McDermott v. ArcelorMittoi international America, LLC, et al.

Code Red Safety & Rentat, LLC
cl o Registered Agent:

Walter J. Starck

161 Nk Clark Sti, Suite 4200
Chicago, iL 60601

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EXH|B|T 3

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lN THE CIRCUIT COURT OF C€)OK COUNTY, ILLINGIS
COUNTY DEPARTMENT, LAW DIVISIGN

sEAN Mcr)ERMorr, )
)
Plainnrr, )
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v. ) No § il 1
) "' ';“ f
ARCELORMrrrAL rN'rERNATIoNAL ) ~ __, ‘j
AMERICA, LLC, ) ` ’
ARCELoRMIrrAL U.s.A., LLC, and )
CODE RED sAFETY AND RENTAL, LLC, )
d/b/a CODE RED sAFETY, )
)
Defendants. )
COMJ>LALNT AT LAW

NOW COMES the Plaintiff, SEAN McDERMO'I`T, by and through his attorneys,
BRUSTN & LUNDBLAD, LTD., and complaining of the Defendants, ARCELORMI'Z`TAL
lNTERNATIGNAL AMERICA, LLC, (International), ARCELORMITTAL U.S.A., LLC,
(U.S.A) and CODE RED SAFETY AND RENTAL, LLC., d/b/a CODE RED SAFETY (Code
Red), and each ofthern, states as follows:

lt On October 19, 2016, and at all times mentioned herein and relevant hereto, the
Defendants, Intcmational and U.S.A., were limited liability companies organized under the laws
of the State of Delaware and did business in and maintained their principle offices at Dne South
Dearl)om Street, Chicago, Illinois.

2. On October 19, 2016, and at all times mentioned herein and relevant hercto, the
Defendant, Code Red, was a limited liability company duly organized under the laws of the State
cf Delaware for the purposes of offering industrial level safety training products equipment and

personnel.

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3. On October 19, 2016, and for a long time prior thereto, the Defendants,
lnternational end U.S.A., owned, operated and maintained a steel fabricating facility known as
ArcelorMittal lndiana Harbor, located at 3210 Watling Street in East Chicago, lndiana.

4. On and prior to October 19, 2016, the Defendants, Internationai and U.S.A. had
undertaken to repair and/or refurbish parts of the indiana Harbor facility, including an area
known as Oven No. 3 in Plant B.

5. Prior to October l9, 2016, the Defendants, Internationai and U.S.A. contracted
with the Defendant, Code Red, to provide safety consulting personnel, services and equipment to
assure that the repair and/or refurbishment of their premises, including Oven No. 3 in Plant B,
was done in a safe manner.

6‘ Prior to October 19, 2016, the Defendants, Intemational and U.S.A., contracted
with various entities, including Plaintiff"s employer, Rogers and Sons, to perform repair and/or
reiiirbishment services on Oven No. 3, Plant B at lndiana Harbor.

7. On October l9, 2016, Plaintiff Was lawfully on the premises at the Defendants’,
lntemational and U.S.A.’s lndiana Harbor facility in pursuit of his employment with Rogers &
Sons and in furtherance of the repair and/or refurbishment of the Defendant’s premises

8. On and before October 19, 2016, the Defendants, Intemational, U.S.A., and Code
Red, and each ofthern, were negligent in one, or more, of the following ways:

a. failing to properly maintain the floor of Oven No. 3;
b. failing to adequately illuminate the interior of Oven No. 3;

c. directing Plaintiff to enter Oven No. 3 when they know, or in the exercise
of ordinary care should have known, that it was unsafe to do so;

d. failing to properly inspect the interior of C)ven No. 3 to assure that it was
safe for workmen including the Plaintiff to enter, and/or

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IN 'E`M CIRCUIT C€)URT QF C€)OK COUNTY, ILLENOHS
C€)UN’I`Y DEPARTMENT, LAW DIVISION

SEAN MCDERMOTI` )
)
Plaintiff )
)

v. ) No.
)
ARCELORMITTAL D~ITERNATIONAL )
AMERJCA, LLC, )
ARCELORM]TTAL U.S.A., LLC, and )
CODE RED SAFETY AND RENTAL, ZNC., )
dfb/a CODE RED SAFETY, )
)
Defendants. )

AFFIDAVIT

The undersigned, John F. Klebba, heretofore duly sworn on oath, hereby deposes and
states as fellows:

1. I am a resident of the State of Illinois, over the age of eighteen (18) years end
under no testimonial disability

2. I am a member of the Bar of the Supreme Court of Hlinois, in good standing

3. I am employed by the firm ofBrustin & Lundblad, Ltd.

4. I am one of the attorneys chiefly charged with responsibility for the case

captioned above
5. The total money damages seught in this matter exceed Fifty Thousand Dollars

($50,000.00).
FURTHER AFFlANT SAYETH NOT.

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Io;§n §§ Klebba
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SIGNED and SWORN to before me on this
§§ day of §55§§3;3~: ,2017
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NOTARY PUBLIC

    

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Case: 1:18-Cv-03529 Document #: 1 Filed: 05/18/18 Page 19 of 185 Page|D #:19

e. failing to provide the Plaintiff with a safe place to work.

9. As a direct and proximate result of one or more of the foregoing negligent acts
and/or omissions on the pan of the Defendants, International, U.S.A., and Code Red, and each of
them, Plaintiff was caused to partially fall through the floor of Oven No, 3 when he was
instructed to enter it, causing him sever, permanent painful and disabling injuries

10. The injuries Plaintiff sustained as aforesaid have caused hirn, and in the future
will continue to cause him, to become liable for large and diverse sums of money to medical
providers in an effort to be cured; and have interfered, and in the niture will continue to interfere,
with his livelihood, employment, employability and enjoyment of life, all to his damage

ll. Plaintiii`s counsel’s af§davit pursuant to Supreme Court Rule 222 (b) is attached
hereto as Exhibit A and incorporated herein by reference

WHEREFORE, Plaintiff SEAN McDERMOTT, by and through his attomeys,
BRUSTIN & LUNDBLAD, LTD., prays for judgment against the Def`endants,
ARCELORM¥TTAL INTERNATIONAL AMERICA, LLC, ARCELORMITI`AL U.S.A, LLC
end CODE RED SAFETY AND REN'I`AL, LLC, d/b;'a CODE RED SAFETY, and each of
them, in an amount in excess of Fiity thousand Dollars ($50,00€).00).

Respectfully submitted,
BRUS'l`l'N & LUNDBLAD, LTD.
By: §~;a;*{&?' /“":’§:§”/ ~
JO)n/z Fr,/'Klebba
John F. Klebba §v//
BRUSTIN & LUNBBLAE), LTD.
10 N. nearme saeer, 7"‘ nom
Chicago, lllinois 60602
(312)263-1250

Atty. No. 21626
Atmrneyfor P!aint!`j_?”

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Appearance (12/30/15) CCL N530

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

 

 

 

 

 

N|CDER|V|OlT SEAN
Pla“mff NO. 2017~L~009093
v.
Calendar: A b y
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ARCELORMHTAL lNTERNATloN 12/4/2017 2:43 PM
Defendant 2017-L-009093
CALENDAR: A
PAGE l ofl
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APPEARANCE LAW DIVISION
CLERK DOROTHY BROWN
[] GENERAL APPEARANCE 0900 ~ APPEARANCE - FEE PAID; 0909 - APPEARANCE - NO FEE;
0904 ~ APPEARANCE FILED - FEE WAIVED
JURY DEMAND 1900 - APPEARANCE & JURY DEMAND FEE PAID
1909 - APPEARANCE & JURY DEMAND NO FEE
The undersigned enter the appearance of: [] Plaintiff Defendant
CODE RED SAFETY RENTAL
(INSERT LlTlGANT’S NAME)
/5 Patrick Everett Burgess
SlGNATURE
-INITIAL COUNSEL OF RECORD []PRO SE
EADDITIONAL APPEARANCE []SUBSTITUTE APPEARANCE

A copv of this appearance shall be given to all parties who have appeared and have not been found by the
Court to be in default

 

-Atty. No.: 39950 [] Pro Se 99500 Pro Se Only: []l have read and agree to the terms of
(Please complete the following contact information.) the Clerk’s Off`rce E]ectronic Notice Policy and choose
Name: TR{BLER ORPET|- & MEYER PC to opt in to electronic notice from the Clerk’s office for
Attv. fOr: CODE RED SAFETY RENTAL thlS ease at this email addreSS:

 

Address: 225W WASHNGTN#ZSSO
CitV/Stat€/Zil)f CHlCAGO, lL

Telephone: (312) 201-6400

Primarv Email: peburgess@tribler.com
Secondarv Email: dciancanelli@tribler.com
Tertiarv Email: docket@tribler.com

 

 

 

 

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 21 of 185 Page|D #:21

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CALENDAR: A

168.26058 35/28 FIR%M§§ (ijl§'f OF

COC)K COUNTY, ILLINC)IS
IN THE CIRCUIT COUR'I` OF COOK COUNTY, lLLlN?ll:§{ LAW DIVISION

CoUNTY DEPARTMENT, LAW DIVISION t C K DO_RGTHY BROWN ,

SEAN MCDERMOTT,
Plaintiff,
v.

No. 2017 L 009093
ARCELORMITTAL INTERNATIONAL

\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/

AMERICA, LLC, ARCELORMITTAL Calena’ar A
U.S.A.` LLC, and CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED SAFETY,
Defendants.
NOTICE OF FILING

TO: Attorneys of Record (See Attached Serviee List)

PLEASE TAKE NOTICE that on December 4, 2017, there was filed with the Clerk of
the Circuit Court of Cook County, Illinois, Defendant, Code Red Safcty & Rental, LLC"s,
Appearance and .Iury Demand, a copy of which is attached and hereby serve / upon you.

 

//
Patrick §,)B’iirgess,,®fie of the Attorneys for
Defenéap,tl_,€od'e” Red Safety & Rental, LLC

 

Michael J. Meyer, Esq.

Patrick E. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 2550
Chicago, lllinois 60606

(312) 201-6400

(312) 201-6401 (fax)
docket@tribler.com

….___

PR()()F ()F SERVICE

l, a non~attorney, certify that l served this notice by sending a copy by electronic mail to all
attorneys of record on December 4, 2017.

[X] Under penalties as provided by law pursuant to lLCS

SEC 5/1-109 I certify that the statements set forth b @W/k/@
herein are true and correct.
\ /`/6'1/¢~

Signature

 

SERVICE VlA E-MAIL WILL BE ACCEPTED AT l)()L`KF£T'Z}FTRlBl..F.R C();\/l

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 22 of 185 Page|D #:22

168.26058 35/28

SERVICE LIST

McDermott v. Code Red Safely, et al - 1 7 L 9093

Attorneys for Plaintiffl
Milo W. Lundblad

Brustin & Lundblad, Ltd.

10 N. Dearborn - 7th Floor

Chicago, IL 60602

(312) 263-1250

mlundblad@mablawltd.com

todonnell@mablawltd.com - Trish O"Donnell (assistant)

Attornevs for Arcelor Mittal
David E. Kawala

,~ Kelly Konzen

2017-L-009093

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PAGE 2 of3

Swanson Martin & Bell LLP

330 N. Wabash Street
Chicago, lL 60611

(312) 321 -9100
dkawala@smbtrials.com

kkonzen@smbtrials.com

 

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PAGE 3 Of3

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 23 of 185 Page|D #:23

168.26058 35/28 FIRM NO. 39950

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LA\V DIVISION

SEAN MCDERMOTT,
Plaintiff,

v.
No. 2017 L 009093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC, and CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED SAFETY,

Calena’ar A

\_/\./\./\./\_/\./\_/\./\_/\_/\_/‘~/

Defendants.
APPEARANCE AND JURY DEMAND
The undersigned, as attorney, enters the appearance of the Defendant, CODE RED

SAFETY & RENTAL, LLC.

This Defendant demands trial by jury.

 

 

y Michael J. Meyer, Esq.

Patrick E. Burgess, Esq.

Tribler Orpett & Meyer, P.C.

225 W. Washington Street, Suite 2550
Chicago, lllinois 60606

(312) 201-6400

(312)201-6401- fax
docketi?i)tribler.corn

l certify that a copy of the within instrument was served on all parties who have appeared
and have not heretofore been found by the Court to be in default for failure to plead

'W
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Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 24 of 185 Page|D #:24

  

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IN THE CIRCUIT COURT OF COOK COUNTY, I§_,L§l\§@ w g
COUNTY DEPARTMENT, LAW DIVISIGN .
2511 NGV 22 Fii 21 214

SEAN MCDERMOTT, )
)
Plaintiff, )

) r, rl,;»;'§:~:`_j\";;>”/ \;`: :`:3`

vt ) ease No. 2017 L 009`t193
)
ARCELORMITI`AL INTERNATIONAL )
AMERICA, LLC; ARCELORMITTAL )
U.S.A. LLC; CODE RED SAFETY AND )
RENTAL, LLC, d/b/a CODE RED )
sAFETY, )
)
Defendants. )
M_E__QE_E.I_LLN§

To: Brustin & Lundblad, LTD
10 N. Dearborn St., 7th Floor
Chicago, IL 60602

PLEASE TAKE NOTICE that on November 22, 2017, the following Was filed with the
Clerk of the Circuit Court of Cot)k County, lllinois Defendant ArcelorMittal USA LLC’s Answer
Jury Demand and Affirmative Defenses to Plaintiff`s Complaint at Law a copy of which is
attached hereto and herewith served upon you.

David E. Kawala

Kelly M.» Konzen

Swanson, Martin & Bell, LLP

330 N. Wabash Ave,, Suite 3300

Chicago, IL 60611

(312) 321~9100/(312) 321-0990 FAX

Attorneys for Defendant Arcelorl\/Iittal USA LLC
Firrn I.D. No. 29558

PRGGF OF SERV]CE

l Donald Duvall, a non-attorney, certify that the abate d::?:r;a)ed document wm sent to ccz:xp;.si of record
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g§/WA , -'j""; 96 ).7 §§ f / jj aff:(;$::;,!:jse j:{f

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§
[X] Under penalties as provided by law pursuant to 735 ILCS §;1-109 l certify that the statements set
forth herein are true and correct.

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 25 of 185 Page|D #:25

IN THE CIRCUIT CoURr oF CooK CoUNTY;:;§r;§;§r§iiirs `
COUNTY DEPARTMENT, LAW nrvisrnN 1 iii
"ttst`ltt@ " . s

tz`l

SEAN MCDERMOTT,

   
  

 

Plaintiff,

v, Case NO. zr)rv`tqati)sn§§'s" `1 `
ARCELoRMITTAL rNTERNArioNAL
AMERICA, LLC; ARCELoRMrTTAL
u.s.A. LLC; conn RED sAFETY AND
RENTAL, LLC, d/b/a CODE RED
sAFETY,

Defendants.

y /\ ,` ,t ,t , , , , , , y 1.

MP`EN.I)A.NFI` ARCEL()RMI'I"'I`AL USA Ll..(/"S ANSWER AND
AFFIRMATIVE I)EFENSES TO PLAINTIFF’S C()MPLAINT AT LAW

Defendant, ArcelorMittal USA LLC (“AMUSA”),, by its attorneys, Swanson, Martin &
Bell, LLP, state as its Answer and Affirmative Defenses to plaintiffs Complaint at Law, as
follows:

1. ln answering for AMUSA only, this defendant admits that on October 19, 2016,
AMUSA was a limited liability company organized under the laws of the State of Delaware with
a principal office at One South Dearborn Street in Chicago, lllinois.,

2. This defendant lacks sufficient knowledge to form a belief as to the truth of the
allegations contained in paragraph 2 and therefore neither admits nor denies same.

3. ln answering for AMUSA only, this defendant admits that on October 19, 2016,
AMUSA owned a steel fabricating facility known as Arcelorl\/Iittal lndiana Harbor LLC with

offices at 321() Watling Street, East Chicago, lndiana.

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 26 of 185 Page|D #:26

4. In answering for AMUSA only, AMUSA, on and prior to October 19, 2616, had
repaired and refurbished various parts of the lndiana Harbor facility including an area known as
Walking Beam Furnace #6 at the 80” Hot Strip Mill, lndiana Harbor East, Plant 2.

5 . In answering for AMUSA only, AMUSA contracted With Code Red to provide safety
consulting personnel services and equipment for the purposes of providing safety during the
repair and refurbishment at or around Walking Beam Furnace #6 at the 80” Hot Strip Mill,
lndiana Harbor East, Plant 2.

6. ln answering for AMUSA only, AMUSA contracted with Rogers & Son to provide
certain repair and/or refurbishment services on or about Walking Beam Furnace #6 at the 80”
Hot Strip Mill, lndiana Harbor East, Plant 2. l

7. This defendant lacks sufficient knowledge to form a belief as to the truth of the
allegations contained in paragraph 7 and therefore neither admits nor denies same.

8. This defendant denies the allegations contained in paragraph 8 and each and every
subpart thereof

9. This defendant denies the allegations contained in paragraph 9.

1(). 'l`his defendant lacks sufficient knowledge to form a belief as to the truth of the
allegations contained in paragraph 10 and therefore neither admits nor denies same.

11. This defendant admits the allegations contained in paragraph ll.

WHEREFORE, defendant, ArcelorMittal USA LLC, prays for judgment in its favor and
against the plaintiff

AFFIRMAT]VE I)EF,ENSES
As and for defendant ArcelorMittal USA LLC’s separate and affirmative defenscs,

defendant ArcelorMittal USA LLC states as follows:

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FIRST AFFIRMA'I`IVE I}EFI§NSE
1. The plaintiff had a duty to exercise reasonable care for plaintiffs own safety.
2. Plaintiff breached his duty to exercise reasonable care for his own safety by:
a. failing to keep a proper lookout;
b. failing to observe a condition that was open and obvious; and
c. was otherwise careless and negligent

3. Plaintiff's injuries were proximately caused by plaintiff's comparative fault as alleged
above.

WHEREFORE, if a jury determines that the fault of the plaintiff was more than 50 percent
of the total fault allocated, then plaintiff is barred from recovery against defendant; alternatively,
if the plaintiffs comparative fault is determine to be less than 50 percent of the total fault allocated,
then the plaintiffs recovery should be decreased in proportion to the percentage of comparative
fault allocated to the plaintiff of the total fault.

SEC()NI) AFFIRMATIVI§ [)EFENSE
The condition which plaintiff encountered was an open and obvious condition which

plaintiff, in the exercise of reasonable care, would have avoided without incident

One of the Attorneys for Defendant,
ArcelorMittal USA LLC

David E. Kawala

Kelly M. Konzen

Swanson, Martin & Bell, LLP
330 North Wabash, Suite 3300
Chicago, lL 60611
312»321-9100

Firm ID No. 29558

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168.26053 35/28 FIRM NO. 39950

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,
Plaintiff,

v.
No. 2017 L 009093

VVVVVVVVVVVV

 

ARCELORMITTAL INTERNATIONAL §§ ]§.-¢v §qr:g
AMERICA, LLC, ARCELoRerTAL Calendar A “
U.s.A., LLC, and coors RED sAFErY AND pgc 1 1 2017 t
RENTAL, LLC, d/b/a coDE RED sAFErY, v
CLER£€F$J§‘€§;§EHFT";OU
Defendants. `MQ-“i'il?=_‘i::j
RouTINE MoTIoN

NOW COMES Defendant, CODE RED SAFETY & RENTAL, LLC, by and through its
attomeys, Tribler Orpett & Meyer, P.C., and moves this Honorable Court for an extension of

time in which to answer or otherwise plead to Plaintiff s Complaint, up to and including January

/
rick E. rgess, One of the Attomeys for
' D ant, Code Red Safcty & Rental, LLC

10, 2018.

 

Michael J. Meyer, Esq.

Patrick E. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 1300
Chicago, lllinois 60606

(312) 201-6400

docket@tribler.com

 

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 29 of 185 Page|D #:29

168_2<>053 35/28 FIRM NO. 39950

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,
Plaintiff,

v.
No. 2017 L 009093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC, and CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED SAFETY,

Calendar' A

\./"/"/"/\`/\`/\./\./\`/\./\./\./

Defendants.

ROUTINE ORDER

THIS CAUSE coming to be heard on the motion of Defendant, CODE RED SAFETY &
RENTAL, LLC, by and through its attorneys, Tribler Orpett & Meyer, P.C., due notice having
been given and the Court fully advised in the premises;

IT IS HEREBY ORDERED: That said Defendant is granted an extension of time in
which to answer or otherwise plead to Plaintiff"s Complaint, up to and including January 10,

2018.

//

Circuit.€oa‘:t.¢;i 933
udge

Michael .l. Meyer, Esq.

Patrick E. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 1300
Chicago, lllinois 60606

(312) 201-6400

docket@,tribler.com

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 30 of 185 Page|D #:30

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEI’ARTMENT, LAW DIVISION

 

 

 

 

SEAN McDERMoTT, )
)
Plaintiff, )
) ` ; §
v. ) No. 17 L 9093 M: q
) '1155v ;
ARCELORMITTAL INTERNATIONAL ) §§
AMERICA, LLC, ) 1111
ARCELORMITTAL U.s.A., LLC, and ) ::11
CODE RED sAFETY AND RENTAL, LLC, ) 11 §§
d/b/a CODE RED sAFETY, ) {:}
) ma
Defendants. )
NOTICE 'oF FILING
To: Arcelor Mittal USA, LLC mt ll;/HC¥ITIEJ']§/Ieyer
Mr. David Kawala T r`bl alth ' urgess
Swanson, Mmin & Beii, LLP 255 §§ “r/Pe:_& Mey€r» P@
330 N. Wabash Ave., Ste 3300 Ch_ ` lis éngton St" Sl‘e 2550
Chicago, iL 60611 wago> 0606

E-mail: dkawala@smbtrials.com

PLEASE TAKE NOTICE that on this M day of December 2017, l filed with the Clerk
of the Circuit Court of Cook County, lllinois the following documents:

 

(a) Plain!§fj’s Reply to Defendant’s Aj]irmative Defenses,

BRUS'I`IN & LUNDBL D, LTD.
//Vt£w. 0
U v \_/

l\/lilo W. Lundblad

a copy of which is attached hereto.

Milo W. Lundblad

BRUSTIN & LUNDBLAD, LTD.
10 N_ Dearbom st., 7"‘ Fioor
Chicago, lllinois 60602
(312)263-1250

Atty. No.: 21626

 

CERTIFICATE OF SERVICE

l, a non~attorney, hereby certify that on this'[;:': day of December, 2017, I served the documents
listed below by e-mail and by mailing a copy First Class, postage pre-paid, to the above-named

 

 

 

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 31 of 185 Page|D #:31

parties at the above-mentioned addresses, and depositing same in the U.S. Mail Chute at 10 N.
Dearbom, 7th Floor, Chicago, Illinois, 60602, before 5;00 P.M., under penalties as provided by

law pursuant tO 735 ILCS 5/1-109. M ,
m Q<MM__ __

 

 

 

Case: 1:18-cv-O3529 Document #: 1 Filed: 05/18/18 Page 32 of 185 Page|D #:32

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN McDERMOTT,
Plaintiff,

v. No. 17 L 9093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC,

ARCELORMITTAL U.S.A., LLC, and
CODE RED SAFETY AND RENTAL, LLC,
d/b/a CODE RED SAFETY,

 

D efendants

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Plaintiff"s Replv to Defendant’s Affirmative Defenses
NOW COMES the Plaintiff, SEAN McDERMOTT, by and through his attorneys,
BRUSTN & LUNDBLAD, LTD., and in reply to the Afiirmative Defenses heretofore interposed
by the Defendant, ARCELORMITTAL U.S.A., LLC, (U.S.A), states as follows:
First Affirrgative Defense
lit Plaintiff neither admits nor denies the allegations of paragraph one because said
allegations constitute the legal conclusions of the pleader.
2. Plaintiff denies the allegations of paragraph two of the Affirmative Defense and sub-
paragraphs (a) »~ (c), inclusive thereof
3. Plaintiff denies the allegations of paragraph three of the Aft`irrnative Defense and

specifically, denies that any conduct on his part caused or contributed to his injuries

Second Afi'lrmative Defense

Plaintiff denies that the condition which caused his injury was open or obvious, particularly in

 

 

 

 

 

Case: 1:18-cv-O3529 Document #: 1 Filed: 05/18/18 Page 33 of 185 Page|D #:33

the absence of adequate lighting on the premises

WHEREFORE, Plaintiff7 SEAN MCDERMOTT, by and through his attorneys,
BRUSTIN & LUNDBLAD, LTD., prays that Defendants’ Affirmative Defense be stricken and
held for naught.

Respeotfully submitted,

BRUSTIN & LUNDBLAD, LTD.

i/\/\rw£oa>

iiiié/W.\Lundbia¢i _V
Milo W. Lundblad
BRUSTlN & LUNDBLAD, LTD.
10 N. Dearborn Street, 7th Floor
Chicago, lllinois 60602
(312)263-1250
Atty. NO. 21626
Attorney for Plaintiff

 

Case: 1:18-cv-O3529 Document #: 1 Filed: 05/18/18 Page 34 of 185 Page|D #:34

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168.26053 3>/28 FlRl\il:h&QvF URT OF
COOK COUNTY ILLINOIS

IN THE ciRcUIT COURT oF CooK coUNTY, i;LLi LAW DIVISION
coUNTY DEPARTMENT, LAW DIVISION , , 13P}Y§{K DQRO_THY BR_OWN

SEAN MCDERMOTT,
Plaintiff,

v.
No. 2017 L 009093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC, and CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED SAFETY,

Calena’ar A

\./\./\./\./\./\./\./\./\./\./\./\./

Defendants.

CODE RED SAFETY & RENTAL, LLC’S ANSWER TO COMPLAINT

NOW COMES Defendant, CODE RED SAFETY & RENTAL, LLC (hereinafter referred
to as “Code Red”), by and through its attorneys, Tribler Orpett & Meyer, P.C., and for its answer
to Plaintiff`s Complaint at Law, states as follows:

l. Code Red is without knowledge or information sufficient to form a beliefas to the
truth of the allegations contained in paragraph l, and demands strict proof thereof.

2. Code Red admits only that at all relevant times it was duly organized under the
laws of the State of Delaware and denies that the remaining allegations accurately state and set
forth the services it provides.

3. Code Red is without knowledge or information sufficient to form a belief as to the
truth of the allegations contained in paragraph 3, and demands strict proof thereof.

4. Code Red admits only that on or prior to October 19, 2016, there were repairs
and/or refurbishing of parts of the lndiana Harbor Facility including the area known as Oven No.
3, and is without knowledge or information sufficient to form a belief as to the truth of the
remaining allegations contained in paragraph 4.

5. Code Red denies the allegations contained in paragraph 5.

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Case: 1:18-cv-O3529 Document #: 1 Filed: 05/18/18 Page 35 of 185 Page|D #:35

6. Code Red is without knowledge or information sufficient to form a belief as to the
truth of the allegations contained in paragraph 6, and demands strict proof thereof

7. Code Red admits only that Plaintiff was on the premises of the lndiana Harbor
Facility on October 19, 2016, and is without knowledge or information sufficient to form a belief
as to the truth of the remaining allegations contained in paragraph 7.

8. Code Red denies the allegations contained in paragraph 8, including all
subparagraphs thereof

9. Code Red denies the allegations contained in paragraph 9.

10. Code Red denies the allegations contained in paragraph 10, and denies that

vPlaintiff was injured in the manner and to the extent alleged

1 1. Code Red admits only that Plaintiffs counsel has attached an affidavit as Exhibit
A, and that the affidavit speaks for itself.

WHEREFORE, Defendant, CODE RED SAFETY & RENTAL, LLC, prays that
judgment be entered in its favor and against Plaintiff, together with costs.

AFFIRMATIVE DEFENSES

Defendant, CODE RED SAFETY & RENTAL, LLC, by and through its attorneys, state
the following Affirmative Defenses to Plaintiffs Complaint at Law as alternative pleadings and
without prejudice to its denials as to liability and fault:

FIRST AFFIRMATIVE DEFENSE

l. Plaintiff had a duty to exercise reasonable care for his own safety.
2. Plaintiff breached that duty and was negligent in one or more of the following
respects:
a. Failed to keep a proper lookout;
b. Failed to observe a condition that was open and obvious;

c. Failed to use a safer alternative method of performing his work;

2017-L-009093

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d. Carelessly and negligently worked without exercising due care and
caution for his own safety; and

e. Failed to ask for assistance if he needed it to safely perform his work.

3. Plaintiffs own negligence was the proximate cause of the injuries alleged in his
complaint, or, alternatively, his own negligence contributed to cause the alleged injuries and
damages

4. lf judgment is entered in favor of Plaintiff and against defendant, Code Red, such
judgment shall be reduced in an amount commensurate with Plaintiff s own degree of

comparative fault, and if that fault is greater than 50% of the total fault attributable to all tort

y feasors, he shall be barred from any recovery whatsoever as a matter of law.

WHEREFORE, Defendant, CODE RED SAFETY & REN'I`AL, LLC, prays that Plaintiff
be barred from any recovery whatsoever, or in the alternative, that any judgment entered in
Plaintiffs favor shall be reduced in the amount commensurate with his own degree of
comparative fault.

SECOND AFFIRMATIVE DEFENSE

1. Code Red’s fault, if any, in causing the damages alleged in Plaintiff s complaint,
constitutes less than 25% of the total fault attributable to Plaintiff, Sean McDerrriott, any
Defendants sued by Plaintiff and applicable Third-Party Defendants

WHEREFORE, Defendant, CODE RED SAFETY & RENTAL, LLC, prays that if
judgment is entered against Code Red and in favor of Plaintiff, Code Red shall only be severally
liable for its pro~rata share of fault in causing the non-medical and non-medically related

damages, if any.

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THIRD AFFIRMATIVE DEFENSE

1. Code Red is entitled to a set-off reducing any judgment against it by any amount
paid to Plaintiff by, on behalf of, any Defendant, Third-Party Defendants, or Third-Parties
relating to the injuries or damages alleged in Plaintiffs complaint, including a waiver of medical,
workers’ compensation or other liens against the judgment pursuant to 735 lLCS 5/2-608 and/or
735 ILCS 5/2~613.

WHEREFORE, Defendant, CODE RED SAFETY & RENTAL, LLC, is entitled to a set-
off against any adverse verdicts for any amounts paid to Plaintiff related to this matter from any
source.

FOURTH AFFIRMATIVE DEFENSE
1. The condition which Plaintiff encountered was an open and obvious condition

which Plaintiff, in the exercise of reasonable care, should have avoided without incidents

Patrick E , One of the Attorneys for
Defenda , ode Red Safcty & Rental, LLC

  

Michael J. Meyer, Esq.

Patrick E. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 1300
Chicago, lllinois 60606

(312) 201-6400

docket@tribler.com

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Case: 1:18-cv-O3529 Document #: 1 Filed: 05/18/18 Page 38 of 185 Page|D #:38

AFFIDAVIT OF INSUFFICIENT KNOWLEDGE
Patrick E. Burgess, being first duly sworn on oath, deposes and says that he is one of the
attorneys for Defendant, CODE RED SAFETY & RENTAL, LLC, that he is authorized to make
this affidavit and that the allegations of want of knowledge in the above answer are true and correct
to the best of his knowledge and belief

'l`RlBLER ORPETT & MEYER, P.C.

MW

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PAGE 6 0f6

Case: 1:18-cv-O3529 Document #: 1 Filed: 05/18/18 Page 39 of 185 Page|D #:39

PROOF OF SERVICE
TO: Attorneys of Record (See Service List)

l, a non-attorney, certify that l served this notice and the follo _ ing documents by sending
a copy to the aforementioned parties via electronic mail on January 3 , 2018:

1. Code Red’s Answer to Complaint at Law

[X] Under penalties as provided by law pursuant to ILCS
SEC 5/1-109 l certify that the statements set forth

 

herein are true and correct. v _
Date ............ /.....Y ...... / g ..............
Signature

TRIBLER ORPETT & MEYER, P.C.
1 225 West Washington, Suite 2550
§ Chicago, lllinois 60606

Telephone: (312) 201-6400
Fax: (312) 201-6401
Firm No.: 39950

' SERV|CE VIA E-MAIL WILL BE A(,`CEPTED AT [)()('Kl-l'l`/ki"l`RlBl.ER.(`().\l

SERVICE LIST

Attorneys for Plaintiff
' Milo W. Lundblad

Brustin & Lundblad, Ltd.

10 N. Dearborn ~ 7th Floor

Chicago, IL 60602

(312) 263-1250

mltuidblad@mablawltd.com

todonnell(?vniablawltd.com ~» Trish O’Donnell (assistant)

 

Attornegs for Arcelor Mittal
David E. Kawala

Kelly Konzen

Swanson Martin & Bell LLP
330 N. Wabash Street
Chicago, lL 6061 1

(312) 321~9100
dkawala@smbtrials.com
kkonzeni"ci‘asmbtrials.com

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PAGE 1 of 13
CIRCUIT COURT OF

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VlSlON
CLERK DOROTHY BROWN

IN THE CIRCUIT COURT OF COOK COUNTY, iLLiNOiS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,
Plaintiff,

V.
NO. 2017 L 009093
ARCELORMiTTAL iNTERNATioNAL
AMERiCA, LLC, ARCELoRMiTTAL
u.s.A., LLC, and CODE RED sAFETY
AND RENTAL, LLC, d/b/n CODE RED
sAFETY,

Ca[endar A

VVVV\_/\_/\_/\_/VVVV

Defendants.

MOT[ON 'l`O DISMISS AND/OR TRANSFER BASED ON FORUM NON~
CONVEN[ENS

Defendant, CODE RED SAFETY & RENTAL, LLC, (hereinalter referred to as
"CODE RED"), by and through its attomeys, Tribler Orpett & Meyer. P.C., moves this
Honorable Court for entry of an order dismissing this matter pursuant to Supreme Court
Rule 187,forum non-conveniens In support of this motion, CODE RED states as
follows:

l. Plaintiffs, Sean McDermott, ("`Plaintiff"), filed a Complaint at Law in the
Circuit Court of Cook County alleging a premises liability cause 0f action against Code
Red, Arcelorl\/littal lntemational America, LLC, and ArcelorMittal U.S.A., LLC, seeking
to recover for purported injuries he sustained while working in Oven no. 3 at a steel
fabricating facility known as ArcelorMittal lndiana Harbor, located at 3210 Watling
Street in East Chicago, lndiana, (hereafter referred to as the "lndiana facility"'. (See

Plaintiff s Complaint attached as Exhibit A).

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2. Plaintiffs complaint alleges that Code Red, ArcelorMittal International
America, LLC, and ArcelorMittal U.S.A., LLC, individually and by their agents and
employees owned, operated and maintained the lndiana facility, and failed to properly
maintain, illuminate and inspect Oven no. 3 at the lndiana facility. (Exhibit A).

3. At the time of the alleged occurrence, Plaintiff was an employee at Roger
& Sons. (Exhibit A). Upon information and belief, Roger & Sons is a construction
company located at 4715 Euclid Avenue, East Chicago, lN 46312.

4. The scene of the alleged occurrence, the lndiana facility is located in the
state of lndiana.

5. Upon information and belief, Plaintiffresided in Beecher, Will County,
lllinois.

6. Upon information and belief, employees of the Roger & Sons, plaintiffs
employer residing in lndiana, witnessed the occurrence

7. Upon infonnation and belief, employees of Arcelorl\/littal Intemational
Amen`ca, LLC, and ArcelorMittal U.S,A., LLC residing in lndiana have knowledge
regarding the occurrence and conducted an investigation into the alleged occurence.

8. There are no allegations at this time that Plaintiff received any care or
treatment in Cook County, lllinois.

9. The site of the accident is not located in Cook County and Plaintiff does
not reside in Cook County, lllinois.

10. Code Red’s headquarters is located in Hammond, lndiana and none of the
workers that were working at the lndiana facility on the date of the occurrence resided in

Cook County, IL.

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1 1. If there exists more than one potential forum for an action, the applicable
Doctrine ofFoi'um Non Conveni`ens may be invoked to determine the appropiiate forum.
G)‘r`{)"ith v. Mz`tsubl`shi Ai'rci'qfi" Inte.rnatl'onal, Inc., 136 IIl.2d 101, 105 (1990). The
Doctrine allows the court in which the action was filed to decline jurisdiction and direct
the lawsuit to an alternative forum that the court determines to better serve the
convenience ofthe parties and the ends ofjustice. Vi`nson i'. AI/state, 144 IIl.2d 306, 310
(1991).

12. In ruling on aforum non conveniens motion, the trial court must consider
both the private interest factors and public interest factors. The test is whether the
relevant factors viewed in their totality strongly favor transfer to the forum suggested by
the defendant. Dawdy v. Uni`on Paci`fi`c Rai[)'oad Co., 107 IIl.2d 167, 176 (2003).

13. l-lowever, in lllinois, where a plaintiff is foreign to the forum he files suit
in and the accident did not occur where the suit was flled, the plaintiffs chosen forum is
no longer assumed convenient for theforum non conveniens purposes Dawdv i»'. Um'on
Paci`fl`c Railroad Co., 107 IIl.2d 167, 174 (2003).

14. In this matter, there appears little to no connection to Cook County that
would justify allowing this matter to proceed in Cook County, Illinois.

15. The Court of Lake County, lndiana Sitting at Hammond, lndiana is a
substantially more appropriate forum under the totality of the circumstances in this
matter. Moreover, when considering that plaintiff is foreign to Cook County and the
accident did not occur in Cook County, or even in the state of Illinois, in relation to all of
the factors, this court should rule out Cook County as an appropriate forum.

15. Code Red"sfo)'um non conveniens interrogatories are attached as Exhibit

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16. ln order to proceed with its motion, Code Red needs additional discovery
and time to file a memorandum and affidavits in support of its motion to dismiss/transfer
pursuant to the Doctrine of Foi'um Non Conveni`ens.

WHEREFORE, Defendant, CODE RED SAFETY & RENTAL, LLC, requests
this Honorable Court:

1. Eiiter an order setting a schedule for discovery relative to theforu)n non
conveniens issues, leave to file its brief in support of its motion at the conclusion of the
forum discovery schedule, and to set a hearing on the motion to dismiss; or

2. Dismiss Plaintiffs Complaint in Cook County pursuant to_forum non

conveniens and for any other relief this Court deems equitable and just.

Respectfully submitted,

TRIBLER ORPETT & MEYER, P.C.

/
Mys for Defendnni, cons RED
sAFETY a RENTAL, LLC

Michael .l. Meyer, Esq.

Patn`ck E. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 1300
Chicago, lllinois 60606

(312) 201-6400

(312) 201-6401 (fax)

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[N THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

sEAN MeDERMorr, )
)
Piainiia: )
)
v. ) No. § 0 1
) `“ "7~ 7
` ARcELoRMn'rAL mTERNATioNAL ) "_~‘
AMERICA, LLC, ) ’
ARCELORMHTAL U.s.A., LLC, and )
CODE RED sAFETY AND RENTAL, LLC, )
d/b/a CODE RED SAFETY, )
)
Defendants )
COMI’LAlNr AT LAW

NOW COMES the Plaintiff, SEAN McDERMO'I'f, by and through his attorneys,
BRUSTN & LUNDBLAD, LTD., and complaining of the Defendants, ARCELORMI'ITAL
D'TI`ERNATIONAL AMERICA, LLC, (International), ARCELORMIT'I`AL U.S.A., LLC,
(U.S.A) and CODE RED SAFETY AND RENTAL, LLC., d/b/a CODE RED SAFETY (Code
Red), and each ofthem, states as follows:

l. On October 19, 2016, and at all times mentioned herein and relevant hereto, the
Defendants lntemational and U.S.A., were limited liability companies organized under thc laws
of the State of Delaware and did business in and maintained their principle offices at One South
Dearbom Street, Chicago, lllinois.

2. On October 19, 2016, and at all times mentioned herein and relevant hereto, the
Defendant, Code Red, was a limited liability company duly organized under the laws of the State
of Delaware for the purposes of offering industrial level safety training products, equipment and

personnel

 

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3. On October 19, 2016, and for a long time prior thereto, the Defendants,
international and U.S_A., owned, operated and maintained a steel fabricating facility known as
ArcelorMitial indiana Harbor, located at 3210 Watling Street in East Chicago, lndiana

4. On and prior to October 19, 2016, me Defendants, lntemational and U.S.A. had
undertaken to repair and/or refurbish parts of the lndiana Harbor facility, including an am
known as Oven No. 3 in Plant B.

5. Prior to October l9, 2016, the Defendants, Intemational and U.SA. contracted
with the Defendant, Code Red, to provide safety consulting personnel, services and equipment to
assure that the repair and/or refurbishment of their premises, including Oven No. 3 in Plant B,
was done in a safe manner.

6. Prior to October 19, 2016, the Defendants, lntemational and U.S.A., connected
with various eotities, including Plaintifl`s cmployer, Rogers and Sons, to perform repair and/or
refurbishment services on Oven No. 3, Plant B at lndiana Harbor.

7. On October 19, 2016, Plaintiif was lawfully on the premises at the Defendants’,
lntemational and U.S.A.’s indiana Harbor facility in pursuit of his employment with Rogers &
Sons and in furtherance of the repair and/or rcfurbishment of the Defendant’s premises

8. On and before October 19, 2016, the Defendants, International, U.S.A., and Code
Red, and each ofthem, were negligent in one, or more, of the following ways:

a. failing to properly maintain the floor of Oven No. 3;
b. failing to adequately illuminate the interior of Oven No. 3;

c. directing Plaintiff to enter Oven No. 3 when they lmow, or in the exercise
ofordinary care should have lmown, that it was unsafe to do so;

d. failing to properly inspect the interior of Oven No. 3 to assure that it was
safe for workmen, including the Plainti&`, to enter; and/cr

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e. failing to provide the Plaintiff with a safe place to work.

9. As a direct and proximate result of one or more of the foregoing negligent acts
and/or omissions on the part of the Defendants, lntzrnational, U¢S.A., and Code Red, and each of
them, Plaintiff was caused to partially fall through the floor of Oven No. 3 when he was
insu'ucted to enter it, causing him sever, permanent painful and disabling injuries

lO. The injuries Plaintiff sustained as aforesaid have caused him, and in the fixture
will continue to cause him, to become liable for large and diverse sums of money to medical
providers in an effort to be cured; and have interfered, and in the future will continue to interfere
with his livelihood, employment, employability and enjoyment of life, all to his damage

11. Plaintili"s counsel’s affidavit pursuant to Supreme Court Rule 222 (b) is attached
hereto as Exhibit A and incorporated herein by reference

WHEREFORE, Plainti§`, SEAN McDERMOTT, by and through his attorneys,
BRUST]N & LUNDBLAD, LTD., prays for judgment against the Defendants,
ARCELORMI'ITAL INTERNATIONAL AMERICA, LLC, ARCELORMIT'I`AL U.S.A, LLC
and CODE RED SAFETY AND RENTAL, LLC, dfb/a CODE RED SAFETY, and each of
them, in an amount in excess of FiRy thousand Dollars ($50,000.00).

Respectfully submitted,

BRUSTIN & LUNDBLAD, LTD.

By; ~;;;»j\e; /j;;’z;¢¢.w

Jo F,leebba
John F. Klebba §
BRUS!`IN & LUNDBLAD, LTD.
10 N. omni sum 7"* rloor
Chicago, Illinois 60602
(312)263-1250

Atty. No. 21626
Attorneyfor Plainnf

 

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVlSlON

SEAN McDERMO'I'l`
Plaintiff,

Z
p

V.

ARCELORMITI`AL INTERNATIONAL
AMERICA, LLC,

ARCBLORMITI`AL U.S.A., LLC, and
CODE RED SAFETY AND RENTAL, lNC.,
d./b/a CODE RED SAFETY,

Defendants.

AFFIDAVIT

The undersigned, John F. Klebba, heretofore duly sworn on oath, hereby deposes and
stem as follows:

l. I arn a resident of the State of lllinois, over the age of eighteen (18) years and
under no testimonial disability.

2. I am a member of the Bar of the Supreme Court of Illinois, in good standing

3. l am employed by the linn ofBrustin & Lundblad, Ltd.

4. l am one of the attorneys chiefly charged with responsibility for the case

 

 

 

captioned above.
5 . The total money damages sought in this mmer exceed Fifty Thousand Dollars
($50,000.00).
FUR'I`HER AFFIAN'I` SAYE'I`H NOT.
\>r:€-? sign
10;@;:' Kl¢bba
SIGNED and SWORN to before me on this
§ § day of §55§§3§¢ , 2017
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1@8,20058 35,'28 FIRM NO. 39950

lN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,
Plaintiff,

v.
No. 2017 L 009093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC, and CODE RED SAFETY
AND RENTAL, LLC, d/b/a CODE RED
SAFETY,

Ca/endar A

VVV\/\/\/`/VVVVV

Defendants

FORUM NON CONVENIENS INTERROGATORIES DIRECTED TO
PLAINTIFF

Defendant, CODE RED SAFETY & RENTAL, LLC, (hereinafter referred to as
"CODE RED"’), by and through its attomeys, TRIBLER ORPETT & MEYER, P.C.,
propounds the following lnterrogatories upon plaintiff, SEAN McDERMOTT, ("hereafter
referred to as "plaintiff"), pursuant to lllinois Supreme Court Rule 187(b) and in support of
its motion to dismiss or transfer based on_forum non conveniens CODE RED requests that

plaintiff provide sworn answers to these interrogatories within twenty-eight (28) days:

l. State plaintiffs full name and date of birth.
ANSWER:
2. State the street address, city/town/village, county, and state of the location

where plaintiffs alleged October 19, 2016, accident occurred.
ANSWER:

3. State the street address, city/town/village, county and state where plaintiff
maintained his permanent residence as of October 19, 2016.

 

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ANSWER;

4. State the street address, city/town/village, county and state where plaintiff
currently maintains his permanent residence.

ANSWER:

5. State the name(s) of all occurrence witnesses and the street address,
city/town/village, county and state where said occurrence witnesses currently reside.

ANSWER:

6. State the name(s) of all individuals who were at the scene of the occurrence
shortly before or shortly after the occurrence and the street address, city/town/village,
county and state where said individuals currently reside.

ANSWER:

7. State the name(s) of all post-occurrence witnesses who will testify regarding
plaintiffs alleged injuries and the effect of said injuries on plaintiffs day-to~day life along
with the street address, city/town/village, county and state where said witnesses currently
reside.

ANSWER:

8. State the name, street address, city/town/village, county and state of all of
plaintiffs healthcare providers who treated him for any injuries allegedly sustained as a
result of the subject occurrence

ANSWER:

9. State the dates on which plaintiff treated at any hospitals and other healthcare
providers listed in the answer to lnterrogatory 8 above.

ANSWER:

10. State the street address, city/town/village, county and state of plaintiff s
employer on the date of the occurrence

ANSWER:

ll. State the complete name, street address, city/town/village, county and state
ofplaintiff`s immediate supervisor/foreman on the date of the occurrence

ANSVVER:

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12. State the street address, city/town/village, county and State of plaintiffs
current employer.

ANSWER:

13. ldentify any and all contacts you claim that the parties to the above captioned
lawsuit have with Cook County, or any other basis(es), to support your belief that Cook
County is the most convenient forum for the resolution of this lawsuit.

ANSWER:

14. ldentify each and every basis you have (excluding those identified above) for
a claim that Cook County is the most convenient forum for the resolution of this lawsuit.

ANSWER:
Respectfully submitted,

TRlBLER ORPETT & MEYER, P.C.

Mor Defendant, CODE RED

SAFETY & RENTAL, LLC

Michael J. Meyer, Esq.

Patrick E. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 1300
Chicago, lllinois 60606

(312) 201 ~6400

(312) 201-6401 (fax)

docket§a)tribler.com

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FIRM NO. 39950

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,

Plaintiff,
v.
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC, and CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED SAFETY,

Defendants.

\/\./\/\/"/\/\/\/\./\./\./\./

No. 2017 L 009093

Calendar A

NOTICE OF MOTION

TO: Attorneys of Record (See Attached Service List)

PLEASE TAKE NOTICE that on January 12, 2018, at 10:30 a.m. or as soon thereafter as
counsel may be heard, we shall appear before Judge .lames N. O"Hara or any otherjudge sitting in his
stead in Couttroom 2206 in the Richard .l. Daley Center and then and there present Defendant, Code Red
Safety & Rental, LLC’s, Motion to Dismiss and/or Transfer Based on Forum Non-Conveniens, a copy of

which is herewith served upon you.

 

 

/ ~» -
Patrick’E/. Burgess,/E(sq.

_.`

TR BLE .ORPETT & MEYER, P.C.

225

. Washington Street, Suite 2550

Chicago, lllinois 60606
(312) 201~6400

docket@tribler.com

 

PROOF OF SERVICE

l, a non-attomey, certify that 1 served this notice by sending a copy by electronic mail to all

attorneys of record on January 8, 2018.

[X] Under penalties as provided by law pursuant to ILCS

SEC 5/1~109 l certify that the statements set forth
herein are true and correct.

DWCY `~@Z

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168.26058 35/28

SERVICE LIST

McDermott v. Code Red Safety, et al - 1 7 L 9093

Attornegs for Plaintiff
Milo W. Lundblad

Brustin & Lundblad, Ltd.

10 N. Dearborn » 7th Floor

Chicago, lL 60602

(312) 263-1250

mlundblad@mablawltd.com

todonnell@mablawltd.com ~ Trish O’Donnell (assistant)

Attornevs for Arcelor Mittal
David E. Kawala

Kelly Konzen

Swanson Martin & Bell LLP
330 N. Wabash Street
Chicago, IL 60611

(312) 321-9100
dkawala@smbtrials.com
kkonzen@smbtrials.com

 

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IN THE CIRCUIT COURT OF COOK COUNTY ILLINOIS R_ev. 1/17
» COUNTY DEPARTMENT-LAW DIVISION
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Defendants ) 2005 Trial 'Date:

 

* *CASE lllANA GE]\£ENT ORDER * * y
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(4231) l_. Written, 213(®(1), (t)(2) and 214 discovery'to be issued by , or deemed waived;
(4296) 2. Written, 213(1)(1), (1)(2) and 214 discovery to be answered by 1 ;
(4218) 3. Party deposinons, fact, 213(£)(1)and/or (2) depositions to be completed by 3 ;
(4297) 4. Plaintiff to send list & addresses of treaters to Defendant(s).by _ ;
(4288) 5 . Subpoenas for treating physicians’ records/dcps to be issued by or deemed waived;
(4218) 6. Treating physicians depositions to be completed by ' ;
(4231) 7. All dispositive motions shall be filed no later'than ` ;
(4296) 8. All SCR 215 & 216 discovery completed by §
(4206) 9. (Plainti_tii) - (Defendant) - (Add. Party) shall answer 213 (S(3) interrogatories by ;
(4218) 10. Plaintiff’s 213§§)§3) witnesses’ depositions to be completed by ;
(4218) 11. 'Defendant’s 213( f)( 31 witnesses’ depositions to be completed by g
(4218) 12. Add. nartv’s 213(1`1(31 vn`tnesses’ depositions to be completed by ;
(4295)__* 13 All fact discovery, SCR 213(1`)(1), (1)(2), 215(a) and 216 discovery rs closed. (Circle all applicable)
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(4619) ( 14 elT ma er is inued for subsequent Case Management Conference oz- /ZZ/ is
? ;KI/P'M in Room 2206 for:
(A)_________ rop Sé'rvice _______Appearance of Defendants (C) Case Value
Pleadings Status (E) _____Discovery Status (F) Pre-TrialjSettlement
(G)T*_ Mediation Status (H) Trial Certiiication (l) Other
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(4005) 14. Case is DWP’d. (4040) The case is voluntarily dismissed pursuant to 735 ILCS 5/2- 1009
(4331)__“Mw 15 Case stricken from (4284)________1\/10tion Snicken or (4330) Case stricken from
. CMC Call mWithdrawn from Call Motion Call.

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN McDERMOTT, )
)
Plaintiff, )
)
v. ) No. 17 L 9093
)
ARCELORMITTAL INTERNATIONAL )
AMERICA, LLC, )
ARCELORMITTAL U.S.A., LLC, and ) ‘,-'-’ §
CODE RED sAFETY AND RENTAL, LLC, ) §§ § j
d/b/a CODE RED SAFETY, § § 913 § .;;¥ `
Defendants. ) §§;-E `° U
NOTICE 0F FILING §;;§ w L--*
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TO: Arcelor Mittal USA, LLC Mr. Michael J. Meyer 3
Mr. David Kawala . Mr. Patrick E Burgess
Swanson, Martin & Bel|, LLP Tribler Orpett & Meyer, PC
330 N. Wabash Ave., Ste 3300 225 W. Washington St., Ste 2550
Chicago, IL 60611 Chicago, 1 L 60606

dkawalag’d>smbtrial s.com

Please take notice that on this 29th Day of January, 2018, l filed with the Clerk of the
Circuit Court of Cook County, lllinois the following documents:

Plainti/§”s Reply to Defendant Code Red ’s Ajj‘irmative Defenses

a copy of which is attached hereto.

Brustin & Lundblad, LTD.

/s/ Francis J. Dermody
Francis J. Dermody

Francis J. Dermody

Brustin & Lundblad, LTD.
10 N. Dearbom st., 7“‘ Floor
Chicago, lL 606023

312 263 1250

Atty No 21626

Case: 1:18-Cv-03529 Document #: 1 Filed: 05/18/18 Page 55 of 185 Page|D #:55

CERTIFICATE OF SERVICE

I hereby certify that on this 29th day of January, 2018, I served the documents listed below by e-
mail and by mailing a copy, First Class, postage pre-pajd, to the above-named parties at the
above-mentioned address, and deposition same in the U.S. Mail Chute at 10 N. Dearborn, 7‘h
Floor, Chicago, Illinois, 60602, before 5:00 PM, under penalties as provided by law pursuant to

735 ILCS 5/1-109.

/s/ Francis J. Dermody

Francis J. Dermody

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 56 of 185 Page|D #:56

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,

Plaintiff,

V.

No. 17 L 9093

ARCELORMITTAL INTERNATIONAL
AMERICA, LLC,

n § .
§§ ' 55 "Tl.
ARCELORMITT_AL U.s.A.,LLC, and ,»;:) §§ ;-'
CODE RED SAFETY AND RENTAL, LLC, §_§-~?32 ,\, , m
d/b/a CODE RED sAFETY, Q§`i \° 53
<
za‘cZUJ § 1
Defendants. §:*§ w t“"“!
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Plaintiff’s Reply to Defendant’s Affirmative Defenses l

NOW COMES the Plaintiff, SEAN McDERMOTT, by and through his attomeys,

BRUSTN & LUNDBLAD, LTD., and in reply to the Affirmative Defenses heretofore interposed
by the Defendant, CODE RED SAFETY, states as follows:

FIRST AFFIRMATIVE DEFENSE

 

Plaintiff had a duty to exercise reasonable care for his own safety.

2. Plaintiff breached that duty and was negligent in one or more of the following

respects:
a. Failed to keep a proper lookout;
b. Failed to observe a condition that was open and obvious;

c. Failed to use a safer alternative method of performing his work;

d. Carelessly and negligently worked without exercising due care and

caution for his own safety; and
e.

Failed to ask for assistance if he needed it to safely perform his work.

_'.,

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 57 of 185 Page|D #:57

Plaintift`s own negligence was the proximate cause of the injuries alleged in his
complaint, or, altematively, his own negligence contributed to cause the alleged
injuries and damages

If judgment is entered in favor of Plaintiff and against Defendant Code Red such
judgment shall be reduced in an amount commensurate with Plaintiff s own
degree of comparative fault, and if that fault is greater than 50% of the total fault
attributable to all tortfeasors, he shall be barred from any recovery whatsoever as
a matter of law.

RESPONSE:

l.

2.

Admitted.
Denied.
Denied.

Denied

SECOND AFFIRMATIVE DEFENSE

 

Code Red’s fault, if any, in causing the damages alleged in Plaintiffs complaint,
constitutes less than 25% of the total fault attributable to Plaintif`f, Sean
McDermott, any Defendants Sued by Plaintiff and applicable Third-Party
Defendants.

RESPONSE:

1.

Denied.

THIRD AFFIRMATIVE DEFENSE

Code Red is entitled to a set-off reducing any judgment against it by any amount
paid to Plaintiff by, on behalf of, any Defendant, Third-Party Defendants, or
Third-Parties relating to the injuries or damages alleged in Plaintiffs complaint,
including a waiver of medical, worker’s compensation or other liens against the
judgment pursuant to 735 ILCS 5/2-608 and/or 735 ILCS 5/2~613.

RESPONSE:

1.

Denied

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.FOURTH AFFIRMATIVE DEFENSE

1. The condition which Plaintiff encountered was an open and obvious condition
which Plaintiff, in the exercise of reasonable care, should have avoided without
incident.

RESPONSE:

l. Denied.

WHEREFORE, Plaintiff, SEAN McDERMOTT, by and through his attomeys,

BRUSTIN & LUNDBLAD, LTD., prays that Defendants’ Affirmative Defense be stricken and

held for naught.

Respectfully submitted,

BRUSTIN & LUNDBLAD, LTD.

By: /s/ Milo W. Lundblad
Milo W. Lundblad

Milo W. Lundblad

BRUSTIN & LUNDBLAD, LTD.
10 N. Dearbom Street, 7'h Floor
Chicago, lllinois 60602
(312)263-1250

Atty. No. 21626

Attorney for Plaz`rn‘ljjif

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IN THE QBCUIT CQURT OF CQQK COUNTY, ILLINO!§ Rev. 1/17
COUNTY DEPARTMENT- W D ION `

 

 

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**(Please check aj all pertinent paragraphs and circle proper party name) **

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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(4231) 1. Written, 213(f)(1), (t)(Z) and 214 discovery`to be issued by ` , or deemed waived;
(4296) 2. Written1 213(t)(1), (t)(Z) and 214 discovery to be answered by 3
(4218) 3. Party depositions, fact, 213(1)(1) and/or (2) depositions to be completed by _;
(4297) 4'. Plaintiff to send list & addresses of treaters to Defendant(s) by ,)~
(4288) 5. Su`bpoenas for treating physicians’ records/dcps to be issued by or deemed waived;
(4218) 6. Treating physicians depositions to be completed by J-
(4231)______»7.A11dsp05iavemoaons shanbeaied no mer'¢h=m ;
t (4296)M8.A11 SCR 215 & 216 discoveryc completed by ;
(4206)M 9 (Plainti_&) (Defendant)- -(Ad¢i Party) shall answer 213 (9(3) lnterrogatories by ;
v (4218) ' 10. Plaintiffs 2131§[131Wimesses’ depositions to be gg_l_nple_t___ by ;
(4218) 11.'Defend'aot’s 2131§)§3) ndtnesses’ depositions to be _ggngph;t§d_ by ;
(4218) 12. Add. paLtX’s 2131§)(3) witnesses’ depositions to be gomp_l_§@ by §
(4295) 13. All fact discovery, SCR 213(1)(1), (1)(2), 215(a) and 216 discovery is closed. (Circle all applicable)
` '(4619) .¢ \ g 14. The matter ned for subs uent Case Management Conference on Ll <: l 6
ce'M m Room 206 for;
(A)______ oper Se Appearance of Defendants (C)____ Case Value
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(4005)_______14. Case is DWP’d. (4040)______11'he case is voluntarily SmiSSed pursuant iii `735 ILCS 53~1009.
(4331) 15 Case stricken flom (4284)_______ Motion Stricken or (433 0)________ Case stricken nom
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

sEAN MCDERMorr,
Praimia,

v. Case NO. 2017 L 009093
ARCELORMITI`AL INTERNATIONAL
AMERICA, LLC; ARCELORMITI`AL
U.S.A. LLC; CODE RED SAFETY AND
RENTAL, LI_)C, d/b/a CODE RED
SAFETY,

V\/\/V\v/\v'\v/\J\_/\/\~J\/\./

Defendants
HlPAA PROTEC"]`IVE C)RDER

This court explicitly finds that this court order is necessary to:

1. Protect a party‘s right to privacy as guaranteed by article l, section 6 of the lllinois
constitution for each party in this lawsuit;

2. Ensure the parties‘ compliance with the Health lnsurance Portability and
Accountability Act of 1996 (HIPAA) and its accompanying rules and regulations governing the
disclosure, maintenance, use, and disposal of protected health information (PHI), see generally 45
C.F.R. 160.103 & 160.501,

3. Require covered entities, sec 45 C.F.R. 160.103, to disclose a party's PHI for use in
this litigation without a separate disclosure authorization;

4. Pennit insurance companies to receive PHI or what would otherwise be considered
PHI from covered entities, business associates, and parties in litigation and to disclose, maintain,
use, and dispose ofPHI or What would otherwise be considered PHI in compliance and conformity
with all applicable fcderal laws and regulations and the lllinois Insurance Code and its

accompanying rules and regulations; and

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5.

Furthcr the interest of the State of lllinois in regulating the business of insurancel

A party disclosing PHI explicitly stipulates that she or he:

Read this court order before signing their name to be bound by it;

Discussed the contents of this court order with their attorney of record in this
litigation and had the opportunity to ask questions;

Was informed of and fully understands the consequences of the entry of this court
order;

Freely and without reservation stipulates to the entire contents of this court order;
and

Understands that by refusing to consent to the contents of this order, the court may
impose sanctions up to and including dismissal of the complaint

Based on these findings and stipulations, this court orders the following;

1.

The PHI of any party in this lawsuit may not be disclosed for any reason

without that party's prior written consent and an order of this court.

2.

A party that has disclosed PHI and agreed (as indicated by signature) to

the entry of this court order explicitly waives the right to privacy over the disclosed materials but

only to the extent provided in this court order. The only disclosures explicitly waived and

expressly permitted are those:

A. To insurance companies to disclose, maintain, use, and dispose of PHI or what

would otherwise be considered PHI to comply and conform with current and
future applicable federal and state statutes, rules, and regulations for purposes
including:

1. Reporting; investigating evaluating, adjusting, negotiating, arbitrating,

litigating, or settling claims;

Compliance reporting Or tiling;

Identifying and reporting criminal or unlawful conduct;

Required inspections and audits;

legally required reporting to private, federal, or state governmental health or

medical insurance organizations, including, but not lirnited, to the Centers for

Medicare and Medicaid Services (CMS);

Rate setting and regulation,'

Statistical information gathering;

Underwriting, reserve, loss, and actuarial calculation;

Drafting policy language;

O. Workers' compensation; and

1. Determining the need for and procuring excess Or umbrella coverage or
reinsurance;

E"‘:‘**S‘°.N

.°°.\J.G`

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 62 of 185 Page|D #:62

B. Ordered by this or another court or arbitral body or by subpoena for purposes of
subrogation, reimbursement, or payment of liens arising out of or related to this
lawsuit; and

C. Necessary to comply with any other federal or state laws, rules, or regulations, but
only with the party's express consent and entry of an appropriate court order.

3. Any covered entity over which this court has jurisdiction that fails or refuses to
disclose PH[ in accordance with this court order is subject to all sanctions authorized by the
Code of Civil Procedure and the lllinois Supreme Court rules.

4. A party to this lawsuit may provide PHI to an undisclosed consulting expert or
controlled expert witness as defined in lllinois Suprerne Court Rule 213(1°)(3), but only after
receiving acknowledgement that each such expert or witness agrees to be bound by the terms of
this order.

5. Irnrnediately after the conclusion of this lawsuit, as indicated by a court-entered
order of dismissal, all parties and other persons or entities subject to this court order possessing
PHI shall by agreement either return it to the party or non-party about whom it concerns or their
attorney of record in this lawsuit or destroy it by shredding, pulverizing, melting, incinerating, or
degaussing. This provision does not apply to insurers who possess What would otherwise be
considered PHl under HIPAA, but only to the extent as limited in paragraph 2.

6. No parties or their attorneys, agents, or representatives are permitted to request,
obtain, or disclose PHI or any other type of medical bills, records, or related information other than
through the formal discovery procedures authorized by the Code of Civil Procedure, lllinois
Supreme Court rules, and orders of this court.

7. The parties are prohibited from including or attaching PHI to any document filed
with the Clerk of the Circuit Court. PHI necessary for the court‘s consideration of any matter must

be provided separately

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 63 of 185 Page|D #:63

This court retains jurisdiction to enforce the terms of this order after the conclusion of

this litigation

Dated: 2!23513

Dated:

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§§ M_z /”}v\ ’\MQ“:M ,
Signed by Plaintiff / legally Designated
Representative / Other (circle one)

r/_ ,»~,

y ‘§ 4 / /r 7
t ,.A, f ii ` N./_w“______ . .

Counsel for Plaintiff

 

Circuit Court Judge

 

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 64 of 185 Page|D #:64

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,
Plaintiff,

v. No. 17 L 9093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC,

ARCELORMITTAL U.S.A., LLC,

CODE RED SAFETY A_ND RENTAL, LLC,
d/b/a CODE RED SAFETY, and GM SAFETY
AND SUPPLY, LLC

Defendants

NOTICE OF ROUTINE MOTION

TO: Mr. David Kawa.la Mr. Patrick E. Burgess
Swanson, Martin & Bell, LLP Tribler Orpett & Meyer, PC
330 N. Wabash Ave., Ste 3300 225 W. Washington St., Ste 2550
Chicago, IL 60611 Chicago, IL 60606
dkawala@smbtrials.com peburgess@tribler.com

YOU ARE HEREBY NOTIF[ED that on April 5, 2018 at 8:45 a.m., we shall appear
before the Honorable Judge O’I-Iara or that Judge Presiding in Room 2206, at the Richard .l.
Daley Center Court house, Chicago, lllinois, and then and there present Plaintifi°s Routine
Motion to appoint a special process server for service.

CERTIFICATE OF SERVICE

I hereby certify that pursuant to Section 1-109 of the Code of Civil Procedure, that on March
28, 2018, I emailed and mailed to all counsel of record this notice along with the routine motion
before 5:00 p.m. from the U.S. Mail Chute located at 10 N. Dearborn Street, Chicago, IL 60602.

  

 

BRUST].N & LUNDBLAD, LTD.
10 N, Dearbom St., Suite 700
Chicago IL 60602

312/263-1250

Attorney No.: 21626

 

 

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN McDERMOTT,
Plaintiff,

V. No. 17 L 9093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC,

ARCELORMITTAL U.S.A., LLC,

CODE RED SAFETY AND RENTAL, LLC,
d/b/a CODE RED SAFETY, and GM SAFETY
AND SUPPLY, LLC

Defendants.

PLAINTIFF'S ROUTINE MOTION TO APPOINT SPECIAL PROCESS SERVER
NOW COMES the Plaintiff in the above entitled cause by and through his attorneys,
BRUSTIN & LUNDBLAD, LTD., and move this Honorable Court to appoint J. Mahr of Joseph
P. Mahr lnvestigations (License No. 11500042) as Special Process Server herein. ln support of
which, Plaintiff states:
l. J. Mahr is over EIGHTEEN (18) years of age and is not a party to this action.
2. Plaintiff requests leave to have a special process server appointed to serve Defendant

GM SAFETY AND SUPPLY, LLC in this matter. The Sheriff was unable to obtain service on

said Defendant

BRUSTIN & LUNDBLAD, LTD,
10 N. Dearborn Street, Suite 700
Chicago, IL 60602

Tele: 312/263-1250

Atty No. 21626

 

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 66 of 185 Page|D #:66

IN THE CIRCUIT COURT OF COGK COUNTY, ILLINOIS
CGUNTY DEPARTMENT, LAW DIVISION

SEAN McDERMOTl`, )
)
Plaintiff, )
)

v. ) No. 17 L 9093
)
ARCELORMITTAL INTERNATIONAL )
AMERICA, LLC, )
ARCELORMITTAL U.S.A., LLC, )
CODE RED SAFETY AND RENTAL, LLC, )
d/b/a CODE RED SAFETY, and GM SAFETY )
AND SUPPLY, LLC )
)
Defendants. )

ROUTINE ORDER

THIS CAUSE coming to be heard upon the Motion of the Plaintiff, notice given to all
parties who have appeared, and the Court being fully advised of the premises:

IT IS HEREBY ORDERED:

That J. Mahr of Joseph P. Mahr Investigations (License No. 11500042), being of legal
age and not related to any party herein, or otherwise holding an interest herein, is appointed as
Special Process Server to serve Defendant GM SAFETY AND SUPPLY, LLC Safety in this
matter. The Sheriff was unable to obtain service on said Defendant

EN TER:

.......................................................................

JUDGE JUDGE'S NO.

BRUSTIN & LUNDBLAD, LTD.
10 N. Dearbom St., Suite 700
Chicago IL 60602

312/263-1250

Atty No. 21626

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 67 of 185 Page|D #:67

In The Circuit Court of Cook Coun"ty
County D`epartment - Law Division

/M a De( tavan

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Order for Brief`mg Schedule
This matter corning to be heard on Mot_ion the court sets the following`Briefmg»Schedule;

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What type of motion / ~!m .1$,€:”-/ ar;_w~' {< .v.i ~r/\t/~.,;A¢ mace/weekend

l/

Whose motion §%’/.,=.girf»if C;:‘§@““' "/Qe /

Movant shall tile a memorandum in support by
Response brief-shall be area by l/’t/lv¢ri/_ {’], 20 19

aepty bnefshau be tried by M/‘tlz ?‘/` . 20 l §
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-'I'his matter rs set for clerk’s status at 10: 30 am on \]¢4 me 7 '7()/,?
In Couru'oorn- 2206 motion call A. A complete set of courtesy cdpies rs due on the

Clerk’s status date.

A full set of the briefs, most recent complaint deposition transcripts relied upon, and-
copies of out of state case shall be submitted Briefs may not exceed 15 pages and shall
contain official case citations Exhibits shall be separately tabbed. Support for the
requested relief cannot be raised initially in the Reply. This order shall not affect the trial

date of this case . / _ / _ ,,
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Judge Jamas l\l, O’Hara

 

Al’li ii i"§ `.`»’.C'lR
Circuit Court - 1363

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LAw Dlvl’sIoN
IN THE CIRCUIT coURT oF cook CouNTY, 1LLn€i)iFSBK DGROTHY BROWN
coUNTY DEPARTMENT, LAW DivisioN

SEAN MCDERMOTT, )
)
Plaintiff, )
)
v. )
) No. 2017 L 009093
ARCELORM[TTAL lN'I`ERNATlONAL )
AMERICA, LLC, ARCELORMITTAL ) Calendctr A
U.S.A., LLC, and CODE lUSD SAI~`l:"l`Y )
AND RENTAL, LLC, d/b/a CODE RED )
SAFETY, )
)
Defendants )

DEFENDANT CODE RED SAFETY & RENTAL, LLC’S
MEMORANDUM lN SUPPORT OF ITS MOTlON TO DISMISS
BASED ON FORUM NON CONVENIENS

Defendant Code Red Safcty & Rental. LLC (“Code Red"), by and through its
attorneys, Tribler Orpett & Meyer, P.C., states the following memorandum in support of
its motion to dismiss this matter pursuant to the doctrine ofjorum mm conveniens and
Supreme Court Rule 1871

Introduction

Plaintiff alleges that he was injured on October 19, 2016. while working for his
employer, Roger & Sons at a steel manufacturing facility known as ArcelorMittal lndiana Harbor.
located at 32l0 Watling Street in East Chicago, Indiana, (hereafter referred to as “the lndiana
facility""). (See Plaintist Amended Complaint attached hereto as “Exhibit A”). Plaintiff
alleges that Code Red, and co-Defendant, Arcclorl\/littal U.S.A, LLC, (hereafter referred to as
“Arcelor"), individually and by their agents and employees, were negligent in that they: failed to

properly maintain a floor of an Oven at the lndiana facility; failed to adequately illuminate the

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interior of the oven at the lndiana facility; directed Plaintiff to enter the oven when it was unsafe
to do so; and failed to provide Plaintiff with a safe place to work at the lndiana facility. (l_i_x‘._r?_t).
Code Red was served with the original complaint on November 6, 2017, (See Alias Summons
attached hereto as “Exhibit B"). Code Red filed its motion to dismiss based on the doctrine
offo)‘n)n non conveniens on January 8, 2018.

At issue is whether the Court of Lake County, lndiana sitting in Hammond, lndiana is a
more convenient forum for this litigation than Cook County, Illinois. The trial court may
transfer a case if it "has no practical connection to the forum"` and the transfer will “better
serve the ends ofjustice." Brnce \'. Atadcro, 405 Ill. App. 3d 318, 322 (lst Dist. 2010);
Vinson v. Allstatc, 144 lll.2d 306, 310 (1991). The court`s decision will not be reversed
absent an abuse of discretion. Pci/c v. Skc/gas, Inc., 163 lll.2d 323, 336 (1994).
Discretion is only abused if no reasonable person would agree with the court`s decision.
Dawa:v v. Union PaCI:/l`€ R.R. Co., 207 lll.2d 167, 177 (2003).

A reasonable person would readily agree that this lawsuit should be resolved in
the Court of Lake County, lndiana sitting in Hammond, lndiana because COOk County, lllinois
has no practical or legitimate connection to this lawsuit. The Court of Lake County, lndiana
sitting in Hammond, lndiana is a substantially more convenient and appropriate forum for
the reasons explained below. Accordingly, Code Red`s motion should be granted

Undisputed F acts
The following facts are undisputed based on written discovery exchanged

between the parties on theformn issue:

l. Plaintiff does not reside in Cook County.
a. He currently resides in Beecher, Will County, lllinois.
b. He resided in Will County, lllinois, at the time of the occurrence

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(Beecher, lllinois).

2. The occurrence transpired in Lake County, Indiana. (East Chicago,
lndiana).
3. None of the occurrence witnesses identified by Plaintiff reside in Cook

County, lllinois.

a. Able Zepeda -Foreman for Rogers & Sons, 4715 Euelid Ave., East
Chicago, lN 46312_;

b. Frank Martinez ~ Superintendent for Rogers & Sons, 4715 Euelid
Avenue, East Chicago` lN 46312; and
c. Raul Rodriguez, 516 Penfield, Beecher, Will County, lllinois.
4. Plaintiff never received any medical treatment in Cook County, lllinois.

He received treatment in the following locations:

a. Gary, lndiana;
b. Munster, lndiana; and
c. Monee, Will County, lllinois,
5. Plaintiff identified thirteen post-occurrence witnesses that will testify

regarding Plaintiff"s injuries and the effects of said injuries on his day~to-day life and
none of those thirteen witnesses reside in Cook Countv.

6. Plaintift`s employer at the time of the occurrence, Roger & Sons
Construction is located in East Chicago, lN.

7. Jeannette Jarrard, an independent contractor for Code Red that was
working at the lndiana facility on the date of the occurrence resides in Valparaiso, IN.

8. Sandra Barnes McGuire, now a fonner employee of Code Red, who was

working at the lndiana facility on the day of the occurrence resides in Gary, lN.

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9. ln fact, only one of the seven other current and former Code Red
employees that performed work at the lndiana facility during the relevant timeframe
reside in Cook County, lllinois. The other six current and former Code Red employees
reside in the state of lndiana.

10. The scene of the occurrence, lndiana facility, 3210 Watling St,, East
Chicago, IN 46312 is located less than 10 miles from Lake County Superior Court, 232
Russel Street, Hammond, IN and over 20 miles from the Daley Center.

These facts are supported by the following exhibits:

-Plaintift`s answers to interrogatories - Exhibit C;

-Code Red`s answers to interrogatories - Exhibit D;

-Mapquest.com directions from the lndiana facility in East Chicago, IN to the

Lake County Superior Court, Hammond, lN - Exhibit E; and

-Mapquest.com directions from the lndiana facility in East Chicago, lN, to the

Daley Center, Chicago, IL- Exhibit F.

-Mapquest.com directions from Jeannette Jarrard`s residence to the Lake County

Superior Court, Hammond, lN and the Daley Center, Chicago, lL- Exhibit G;

- Mapquest.com directions from Sandra Barnes McGuire’s residence to the Lake

County Superior Court, Hammond, IN and the Daley Center, Chicago, IL~

Exhibit l-l;

-Statistics published by the Administrative Offrce of lllinois Courts in 2016 (thc

most recent reported year for the statistics) - Exhibit 1'

 

- Statistics published by the lndiana Offrce of Court Services in 2016 (thc most

recent reported year for the statistics) - Exhibit J

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Argument

THE ClRCUlT COURT OF COOK COUNTY lS NOT A CONVENIENT FORUM
FOR THlS LlTlGATlON BASED ON THE UNDlSPUTED FACTS AND
GOVERNlNG LAW.

lllinois law on the doctrine ofjo)'unz non conveniens is well settled. When there is
more than one potential forum, the doctrine is invoked to determine the most appropriate
_t:o_ru_i_i_i_. Daii‘dy it Union Pacl_`fic R.R. Co., 207 lll.2d 167, 171-74 (2003); G)'i_`f/itli v.
Milsubl`s/ii Ai`rci~a_/i I/ztel'nationa/, Inc., 136 lll.2d 101, 105 (1990). The doctrine is based
on considerations of fundamental fairness and sensible and effective judicial
administration, and it allows the court in which the action was filed to decline jurisdiction
and direct the lawsuit to a forum that better serves the convenience of the parties and the
ends ofjustice. Dawd_v. 207 lll.2d at 171-74.

Fo)'uni non conveniens applies on both an interstate and intrastate basis. Fenne//
v. lllinois Centra/ Rai`l)'oad Colnpany, 2012 IL l 13812 at para. l3. The same
considerations of convenience and fairness apply in both interstate and intrastate
situations in deciding the question of the forum for trial. ld. Specifically, the focus of
interstate and intrastate/crum non conveniens is whether the case is being litigated iii the

most appropriate state. Id. citing Eads v. Consoli'dated R. Corp., 365 Ill.App.3d 19, 25

A. PLAlNTiFF’s CHOICE oF CiRCuiT CouRT oF Coor< COUNTY As THE
FORUM rs NOT ENTlTLED TO ANY DEFERENCE.

lllinois law does not allow "forum shoppiiig.” Id. at 174. When a plaintitfis not
a resident of the chosen forum and the incident that gave rise to the litigation did not
occur in the chosen foruni, plaintiffs choice of forum is given no deference and, in fact,
it is reasonable to assume that the plaintiff is engaged in forum shopping Id.

Oui‘ plaintiff does not live in Cook County, Aiid the subject occurrence did not

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happen in the state of lllinois. Accordingly, plaintiffs choice of forum should not be
given any deference iii ruling on Code Red`s niotion.

B. THE FACT THAT DEFENDANTS irAvE CoRPoRATE 0FFiCEs/FACrLiTrEs
lN COOK COUNTY lS IRRELEVAN'I` lN THE ASSESSMEN'I` OF THE MOST
CoNvENiENT FoRuM.

lii his response, plaintiff will likely rely heavily on the fact that Code Red does
business or has a register agent iri lllinois, First, Code Red does riot own or lease an
office or any property iii the state of lllinois. Second, it is immaterial whether Code Red
does business or have a registered agent in Cook County, lllinois, Whether a defendant
corporation maintains an office in and/or does business in the plaintiffs chosen forum
should have no effect whatsoever on the Court’s ruling on a forum non conveniens
motioir. Da\i'dil, 2()7 lll.2d at 171 -74. Where a defendant corporation is located and/or
where it conducts business are only important in assessing whether venue is proper. See
e.g., 735 ILCS 5/2~101, 2-102(a). "Proper veiiue"’ and "the most convenient torum" are
two wholly different considerations under lllinois law. See e.g., Vr`nson v. A//state, 144
lll.2d 306, 311 (1991) and B/and v. ]\’oijfo/k & W.R. Co.` 116 lll.2d 217 (1987). A motion
to dismiss based on the forum non conveniens doctrine presupposes that venue is
appropriate Boner v. Peabody Coal Co., 142 lll.2d 523, 539-540 (1991). lf the fact that
the defendant conducts business oi' is located iii the plaintiffs chosen forum were
dispositive, the/bruni non conveniens doctrine itself "would be entirely vitiated, and no
transfer would ever be obtained. Rather, plaintiffs choice would be elevated to the
stature of a dispositive consideration, which is patently not to be allowed." Frankh`n v.

FMC Corp., 150111. ADD. 3d 343. 347 (1986).

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C. The Private lnterest Factors Establish that the Court at Lake County,
lndiana sitting in Hammond, lndiana is a Substantially more Convenient
Forum than Cook County,

ln determining the appropriate forum for a case to be litigated, it is incumbent
upon the trial court to balance the prevailing private and public interests G/ass v. DOT
Transportatl`on, Inc,, 393 lll. App. 3d 829, 832-833 (lst Dist. 2009). The private interest
factors are not weighed against the public interest factors; rathei; the trial court must
evaluate the total circunistances, and “all relevant criteria must be considered without
emphasizing any particular factor. " Ia’. at 832.

The relevant private interest factors are: (l) convenience of the parties; (2)
relative ease of access to sources of testimonial, documentary and real evidence; (3)
availability of compulsory process to secure attendance of unwilling witnesses; (4) cost to
obtain attendance of unwilling witnesses; (5) possibility of viewing the premises, if
appropriate and (6) all other practical considerations that make a trial easy, expeditious
and inexpensive Ia’. These factors are explained in turn below.

l. The convenience of the Darties:

Cook County is not convenient to any of the parties as none of them live or have
any offices here. Lake County, lndiana is by far the most convenient forum for Code Red
because all of its current and former employees, with the exception of one, reside in the
state of lndiana. Furthermore, while Code Red identified seven current and former
employees that performed work at the lndiana facility based on the overbroad nature of
the interrogatory, the two then employed or individuals that were working for Code Red
at the lndiana facility that were working in the area of the oven at the lndiana facility on

the day of the occurrence, Jeannette Jarrard and Sandra Barnes McGuire, that are likely to

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testify at trial both reside iii the state of lndiana and live closer to Hammoiid, lndiana
where the Lake County, lndiana circuit court is located then to the Daley Center in Cook
County, lllinois. (Exhibit G and Exhibit H.). This factor strongly favors the granting of

Code Red`s motion.

 

 

2. Ease ofaccess of evidence:
3. Availabilitv of compulsorv process for unwilling witnesses; and
4. Cost of obtaining attendance of unwilling witnesses

 

The three factors can be addressed together, and strongly favor the granting of
Code Red`s motion. None of Plaintiffs identified occurrence witnesses; Able Zepeda ~
Foreman for Rogers & Sons, 4715 Euelid Ave., East Chicago, lN 46312; Frank Martinez
- Superintendent for Rogers & Soiis, 4715 Euelid Avenuer East Chicago, lN 46312; and
Raul Rodriguez, 516 Penfield, Beecher, Will County, lllinois, reside and/or work iii Cook
County, lllinois, (Exhibit C). ln fact two of the plaintiffs occurrence witnesses`
addresses is plaintiffs then employer, Roger & Sons, Construction`s business address in
East Chicago, lndiana. Clearly it would be more convenient, easier and less expensive to
force them to attend trial in Lake County, lndiana than it would be to force them to travel
to Cook County, lllinois. Shortening of the witnesses` travel time is a key factor in
assessing the convenience of the forum. Botc[[o v. lllinois Centm[ RR Co., 348
Ill.App.3d 445, 456 (1SI Dist. 2004). An increased convenience to those witnesses, in
turii, increases the parties’ convenience by making those witnesses more readily available
to testify in court. Id. The proximity of the witnesses to trial would help alleviate any
potential delays occasioned by their failure to arrive in court at the appointed hour. Id.

While Code Red doubts that it will depose all thirteen post-occurrence witnesses

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plaintiff identified that will testify regarding his physical condition following the
occurrence, none of those thirteen witnesses reside in Cook County, lllinois, (Exhibit C).

The location of treating doctors is an important factor for the court to consider in
assessing a forum motion in a personal injury case. Annnernian v. Rayniond Corp., 379
Ill.App.3d 878, 890 (l51 Dist 2008), citing B/ana’ v. No)_'/o/k & Western R_v Co., 116 lll.2d
217, 227 (1987). Plaintiff did not receive any medical treatment in Cook County, lllinois.
He did however receive treatment in both Gary and Munster, lndiana, which are both
located in Lake County, lndiana. ln fact, all of the medical treatment occurred either in
Lake County, lndiana or Will County, lllinois, which is closer or just as close to Cook
County, lllinois, (Exhibit C.)

5. The possibility of viewing the premises where the incident occurred.

This factor weighs heavily in favor of transferring the case to Lake County,
lndiana, where the courthouse is less than 10 miles from the scene of the occurrence
(Exhibit E). The lllinois Supreirie Court recently noted that the key word is
"possibility,” not "`necessity.`* Fenne/ v. lllinois Centra/ RR Co., 2012 lL 1 13812 at 1137.
ln l~`enne/, the plaintiff filed suit in St. Clair Co., lllinois, alleging that he had been
exposed to asbestos while working for the defendant-railroad in various states. 1n
response to a motion to dismiss based on the_/ornni doctrine, plaintiff asserted that there
would be no necessity for the jury to view the site of the exposure. While seemingly
correct, the Supreme Court noted that such a decision needed to be left to the discretion
of the trial judge at the time of trial. Thus, the trial court and appellate court erred in
failing to address this as a factor in denying thefornni motion. Ia’. at 1137-39. (See also

D¢twafv, 207 lll.2d at 178-79.)

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ln this matter, the scene of the occurrence is an oven inside the lndiana facility.
There are multiple ovens inside the lndiana facility. Due to the size and uncertain
location of the subject oven, the parties` counsel are conducting an inspection of the oven
inside the lndiana facility on April 26, 2018. Obviously, iftlie attorneys need to view the
scene ofthe occurrence inside the lndiana facility, the possibility that a jury would view
the oven inside the lndiana facility greatly increases and it would be far more convenient
to view the lndiana facility from the courthouse iii the same lndiana County where the
courthouse is located

D. The Public lnterest Factors also Establishes that Macoupin County is
a Substantially more Convenient Forum than Cook County,

The three public interest factors when ruling on an intrastate forum non
conveniens motion are: (l) the congestion of the various courts` dockets; (2) the
uiifainiess of imposing jury duty upon residents of a county with no connection to the
litigation; and (3) the interest in having controversies decided locally. Glass, 393
Ill.App.3d at 833. Courts generally have a shared concern “in protccting finite judicial
resources"" and the efficient functioning of` their judicial systems. so that they are not
impeded by non-resident litigation to the extent that their availability to local citizens is
impaired or diminished Botello, 348 Ill.App.3d at 459. The three public interest factors
strongly favor the dismissal of this inatcr from Cook County for the reasons explained
below:

1. Congestion:

Cook County is much more congested than any of the courts in Lake County, IN.
Based on the last available statistics, 9,232 cases seeking greater than 550,000 (like this

one) were filed in Cook County. (Exhibit 1). Whereas, only 47 such civil tort cases were

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filed in the courts in Lake County` IN. (Exhibit J). Twenty-one civil tort cases were
terminated in Lake County, lN in 2016, Id. ln contrast, 378 of those cases were
completed in Cook County, lL in 2016, and those cases took on average 35 months to
complete (Exhibit 1.) lt is reasonable to assume that this case will be pushed through the
system more quickly if transferred to the courts in Lake County, IN.

2. The unfairness of imposing jury duty upon residents of a county with no
connection to the litigation;

3. The interest in having local controversies decided locally:

These two points can be addressed together, Cook County residents have no
interest in this litigation; the incident did not happen here; the parties do not reside or
work here; and none of the recoverable damages were incun~ed here. lt would be unfair
to force Cook County residents to sit on the jury in this trial, and unfair to force Cook
County taxpayers to fund this litigation. ln comparison Lake County, lN has a strong
interest in the case because the incident happened there, and some of the alleged damages
were incurred there. Tliese two factors heavily weigh in favor of granting Code Red`s
motion to disiniss.

QQ.IM

When balancing all of the relevant factors described above, Lake County, lN is
the most convenient forum, and this Court is urged to dismiss this matter. 1t is obvious
that this case has no practical connection to Cook County, lL. Lake County, lN is
substantially a morc convenient forum than Cook County, and thus the Court should

grant Code Red’s motion to transfer on the doctrine of forum non conveniens

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Patrick E. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street

Suite 2550

Chicago, lllinois 60606

(312) 201~6400

(312)201-6401(fax)
docket@tribler.com

Michael J. Meyer, Esq.
Patrick E. Burgess, Esq.
TRIBLER ORPETT & MEYER, P.C.

225 West Washington Street, Suite 2550

Chicago, lllinois 60606
(312) 201-6400

(312) 201-6401 (fax)
docket cotribler.coin

Respectfully submitted

TRlBLER ORPETT & MEYER, P.C.

One of th ode ed Safcty & Rental’s
attorn

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PROOF OF SERVICE
TO: See Attached Service List

l, a non-attorney, certify that l served this notice and the following documents by
sending a copy via electronic mail to the aforementioned parties on April 19, 2018:

l. Defendant, Code Red Safcty & Rental, LLC’s Memorandum in
Support of Its Motion to Dismiss Based on Forum Non Conveniens

[X] Under penalties as provided by law pursuant to ILCS
SEC 5/1~109 l certify that the statements set forth
herein are true and correct. L/// 575 ,/X

 

Signature

Patrick E. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington, Suite 2550
Chicago, lllinois 60606

Telephone: (312) 201 -6400

Fax: (312) 201-6401

Firrn No.: 39950

SERVICE VIA E-MAlL WlLL BE ACCEPTED AT D()CKE"l`t”a""I`RIBLER.COM

 

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SERVICE LIST

Attornegs for Plaintiff
Milo W, Lundblad

Frank Dermody

Brustin & Lundblad, Ltd.

10 N. Dearborn - 7th Floor

Chicago, IL 60602

(312) 263~1250

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b1awsonicilf;mablawltd.com - Brad Lawson (paralegal)

 

 

Attornevs for Arcelor Mittal
David E. Kawala

Kelly Konzen

Swanson Martin & Bell LLP
330 N. Wabash Street
Chicago, lL 60611

(312) 321-9100
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EXHIBIT A

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVIS!ON

SEAN McDERMOTT,

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Plaintiff,

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ARCELORMITI`AL U.S.A., LLC,
CODE RED SAFETY AND RENTAL, LLC,
d/b/a CODE RED SAFETY, and GM SAFETY
AND SUPPLY, LLC
Defendants.
FIRST AMENDED COMPLAINT AT LAW
NOW COMES the Plaintiff, SEAN McDERMOTT, by and through his attomeys,
BRUSTIN & LUNDBLAD, LTD., and complaining of the Defendants, ARCELORMITTAL
INTERNATIONAL AMERICA, LLC, (Intemational), ARCELORMITTAL U.S.A., LLC,
(U.S.A), CODE RED SAFETY AND RENTAL, LLC., d/b/a CODE RED SAFETY (Code Red),
:and GM SAFETY AND SUPPLY, LLC (GM Safety) and each of them, states as follows:
: COUNT I-NEGL[GENCE AGAINST ALL DEFENDANTS
l. On October 19, 2016, and at all times mentioned herein and relevant hereto, the
Defendants, Intemational and U.S.A., were limited liability companies organized under the laws
of the State of Delaware and did business in and maintained their principle offices at One South
Dearborn Street, Chicago, Illinois.

2. On October 19, 2016, and at all times mentioned herein and relevant hereto, the

Defendant, Code Red, was a limited liability company duly organized under the laws of the State

 

 

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of Delaware for the purposes of offering industrial level safety training, products, equipment and
personnel.

3. On October 19, 2016, and all times mentioned herein and relevant hereto, the
Defendant, GM Safety, was a limited liability company with their corporate office at 2030
Summer St, Hamrnond, lndiana, in the business of offering industrial level safety training,
products, equipment and personnel.

4. On October 19, 2016, and for a long time prior thereto, the Defendants,
lntemational and U.S.A., owned, operated and maintained a steel fabricating facility known as
ArcelorMittal lndiana Harbor, located at 3210 Watling Street in East Chicago, lndiana.

5. On and prior to October 19, 2016, the Defendants, Intemational and U.S.A. had
undertaken to repair and/or refurbish parts of the lndiana Harbor facility, including an area
known as Oven No. 3 in Plant B.

6. Prior to October 19, 2016, the Defendants, Intemational and U.S.A. contracted
with the Defendant, Code Red, and Defendant, GM Safcty, to provide safety consulting

:personnel, services and equipment to assure that the repair and/or refurbishment of their
ipremises, including Oven No. 3 in Plant B, was done in a safe manner.

7. Prior to October 19, 2016, the Defendants, Intemational and U.S.A., contracted
with various entities, including Plaintiffs employer, Rogers and Sons, to perform repair and/or
refurbishment services on Oven No. 3, Plant B at lndiana Harbor,

8. On October 19, 2016, Plaintiff was lawfully on the premises at the Defendants’,
Intemational and U.S.A.’s lndiana Harbor facility in pursuit of his employment with Rogers &

Sons and in furtherance of the repair and/or refurbishment oi` the Defendants’ premises.

 

 

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9. On and before October 19, 2016, the Defendants, lntemational, U.S.A., Code

Red, and GM Safety, and each of them, were negligent in one, or more, of the following ways:

a. failing to properly maintain the floor of Oven No. 3;
b. failing to adequately illuminate the interior of Oven No. 3;
c. directing Plaintiff to enter Oven No. 3 when they know, or in the exercise

of ordinary care should have known, that it was unsafe to do so;

d. failing to properly inspect the interior of Oven No. 3 to assure that it was
safe for workmen, including the Plaintiff, to enter; and/or

e. failing to provide the Plaintiff with a safe place to work.
10. As a direct and proximate result of one or more of the foregoing negligent acts
and/or omissions on the part of the Defendants, International, U.S.A., Code Red, and GM Safcty,
and each of them, Plaintiff was caused to partially fall through the floor of Oven No. 3 when he
was instructed to enter it, causing him sever, permanent paintiil and disabling injuries.
11. The injuries Plaintiff sustained as aforesaid have caused him, and in the future
;will continue to cause him, to become liable for large and diverse sums of money to medical
providers in an effort to be cured; and have interfered, and in the future will continue to interfere,
with his livelihood, employment, employability and enjoyment of life, all to his damage

12. Plaintiff’s counsel’s afHdavit pursuant to Suprerne Court Rule 222 (b) is attached
hereto as Exhibit A and incorporated herein by reference

WHEREFORE, Plaintiff SEAN McDERMOTT, by and through his attomeys,
BRUSTIN & LUNDBLAD, LTD., prays for judgment against the Defendants,
ARCELORMITI`AL INTERNATIONAL AMERICA, LLC, ARCELORMITTAL U.S.A, LLC,

CODE RED SAFETY AND RENTAL, LLC, d/b/a CODE RED SAFETY, and GM SAFETY

 

    

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AND SUPPL¥, LLC, and each of them, in an amount iii excess of Fi&y thousand Dollars

($50,000.00).

Francis J. Dermody

BRUSTIN & LUNDBLAD, LTD.

10 N. Dearbom Street, 7th Floor
Chicago, lllinois 60602
(312)263-1250

' Any.No. 21626

Artorneyfor Plaintij”

Respectfully submitted,

BRUST]N & LUNDBLAD, LTD.

Byr /////7

Francis J.vDerrnody("/'

 

 

 

 

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AMERICA, LLC, )
ARCELoRMrT'rAL U.s.A., LLC, and )
conn RED sAFETY AND RENTAL, LLC, )
d/b/a coDE RED sAFETY, and GM sAFETY )
AND sUPPLY, LLC )
Defendants. )
§§.T.LC.E_Q_EELL_I_IX_G_
_ . Mr. Michael J. Meyer
§ To. Arcelor Minal USA, LLC Mr_ Patrick E. Burgcss
_` Mr. David Kawala T .bl 0 n & M PC
f § m m swanson Martin & Beii, LLP 2;‘5 § er°h. e§':r' St 2550
§§ § § 330 N. wabash Ave., ste 3300 Ch. ‘ las 6’§§:)°6“ " °
§ § 8 g chicago, rL 6061 i ’cag°’
§ § : § E-mail: dkawalr_i@smbtrials.com
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5 § ‘“ °` PLEASE TAKE NOTICE that oh this is_r day of March, 2013; I filed with the clerk ofthe
§§ Circuit Court of Cook County, lllinois the following documents:
g

(a) Plainth First Amended Complaint,

a copy of which is attached hereto.
BRUST[N & LUNDBLAD, LTD.

By: s/ Francis J. Dermod
Frank J. Dermody

Milo W. Lundblad
BRUSTIN & LUNDBLAD, LTD.
10 N. Dearborn si., 7“‘ Fioor
Chicago, lllinois 60602
(312)263~1250

Atty. No.: 21626

 

2017-L-009093

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CERT[FICATE OF SERVIC§

I:Staecrilon_attomey, he_reby certify that on this l_st day of March 2018 I served the documents
11 _ below by e-mail and by mailing a copy First Class, postage pre-pajd, to the above-named
parties at the above-mentioned addresses, and depositing same in the U.S. Mail Chute at 10 N

Dearborn 7"‘ Fioer chieth lllinois 60602 before 5- 0 P '
, , , , , . .M., d '
law pursuant to 735 ILCS 5/1-109. " er penalties as pmvlded by

 

   
 
 

 
 

 

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EXHIBIT B

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2-120’-`- Serv&d 2121 - Served

2220'- Not served 2221 - Noc served

2320 - Served By Mail 2321 - Served By Mail

2410 -$er\red by Publication 2421 - Served By Publicaticn

SUMMONS ALlAS - SUMMONS (3/01/03) cCG wool

 

 

lN THE ClRCUlT COURT OF COOK COUNT¥, lLUNOlS
COUNTY DEPARTMENT, LAW DlV|S|ON

Sean McDermott,
Plaintiff,
v. Case No.: 17 L 9093

PLEASE SERVE:
See Reverse Slde

Arceloerttal international America, LLC,
Arceloerttal U.S.A., LLC, and Code Red
Safety and Rental, LLC, d/b/a Code Red Safety,

Defendants.

AL|AS SUMMONS
To each Defendant:

. YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which ls
to attached, or otherwise tile your appearance, and pay the required fee, in the Office of the C|erk of this
rt at the Rlchard J. Daley Center, 50 W. Washington, Room 801, Chlcago, illinois 60602.

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§Em ust file within 30 days after service of this Summons, not counting the day of service,
lF`YOU FA|L TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGA|NST VOU FOR THE RELlEF REQUESTED
lN THE COMPLAINT.

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To the officer:

yThis Summons must be returned by the officer or other person to whom lt was given for service, with
endorsement of service and fees, if any, immediately after service, if service cannot be made, this Summons
shall be returned so endorsed. This Summons may not be served later than 30 days alter its date.

BRUST|N & LUNDBLAD, LTD. WlTNESS, »-§§;;;`;_’,;,.,`__,_ 75 ,_`K.W,`;» ga ,z 5 201;,
10 N. Dearborn Street, 7°' Floor `
Chlcago, illinois 60602

(312) 263-1250 Clerk of Court
Attorney No.: 21626

 

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Date ofservice: 11` C> 1

 

 

 

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(To be inserted t;y officer on copy le'ftv:\q¢?;h,`:d
other person) ;;\"'§`“ . k
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DOROTHY BROWN, CLERK OF THE CIRCUIT COURT DF COOK COUNTY, lLL|NO|S‘

  

 

 

 

 

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Service List
McDermotr v. An:eioerttai international America, LLC, et ai.

Code Red Safety & Rental, LLC
c/o Ragistered Agent:

Wa\ter i. Starck

161 N. Clari< St., Suite 4200
Chicago, lL 60601

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

sEAN McDERMOTr,
Plaintiff,

v. No. 17 L 9093
ARCELORMI'I'I`AL INTERNATIONAL
AMERICA, LLC,
ARCELORMITI`AL U.S.A., LLC, and
CODE RED SAFETY AND RENTAL, LLC,
d/b/a CODE RED SAFETY, and GM SAFETY
AND SUPPLY, LLC

Defendants.

CERTlFICATE OF SERVICE

Mr. Michael J. Meyer

Mr. Patrick E. Burgess

Tribler Orpett & Meyer, PC

225 W. Washington St., Ste 2550
Chicago, IL 60606

 

To: Arcelor Mittal USA LLC
Mr. David Kawala
Swanson, Martin & Bell, LLP
330 N. Wabash Ave., Ste 3300
Chicago, IL 60611

E~mail: dkawala@smbtrials.com

 

I, a non-attomey, hereby certify that on this _9____th day of March 2018,1 served the
documents listed below by e-mail and by mailing a copy First Class, postage pre-paid, to the
above-named parties at the above-mentioned addresses, and depositing same in the U. S. Mail
Chute at 10 N. Dearbom, 7u‘F100r, Chicago, lllinois, 60602, before 5: 00 P M. ,under penalties as
provided by law pursuant to 735 ILCS 5/1- 109.

 

(a) Plaintsz's Response to Defendant Code Red Forum Non Conveniens
Interrogatorr'es.

a copy of which is attached hereto.
BRUSTIN & LUNDBLAD, LTD.

    

Latonia Goldsmith
BRUSTIN & LUNDBLAD, LTD.

10 N. Dearborn St., 7th Floor

Chicago, lllinois 60602

(312)263-1250

Atty. No.: 21626

 

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN McDERMO'l'I`,
Plaintiff,

v. No. 17 L 9093

ARCELORMITTAL INTERNATIONAL

AMERICA, LLC,

ARCELORN[ITTAL U.S.A., LLC, and

CODE RED SAFETY AND RENTAL, LLC,
d/b/a CODE RED SAFETY,

Defendants.

I’LAINTIFF’S RESPONSE TO DEFENDANT CODE RED FORUM NON CONVENIENS
INTERROGATORIES

l. State the plaintiff s full name and date of birth
ANSWER: Sean Martin McDerrnott, June 13, 1979

2. State the street address, city/town/village, county and state of the location where
plaintiffs alleged October 19, 2016 accident occurred.
ANSWER: 3210 Watling Street, East Chicago, lndiana, 46312

3. State the street address, city/town/village, county and state where plaintiff
maintained by his permanent residence as of October 19, 2016,
ANSWER: 50 Meadowlark Lane, Beecher, IL 60401

4. State the street address, city/town/village, county and state where plaintiff
currently maintains his pennanent residence

ANSWER: 356 S. Woodward, Beecher, IL 60401

 

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5 . State the name(s) of all occurrence witnesses and the street address,
city/town/village, county and state where said occurrences currently reside.

ANSWER:

Able Zepcda-~Foreman for Rogers & Sons, 4715 Euelid Ave, East Chicago, IN 46312

Frank Martinez_-Superintendent for Rogers & Sons, 4715 Euelid Ave, East Chicago, IN 46312
Raul Rodn'guez, 516 Penfield, Beecher, IL, 60401

Laborers from the Laborers Local 5 Union, Local 5, 134 N. Halsted St., Chicago Heights, IL
6041 l

Jim LNU (Safety Pemonnel for Defendant Arcelor Mittal)
Andy LNU (Safety Personnel for Defendant Code Red)

6. State the name(s) of all individuals who were at the scene of the occurrence
shortly before or shortly after the occurrence and the street address, city/town/village, county and
state where said individuals currently reside
ANSWER:

Able Zepeda-Foreman for Rogers & Sons, 4715 Euelid Ave, East Chicago, IN 46312
Frank Martinez--Superintendent for Rogers & Sons, 4715 Euelid Ave, East Chicago, IN 46312
Raul Rodn`guez, 516 Pcnfleld, Beecher, IL, 60401

Laborers from the Laborers Local 5 Union, Local 5, 134 N. Halsted St., Chicago Heights, IL
60411

J im LNU (Safety Personnel for Defendant Arcelor Mittal)
Andy LNU (Safety Personnel for Defendant Code Red)

7. State the name(s) of all post-occurrence witnesses who will testify regarding
plaintiffs alleged injuries and the effect of said injuries on plaintiffs day-to-day life along with
the street address, city/town/village, county and state where said witnesses currently reside.

ANSWER:

Mary, Slcip and Harry McDermott, 356 S. Woodward Street, Beecher, lL, 60401

 

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Eugene Jung, 3863 Everett Ct, Peachtree Comers, GA 30097

Rob Sikora, 2292 Swallowtail Street, Bourbonnais, IL, 60914

Daniel Trevino, 278 Pine Street, Beecher, IL, 60401

Terri Zemaitis, 718 Penn Blvd, Linderhurst, IL 60046

Heather Maizano, 3457 St. Barthelemy Lane, Aurora, IL, 60504

Bill Kapp, Maureen Kapp, and Caitlin Hess, 6167 Store Mill Drive, Bourbonnais, IL, 60914

Raul Rodriguez, 516 Penlield, Beecher, IL, 60401

Brian McDerrnott, 18275 Dove Avenue, Molcina, IL, 60448

Rory and Bridget McDerrnott, 255 Hunters Drive, Beecher, lL, 60401

Tracy Trevino, 278 Pine Street, Beecher, lL, 60401

Nick and Heather Sikora, 251 Orchard Lane, Beecher, IL, 60401

Rick Day, 1106 Wildflower, Dyer, lndiana, 46311

8. State the name, street address, city/town/village, county and state of all of
plaintiH’s healthcare providers who treated him for any injuries allegedly sustained as a result of
the subject occurrence

ANSWER:

1. Comprehensive Care
7501 W. 15th Avenue

 

 

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Gary, lndiana 46406
Timothy E. Schroer, DO
Stephen Messana, DO
Lynn C. Schmitt, PT

Brian Gonzalez, PTA
Anthony Marquez, PT
Katrina Madoll, PT
Orthopaedic Specialists
730 45th Street

Munster, lndiana 46321
Sunil Dedhia, MD

Amy Berghoff, PA

New Life Physical Therapy
25622 Govemors Highway
Monee, lllinois 60449
David Kooyenga, PT

Zom Coleman, PT
Center for Minimally Invasive Surgery
9200 Calumet Avenue, Suite 200
Munster, lndiana 46321
Sunil Dedhia, MD

Amy Berghoff, PA

 

 

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9. State the dates on which plaintiff treated at any hospitals or other healthcare
providers listed in the answers to lnten'ogatory 8 above.

ANSWER:

Comprehensive Care_October 2016 to January 2017
Orthopaedic Servies--December 2016 to August 2017
New Life Physical Therapy_]anuary 2017 to July 2017
Center for Minimally Invasive Surgery-April 28, 2017

10. State the street address, city/town/village, county and state of plaintist employer
on the date of the occurrence.

ANSWER: Roger & Sons Construction, 4715 Euelid Avenue, East Chicago, Indiana 46312

11. State the complete name, street address, city/town/village, county and state of
plaintist immediate supervisor/foreman on the date of the occurrence.
ANSWER: Able Zepeda and Frank Martinez, addresses unknown

12. State the street address, city/town/village, county and state of plaintiffs current
employer.
ANSWER: N/A.

13. ldentify any and all contacts you claim that the parties to the above captioned
lawsuit have with Cook Co unty, or any basis(es), to support your belief that Cook County is the
most convenient forum for the resolution of this lawsuit.

ANSWER: Objection. This request calls for legal conclusions and arguments Plaintiff will tile
its response to Defendant’s motion at the appropriate time and in the appropriate fashion

14. ldentify each and every basis you have (excluding those identified above) for a
claim that Cook County is the most convenient forum for the resolution of this lawsuit

ANSWER: Objection. This request calls for legal conclusions and arguments Plaintiff will tile
its response to Defendant’s motion at the appropriate time and in the appropriate fashion.

 

 

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Milo W. Lundblad

BRUSTIN & LUNDBLAD, LTD.
10 N. Dearborn Street, 7m Floor
Chicago, lllinois 60602
(312)263-1250

Atty. No. 21626

Attomeyfor Plainti_`§`

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Respectfully submitted,

BRUSTIN & LUNDBLAD, LTD.

By: /s/ Milo W. Lundblad
Milo W. Lundblad

 

 

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iex.zsoss 35/21 FIRM NO. 39950

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,
Plaintiff

v.
No. 2017 L 009093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC, and CODE RED SAFETY
AND RENTAL, LLC, d/b/a CODE RED
SAFETY,

Calendar A

VVVVV‘_¢V\JVVVVV

Defendants.

PROOF OF SERVICE
AND NOTICE OF FILING

TO; See Attached Service List

I, an attomey, certify that l served this notice and the following documents by e-
mailing copies to the aforementioned counsel of record at their respective e-mail addresses
on Marcho_?_?, 2018, and l further certify that, on the same date, this Proof of Service was
filed with the Clerk of the Circuit Court of Cook County,

o Code Red’s Answers to Plaintifl’s Forum Non Conveniens Interrogatories

Patrick E. Burgess, Esq.

TR]BLER ORPETT & MEYER, P.C.
225 West Washington, Suite 2550
Chicago, lllinois 60606

Telephone: (312) 201-6400
docket@tribler.com

 

SERVICE VlA E-MAIL WlLL BE ACCEPTED AT DOCKET@TR!BLER.COM

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ML!_SI

Attornegs for Plaintiff
Milo W. Lundblad

Frank Dermody

Brustin & Lundblad, Ltd.

10 N. Dearborn - 7th Floor

Chicago, lL 60602

(312) 263-1250

mlundblad@mablawltd.com

fdermodv@.mablawltd.com

todonnell/&\mablawltd.com ~ Trish O’Donnell (assistant)

blawson§ii¢~mablawltd.com - Brad Lawson (paralegal)

Attornevs for Arcelor Mitfal
David E. Kawala

Kelly Konzen

Swanson Martin & Bell LLP
330 N. Wabash Street
Chicago, lL 60611

(312) 321-9100
dkawala@smbtrials.com
kkonzen@smbtrials.com

 

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remains 35..-'18 FIRM NO. 39950

IN THE ClRCUlT COURT OF COOK COUNTY, lLLlNOlS
COUNTY DEPARTMENT, LAW DIVlSlON

SEAN MCDERMOTT,
Plaintiff,

V.
No. 2017 L 009093
ARCELoRMlTTAL 1NTERNATloNAL
AMERlCA, LLC, ARCELORMlTTAL
u.s.A., LLC, and CODE RED sAFETY
AND RENTAL, LLC, d/b/a CODE RED
sAFETY,

Calendar A

Defendants.

CODE RED’S ANSWER TO PLAINTIFF’S
FORUM NON CONVENIENS INTERROGATORIES

Defendant, CODE RED SAFETY & RENTAL, LLC. (hereinah`er referred to as
"CODE RED"), by and through its attomeys, TRlBLER ORPET'I` & MEYER, P.C., states the
following as its answers to Plaintiffs forum non conveniens interrogatories:

1. Please state the name, title and office address ofthe person who is signing
these answers to interrogatories on behalf of defendant

ANSWER: These answers are signed by Code Red’s Corporate Manager, Rob
'I`epperman but prepared with the assistance of Code Red’s counsel. Mr.
Tepperman may not have personal knowledge of all information in each
of these answers. The phrasing, word choice and sentence structure used
in these answers may come from Code Red’s counsel rather than from
Mr. Tepperman himself. The objections are made by Code Red’s
counsel. Code Red reserves the right to issue amended answers to these
interrogatories should new information come to light during the course of
this litigation.

2. Please state whether defendant knows of any witnesses to the occurrence
desciibed 1n plaintiffs complaint lf so please state their name and last known address

ANSWER: At this time, Code Red does1not know the identity of all witnesses to the

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3.

occurrence. Other than Plaintiff, on information and belief, one of
Plaintiff's co-worker Adam Hernandez at Roger & Sons, 4715 Euclid
Ave, East Chicago, lN 46312, may have been present inside the oven at
the time of the occurrence.

Please identify. by name and last known address each and every employee of

this defendant and/or other person who has ever performed any work in the area described in
Plaintiff s complaint

ANSWER:

Objection. Code Red objects to the form of this interrogatory as it is not
reasonably limited in timeframe. Code Red also objects to this
interrogatory as vague as it does not know the exact location of the
alleged occurrence inside the ArcelorMittal Facility located at 3210
Watling St. East Chicago, lN. Subject to and without waiving said
objection and limiting this interrogatory to the shutdown project taking
place at the ArcelorMittal Facility located at 3210 Watling St. East
Chicago, IN. at the time of the occurrence:

Plaintiff, Sean McDerrnott,

Adam Hernandez at Roger & Sons, 4715 Euelid Ave, East Chicago, IN
46312;

Jeannette Jarrard, lndependent Contractor for Code Red Safety &
Rental, LLC, 2805 Double Eagle Lane Valparaiso, Porter County, lN
46383;

Spencer Lecyk, Currently employed at Code Red Safety & Rental, LLC
6205 lndianapolis Blvd, Hammond, lN 46320;

Greg Carter, Currently employed at Code Red safety & Rental, LLC
6205 lndianapolis Blvd, Hammond, IN 46320;

Derek Bordowitz, (former Employee of Code Red Safety & Rental, LLC),
8047 Jefferson Munster, Lake County IN 46321;

Sandra Barnes McGuire, (former Employee of Code Red Safety &
Rental, LLC), 3955 Jackson Gary, Lake County lN 46408;

Devone Chism Currently employed at Code Red Safety & Rental, LLC
6205 Indianapolis Blvd, Hammond, lN 46320;

Reynoldo Cuevas, (former Employee of Code Red Safcty & Rental, LLC),
843 ‘/z Gostlin St. Hammond, Lake County, lN 46327;

Mitch Demoff, (former EmBloyee of Code Red Safcty & Rental, LLC),

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4.

188 Jennifer Ln Calumet City, Cook County, IL 60409;

George Mohoi, Currently employed at Code Red Safety & Rental, LLC
6205 indianapolis Blvd, Hammond, IN 46320; and

lnvestigation continues.

Please identify, by name and last known address, the employee(s) of this

defendant and/or other persons most knowledgeable about the project in the Oven 3 area as
which Plaintiff was injured while working on, as described in Plaintiffs complaint

ANSWER:

5.

On information and belief, the people with the most knowledge regarding
the work that plaintiff was performing in the area identified as Oven 3,
would be:

Plaintiff, Sean McDermott, 50 Meadowlark LN., Beecher, Will County,
lL 60401;

Adam Hernandez at Roger & Sons, 4715 Euelid Ave, East Chicago, lN
46312;

Robert Smundin at ArcelorMittal, 3210 Watling Street, East Chicago,
lN.;

Andrew Houchen at Arce|orMittal, 3210 Watling Street, East Chicago,
lN.;

Jeannette Jarrard, lndependent Contractor for Code Red Safety &
Rental, LLC, 2805 Double Eagle Lane Valparaiso, Porter County, lN
46383;

Sandra Barnes McGuire, (former Employee of Code Red Safcty &
Rental, LLC), 3955 Jackson Gary, Lake County lN 46408;

Spencer Lecyk, Currently employed at Code Red Safety & Rental, LLC
6205 lndianapolis Blvd, Hammond, IN 46320;

Investigation continues.

Please state the address of defendant's headquarters lf different, please also

state the address of the principal place of business

ANSWER:

6205 Indianapolis Blvd, Hammond, IN 46320.

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6. Please state the address(es) of all offrces, shops, held sites or any other
locations where this defendant conducts any business activity within the State of lllinois.

ANSWER: Code Red does not own or lease any property in the State of Illinois.

7. Please state the address of defendant's principal place of document filing
and/or storage, if different from answer to lnterrogatory No. 7 above.

ANSWER: 6205 indianapolis Blvd. Hammond, lN 46320.

8. Please state the address of defendant's risk management offrce and/or
legal department. along with the name(s) and address(es) of the manager and/or director of
said office and/or department. if the address for each is different, please state both.

ANSWER: Code Red does not have a risk management ofl`rce or have a legal
department.

9. What, if any, witnesses does this Defendant intend to call at trial who are not
amenable to subpoena in the Circuit Court of Cook County?

ANSWER: Code Red objects to this interrogatory as premature. Code Red does not
know at this time the identity of all the witnesses it intends to call at trial.
Subject to and without waiving said objection, several former Code Red
employees that may be called as witnesses at trial, including but not
limited to, Jeannette Jarrard and Sandra McGuire reside in lndiana are
not subject to the jurisdiction of the state of Illinois. Code Red reserve the
right to supplement and amend this interrogatory at a later date when the
identity of more witnesses becomes available.

lO. Please describe any and all sources of proof this Defendant intends to rely on
in its defense that are not presently available by evidence deposition or subpoena at trial in
Cook County.

ANSWER: Code Red objects to this interrogatory as premature. Code Red does not
know at this time what sources of proof it intends to rely on in its defense.
Subject to and without waiving said objection, see answer to
interrogatory # 9. The subject facility and area of the alleged occurrence
are located in East Chicago, IN. and would be more accessible to a jury if
this matter proceeded in the Lake Superior Court, Hammond, Indiana.
Furthermore, Plaintiff has identified the following treating physicians
located in the state of lndiana which are not subject to the jurisdiction of
the state of Illinois.

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VERlFlCATlON BY CERTlFlCATION

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil
Procedure. the undersigned certifies that the statements set forth in Code Red Safcty &
Rental, LLC`s Answers to Plaintiff"s Forum Non Conveniens lnlerrogatories are true and

correct. except as to matters therein stated to bc on information and belief and as to such

 

matters the undersigned certifies as aforesaid that rerily believes the ' re to be true.
/ JZ/&/?
' 17

Rob Tepperman
Code Red Safcty and Rental, LLC

2017-L-009093

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EXHIBIT E

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lndiana Harbor

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via Hohman Ave 18 min

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EXHIBIT F

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lndiana Harbor

Richard J. Daley Center to Arceloerttal

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Page l ofl

Drive 24.4 miles, 41 min

         

 

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via 1-90 E 41 mm
Fastest route, despite the usual traffic 24.4 miles

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via US-41 S/S Lake Shore Dr and l-90 E

via |-94 E

Some traffic, as usual

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44 min
2314 miles

52 min
388 miles

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EXHIBIT G

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Lake County Superior Court 10 2805 Double Eagle Ln, Valparaiso, IN 46383 - Googlc M... Page l ot`l

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via 1-94 E

Fastest route now due to traffic conditions
§§ This route has restricted usage dr private roads

via l~90 E

via l-BO E/|-94 E and |-80 E/|-90 E

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Lake County Superior Court to 2805
Double Eagle Ln, Valparaiso, lN 46383

Drive 38.8 miles, 47 min

 
 
  

  

       

  

  

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Richard J. Daley Center to 2805 Doublc Eagle Ln, Valparaiso, IN 46383 - Google Maps

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Eagle Ln, Valparaiso, lN 46383

  
   
       

via 1-90 E

Fastest route now, avoids slowdown before the Chicago Sl<yway
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Page 1 of l

Richard J. Daley Center to 2805 Double Drive 53.4 miles, 1 h 14 min

1h14min

53.4 miles

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EXHIBIT H

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Lake County Supel’ior Court to 3955 Jackson St, Gary, IN 46408 - Google Maps

Lake County Superior Court to 3955

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via 1~80 E/|-94 E

Fastest route now due to traffic conditions

via Southeastern Ave and 1-80 E/|~94 E

via Michigan St and 1-80 E/1-94 E

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Page l of l

Drive14.3 miles, 25 min

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Richard J. Daley Center to 3955 Jackson St, Gary, IN 46408 - Google Maps

Page l of l

Drive 34.2 miles, 59 min

Richard J. Daley Center to 3955 Jackson

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via 1~94 E

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EXHIBIT l

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ANNUAL REPORT
OF THE
|LL|NO|S COURTS

STAT|ST|CAL SUl\/|l\/|ARY - 2016

Compi|ed and Pub!ished by the
Administrative Off\ce of the lllinois Courts
3101 Old Jacksonvil|e Road
Springfie\d, illinois 62704
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ACKNOWLEDGMENTS

 

The Administrative Office of the lllinois Courts gratefully acknowledges and sincerely
appreciates the efforts of the clerks of the circuit, appellate. and supreme courts, and
probation managers throughout the state for their contributions to this summary. Over two

thousand eight hundred reports were prepared and submitted to the Administrative Oihce
by the various clerks and probation managers

For more detailed information or for information which does not appear in this publication,
the reader is directed to the clerk ofthe appropriate court or probation manager.

 

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CIRCUIT COURTS OF ILLINOIS

 

 

 

 

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MAP OF JUDICIAL CIRCUITS OF ILLINOIS

 

 

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LAW CASE DlSPOSlTlONS BY COUNTY
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EXHIBIT 1

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2016

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Volume 2

 

The Supreme Court of lndiana

The Honorable Loretta H. Rush, Chief Justice

The Honorab!e Robert D. Rucker, Assoc. Justice
Thé Honorable Steven H. David, Assoc, Justice

The Honorabie Mark S. Massa, Assoc. Justice

The Honorable Geoffrey G. S!aughter, Assoc. Justice

Mary G. \'Villis, Chief Administrative Officer
Ofiice of Judx`ciai Administration

State House, Room 315

200 W. Washinglun St.

!n-:iianapofisY !N Ll6204

Phone: {317) 233-8696

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VoL 2: Case|oad Statistics

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History of the Jefferson County Courthouse

The]efferson County Courthouse, designed by architect David Dubach in the Classic Revival style, was built
in 1854-1855 ata cost 0f536,000. The structure is located on Main Street in Madison, lndiana between
Walnut Street and]efferson Street, The building was built partly ofbrick and partly ofstone. The stone and

the marble pillars in the courthouse came from a nearby quarry in Marble Hill.

The current courthouse is the third courthouse building in Madison. The first courthouse, built oflogs in
181 1, was moved in 1823 to become a local business. The 1823 courthouse, an eight»sided building built
near the current courthouse, was destroyed by arson on September 12, 1853. The keys to the current

courthouse were received by the county commissioners on September 6, 1855.

Fire damaged the courthouse in 1859, requiring substantial repair to the building. Restoration costs were put
at 315,000. The restored roofleaked, and after trying several remedies, the decision was made in 1869 to
place Vermont slate on the roof. However, the addition ofthe slate required that the roof's pitch be made
steeper, involving reconstruction ofthe courthouse roofincluding raising the cupola 8 feet so the drum ofthe

cupola would not be concealed.

Major reconstruction to the courthouse also took place in the 19505 when an entire new floor was added to
the courthouse. The original design consisted ofa basement, main floor, and two'story second floor. This

two-story second floor was converted to an entirely new third floor.

ln 2009, fire again challenged the existence ofthe]efferson County Courthouse. On May 20, as the sun
began to set, fire trucks rushed to the courthouse on what turned out to be a three-alarm Hre. The fire
department had received a frantic call from the public reporting smoke billowing from the cupola ofthe
beautiful historic building. The fire most likely occurred from a Spark from the welding work being done on
the roofand cupola as part of restorations performed to get the courthouse ready to celebrate Madison’s
upcoming Bicentennial. The fire turned out to be extremely difficult to extinguish and as a result, the wood
portion ofthe cupola and roofwere destroyed, along with parts of the interior. The records contained in the
courthouse were also seriously damaged due to the one million gallons ofwater pumped into the building to
put out the fire. The renovation work done in the 1950$ helped to reduce the water damage to the lower
floors in the courthouse Amazingly, in just over two weeks, the Circuit and Superior courts and the Circuit

Clerk were open for business in a temporary office space.

The courthouse was rededicated on August 26, 2011 in a ceremony to thank the 200 firefighters and
volunteers who had fought the May 20, 2009 blaze and to thank all the volunteers and employees who had
worked tirelessly to secure and preserve the records that had been rescued from the fire. 'l`he cost of

restoring the courthouse was approximately 38 million.

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Caseload lnformation

Volume ll ofthe lndiana judicial Service Repr)rt
consists ofcaseload information for every trial
court in lndiana, with subtotals for each county.
This volume is produced with the assistance ofthe
trial court staffusing the quarterly reports on case
statistics filed with the lndiana Office ofCourt
Services (IOCS).

Por a description ofthe lndiana judicial system,
data on Indiana's appellate-level courts, statewide
totals, and comparison tables and trends, please
refer to Volume l ofthe Iiidiaim judicial Servicc
Repoi't - judicial Year in Review. Volume lll ofthe
Indiana judicial Service chort contains data on the
expenditures and revenues of every court in

Indiana.

The lndiana Probation Report, a separate report,
contains data on adult felony, adult misdemeanor,
and juvenile probation activity. This volume has
comparison tables, summaries, and contains data

by county and individual probation departments

Caseload Reports
and Case Type

Descriptions
lndiana Code 33-24-6-3(2) requires the IOCS to

collect and compile statistical data on the judicial
work ofthe courts. Each quarter, lndiana’s trial
courts report caseload information by
electronically filing a Quarterly Case Status
Report (QCSR) using the lndiana Courts Online
Reports (ICOR) system, through lNcite, the

judicial system's secure extranet for court
information The QCSR reports contain summary
information, by case type, on the number ofcases
filed and pending, the movement of cases

between courts via transfer or venue, and the
method by which the cases were disposed during

a reporting period.

In addition to the cases administered by a specific
court, the Quarterly Case Status Reports track the
amount ofjudicial resources available to a court
and the time a judge spends hearing cases in
another court. The QCSR also captures other
case-related information used to administer and
improve court projects and initiatives. Por
example, data is collected tracking the number of

CBS€SZ

' referred to alternative dispute resolution
' requiring the appointment ofpauper counsel
' requiring the service ofa court interpreter

' requiring the appointment ofa guardian ad
litem or court appointed special advocate
(juvenile cases only)

Case information is grouped into four categories:
criminal, civil violation, juvenile, and civil and is
tracked using the case type classification code
outlined in lndiana Administrative Rule B(B) (3)
An administrative case type called “court business
record” is recorded, but is not counted, in a
court’s weighted caseload. Case type designations

and categories are as follows:

Crirninal Case Types

Ifa defendant is charged with multiple offenses,

the case is counted only one time under the most

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serious charge. Although the prosecutor may
amend the charges after filing, for administrative
purposes a case continues with its initial case
designation in the statistical reports. Each

defendant is assigned his or her own case number.

Beginningjuly 1 , 2014, criminal felony lilings, except
for Murder, are categorized and reported on the
quarterly case status report on ICOR either as Class A
felony (FA), Class B felony (FB), Class C felony
(FC), Class D felony (FD) or as Felony Level 1 (Fl),
Felony level 2 (FZ), Felony level 3 (F3), Felony
Level 4 (F4j, Felony Level 5 (F$) and Felony Level 6
(F6) depending on when the alleged crime occurred.
Felonics occurring prior to]uly 1, 2014 are reported
as a Class A felony (FA), Class B felony (FB), Class C
felony (FC), or Class D felony (FD). Felonies
occun'ing on or afterquy 1 , 2014 are reported as a
Felony Level 1 (F 1 ), Felony Leve12 (FZ), Felony
Level 3 (FS), Felony Level 4 (F4j, Felony Level 5
(FS), or Felony Leve16 (F6).

° MR » Murder: All murder cases are filed
under this category. Ifthe State seeks either
the death penalty or life without parole, that
information is also collected and reported in
the Q_CSR under the additional information
Section.

' CF » Criminal Felony: This category
includes all cases filed prior tojanuary 1,
2002, as Murder or Class A, B, and C felonies.
Although new filings are not permitted for
this category, existing cases with a CF
designation are still reported and disposed of
in this category. lndiana Administrative Rule
8 was amended by the lndiana Supreme
Court Ordcr effectivejanuary 1, 2002.

Felonies committed
between January 1, 2002
and June 30, 2014

' FA - Class A Felony: Cases in which the
defendant is charged with a crime defined as a
Class A felony are filed under the FA

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category. Examples include kidnapping,
voluntary manslaughter with a deadly
weapon, and arson involving bodily injury.

‘ FB » Class B Felony: Examples include
aggravated battery, rape, child molesting,
carjacking, and armed robbery.

' FC - Class C Felony: Examples include
involuntary manslaughter, robbery, burglary,
and reckless homicide.

‘ FD - Class D Felony: All Class D felonies
filed on or after_january 1, 2002, plus all Class
D felonies filed beforejanuary l, 2002 that
have the case type DF are filed under the FD
category. Examples ofcrimes in this category
include theft, receiving stolen property,
computer tampering, and fraud.

Felonies committed on
or after Ju|y 1, 2014

'-Fl Level 1 Felony: Examples
include Dwelling Burglary with Serious
Bodily Injury.

' F2 - Leve12 Felony: Examples include
Voluntary Manslaughter and Arrned Dwelling
Burglary.

‘ F3 - Level 3 Felony: Examples include
Aggravated Battery and Child Molesting.

‘ F4 ~ Level 4 Felony: Examples include
Dwelling Burglary and Dealing in Cocaine (1
» 5 grams).

' F5 » Level 5 Felony: Examples include
Kidnapping, Involuntary Manslaughter, and
Reckless Homicide.

‘ F6 - Level 6 Felony: Examples include Theft
and Battery with Moderate Bodily Injury.

|Vtisdemeanors
and other Crimina|
Case Types

‘-CM Criminal Misderneanor: This category
includes all criminal cases filed as
misdemeanors Examples of crimes in this
category are criminal trespass, check
deception, harassment, and battery.

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‘ I’C » Post~Conviction Petition: This
category includes all petitions for post-
conviction relief filed under the Post»
Conviction Rules. Although this case type is a
civil case, it is listed after the criminal case

types on the QCSR and in this report.

‘ MC - Miscellaneous Criminal: This
category includes all criminal matters which
are not easily classified as felony or
misdemeanor and are not part ofan ongoing
proceeding An example ofa case falling into
this category is a probable cause hearing for a
criminal charge not yet filed, A search warrant
issued before charges are filed, is also assigned
an MC case and results in a bench disposition
lfcharges are filed, then a case in the
appropriate category is opened.

Civil Violations

Infractions and Ordinance Violations are civil
violation case types. They are listed after the
criminal case types on the QCSR and in this
report.

' IF - Infractions: Infractions are typically
traffic-related offenses brought in the name of
the State and prosecuted by the prosecuting
attorney. Similar to criminal cases and
ordinance violations, multiple offenses (i.e.,
multiple tickets or citations issued to the same
individual or arising from the same
circumstances) result in only one case filing.

' OV/OE - Ordinance Violations: Local
ordinance violations are enforced through
court proceedings or a municipal
corporation’s ordinance violations bure au.
Ordinance violation cases are brought in the
name of the municipal corporation and
prosecuted by the municipal attorney. All
mo\n'ng traffic violations are enforced through
a court proceeding Ifa local ordinance
violation is heard in court, an OV case type is
assigned. Local ordinance violations enforced
by municipal ordinance violations bureaus are
not court cases and, therefore, are not
assigned a case type/case number. The OE
case type is not currently used.

juvenile Case Types

Each child considered by the court system

receives a separate case number, regardless of his

or her familial relationship to another child. Cases
ofrelated children and other related cases can be
linked and tried together.

* ]C -]uvenile CHINS: This category reflects

those cases where a child is alleged to be a
child in need ofser\n'ces as defined by lndiana
Code 31»34-1¢1 et. seq. Examples include a
child who is not receiving or is unlikely to
receive care, treatment, or rehabilitation
without court intervention

‘ ]D ~]uvenile Delinquency: Cases in which a

child is charged with a delinquent offense are
filed in this category. lndiana Code 31»37-1~2
defines a delinquent act as one committed by
a child before becoming eighteen (18) years
ofage and is a criminal offense if committed
by an adult. The case is recorded as a new
filing when a petition for detention hearing or
a petition alleging delinquency is filed.

‘ JS -]uvenile Status: Cases in which a child is

charged with committing an offense which is
not a crime ifcommitted by an adult are filed
in this category. Examples include curfew
violations, school truancy, and underage
alcohol purchase or consumption.

' JP -Juvenile Patemity: This category

includes paternity actions filed by any ofthe
parties specified by statute, including the
prosecutor. lndiana Code 3]-14-4~1 identifies
who may file paternity actions.

' ]M -]uvenile Miscellaneous: This category

.

applies to juvenile matters which are not
specifically listed in the previous juvenile case
type categories including court approval of
informal adjustments An informal adjustment
is a disposition by a court order approving a
signed agreement resolving a potential juvenile
delinquency or CHINS case.

]T - Termination of Parental Rights: This
category includes all proceedings for
termination of parental rights In termination of
parental rights cases involving multiple children,
a separate case number is assigned to each child.

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Civil Case Types

Civil cases are filed when the plaintiffor petitioner
seeks monetary damages or court redress.

' CP - Civil Plenary: All Civil Plenary cases

filed before_january 1, 2002, have the CP case
type designation. Although new filings are not
permitted for this category, existing cases with
a CP designation are still reported and
disposed ofin this category. lndiana
Administrative Rule 8 was amended by
lndiana Supreme Court Order effective
January 1, 2002.

' PL - Civil Plenary: All Civil Plenary cases

filed on or afterjanuary 1, 2002, receive the
PL designation. Basic civil cases, not
otherwise specifically included as separate
Categories, are filed with this designation.
Generally, these cases may be more complex,
do not involve a mortgage foreclosure or the
collection of an outstanding debt. Frequently
cases involving contract disputes and actions
seeking equitable or injunctive relief are
assigned this case type.

' MF - Mortgage Foreclosure: All Mortgage

Foreclosure cases filed afterjanuary l, 2002,
are reported in this category.

' CC - Civil Collection: All Civil Collections

filed after_january l, 2002, are reported in this
category and may include the following: suits
on notes and accounts, general collection
suits, landlord/tenant suits for collection,
ejectment and tax warrants. lfthese cases are
filed on the small claims docket ofa court or
the small claims division ofa multi-division
court, the SC case type is used.

‘ CT ‘ Civil Tort: Cases founded in tort and

filed on the regular civil docket of the court
are included in this category. Small claims,
which also could be founded in tort are
included in a separate category.

' SC - Small Claims: This category includes

cases filed on the small claims docket of
circuit or superior courts, as well as cases filed
in the nine Marion County Small Claims
Courts.While city and town courts may have
cases that fall within the monetary limits of
small Claims jurisdiction, those cases are not
defined as small claims by statute and are

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counted as PL ~ Plenary or CC ~ Civil
Collection depending upon the nature of the
action. Small claims actions include cases
where the amount in dispute is $6,000 or less,
landlord-tenant ejectment actions and
landlord~tenant disputes. Beginning_july 1,
2015, Marion County Small Claims Courts
jurisdictional amounts increased to 58,000 in
landlord~tenant possessory actions and
possession ofproperty cases.

‘ DR - Domestic Relations: Actions involving

petitions for dissolution of marriage, legal
separation, and petitions to establish child
support are filed in this category.

' RS - Reciprocal Support: Actions for

reciprocal enforcement ofchild support and
petitions for modification ofsupport or
custody and/or support under the 2007
Amended Uniform Child Custody

_jurisdiction Act are counted in this category.

‘ MH - Mental Health: Proceedings involving

mental health commitments, including
temporary commitments, an extension of
temporary commitment, regular
commitment, or termination ofa
commitment are filed under this category.

' AD - Adoption: Petitions for adoption are

filed under this category. Additionally, on or
afterjanuary 1, 2002, petitions seeking release
ofadoption records are filed in this category.

' ES ~ Supervised Estates: All probate estate

cases are filed under this category unless the
court grants a petition requesting
unsupervised administration (EU).

‘ EU - Unsupervised Estates: Probate estates

for which a petition requesting unsupervised
administration is filed along with a petition
for probate ofthe will and letters
testamentary or for appointment of an
administrator is filed under this category. If
the court revokes an order ofthe
unsupervised administration pursuant to
lndiana Code 29-1-7.5-2(d), the case type is
changed to ES.

' EM - Miscellaneous Estate Matters: All

matters related to estates that do not require
payment ofa filing fee are filed under this
category. Examples include pleadings related
to filing inheritance tax returns, spreading the
will ofrecord (Indiana Code 29-1'7»16).

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' GU - Guardianship: Petitions for

appointment ofguardians are filed under this
category. A guardianship case is considered
“closed" when the court enters an order

appointing and approving the guardianship.

° TR- Trusts: This category includes trust

matters before the court. This case type
includes trusts that have been created through
an estate and are separately docketed and
reported from the estate or trusts that by their
terms require court docketing.

' PO » Protective Order: New petitions for

protective orders which are not part of an
ongoing process (such as marriage
dissolution) are filed in this category.
However, ifthe parties subsequently file a
petition for dissolution, the cases remain
separate for reporting, enforcement and
retention purposes.

' XP ~ Expungement: This new case type as of

july 1, 2015, includes expungements petitions
filed under lndiana Code 35-38'9.

' MI - Civil Miscellaneous: Routine civil

matters which are not easily categorized in
Other areas and which are not part ofany
other pending litigation are reported in this
category. Examples are: petitions for name
change, appointments of appraisers, petitions
for emancipation, a proceeding to reinstate a
driver’s license that was administratively
suspended, a Habeas Corpus case from DOC,
and marriage waivers

Court Business
Record

CB - Court Business Record: This category is
intended for non-case specific matters, such as
the appointment of a judge pro tem, drawing
the jury, adopting or amending local rules, or
recording a foreign protective order. This
designation provides a way to number and
locate records that do not pertain to any specific
case. These matters are not counted as cases
and do not affect the court's weighted caseload.

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The Q_uarterly Case Status Reports also include
summary dispositional information A brief

description of each method of disposition follows:

‘ Jury Trial: This category reflects cases where
trial was commenced with a jury. This type of
disposition is limited to cases where the jury is
seated and sworn and the court has received
evidence, and the jury rendered a verdict or the
case was resolved in some manner prior to the
announcement ofa verdict.

' Bench Trial: Cases are disposed in this
category by the court after a trial without a jury
in which a witness has been sworn in to testify
and the court entered ajudgment or the case
was resolved prior to the announcement of a
judgment

' Bench Disposition: Cases that are disposed by
final judicial determination of an issue, but
where no witnesses are sworn and no evidence
is introduced, are counted in this category.
These dispositions include decisions on
motions for summary judgment, hearings on
other dispositive motions, and settled cases in
which the parties tender an agreed judgment to
the court for approval which can then be
enforced through proceedings supplemental to
execution. Approval of informal adjustments in
juvenile matters and issuance of search warrants
unrelated to any pending case also generally fall
into this category.

' Dismissed: This category applies to cases
which are dismissed either by the court on its
own motion (lndiana 'I'rial Rule 41 (E) ), upon
the motion of a party, or upon an agreed entry
as the result of settlement between the parties.

‘ Default: This category is applicable only in civil
cases, infractions, and ordinance violations
where the defendant fails to comply with the
trial rules and a judgment of default is entered
by the court.

' Deferred /Diverted: 1f a prosecutor and
defendant agree to defer prosecution or if the
defendant enters a diversion program, the case
is disposed in this category. Although the case is
not fon'nally dismissed until the completion of
the deferral obligations, this category permits

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the criminal courts to reduce their pending
caseloads by the number of cases where the
cases will eventually be dismissed. Likewise,
even though diversion programs are often part
of a guilty plea, they fall into this category as a
way for the state to track the number of
defendants consenting to the diversion
programs.

' Guilty Plea/Admission: Cases in which the

defendant pleads guilty to an offense or admits
to the commission of an infraction or ordinance
violation are counted under this category.
lnfraction and ordinance violation cases are
only reflected in this disposition category if the
case actually comes before the court for
decision. An admission by mail or through a
court clerk or violations bureau clerk is counted
as being disposed by Traffic Violations Bureau.
Also included in this category are dispositions of
juvenile cases where the juvenile admits the
claims, or the father admits paternity and, in
protective order cases, where a party admits to
the claims in the protective order.

' Tra.ffic Violations Bureau: This disposition

category only applies to infraction and
ordinance violations. lndiana Code 34-28-5-7
permits any court to establish a traffic violations
bureau and appoint a violations clerk to serve
under the direction of the court. The court must
designate those traffic violations that are within
the authority of the violations clerk. This
category is used when tl'ie defendant elects to
pay the penalty for the violation by mailing or
delivering payment to the violations clerk or by
making payment online and without going to
court.

' Closed: Routine closing of an estate or

adoption proceeding, as well as the routine
termination of a trust or guardianship, are
counted in this disposition type. Also included
in this category are cases where the defendant
has filed bankruptcy or the case is removed to
federal court.

' FTA/FTP: This category includes ordinance

violation cases and infraction cases in which the
defendant fails to appear or fails to pay. Once
counted in this category, the case is not
recounted even if the defendant later appears,

pays, or proceeds to a full trial.

° Other: Any case disposition that is not

otherwise accounted for in the preceding

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categories is included here. Example: a case was
opened in error.

Movement of Cases

1n addition to cases filed and disposed, cases are
venued or transferred between courts.

' Venued ln/Out: Cases filed in a court that are
later moved to another county for any reason
are listed in this category.

‘ 'l`ransferred In/ Out: Cases transferred from
one court to another within the same county, or
from one court docket to another (such as a
move from small claims docket to the civil
plenary docket)jl are recorded here. ln the event
a motion for change of venue from the judge
results in a transfer ofthe case to another court
in the same county, the case is also counted in
this category.

Court Services
lnformation

The cases filed in the courts are assigned to a
particular court according to the county’s local
caseload allocation plan. Various court services are
provided based on the individual needs of the
litigants and the judges. The following are services
and judicial provisions the courts track on the
quarterly statistical fonns.

' Special]udge Service: According to Rules 76,
79 and 79.1 of the lndiana Rules of Tn'al
Procedure, and Rule 13 of the lndiana Rules of
Criminal Procedure, a special judge can assume
jurisdiction on a case under certain
circumstances The courts report cases where
the reporting judge serves as a special judge on
other court's cases and reports cases where a
special judge is serving in the reporting court.
The assignment of a s ecial judge is reported in
the quarter in which the special judge is
assigned.

' Cases with Unrepresented (Pro Se)
Litigants: The courts report cases in each case
type category if a party proceeds without

attorney representation at any point in the case

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while the case remains open. A case is only
reported once; even if several parties in the
same case proceed without attorney
representation, or ifthe status ofthe litigant
changes one or more times during the course of
the case.

The criminal and juvenile courts count a
criminal orjuvenile case as unrepresented if,
after the hearing in which the defendant is
offered an attorney, the defendant refuses one
and acts on his/her own behalfthereafter. For a
civil case, the courts determine unrepresented
status starting from the moment the complaint
or petition is filed, Ifa plaintifffiles a civil case
without the assistance of an attorney, the court
counts that case as unrepresented. If a
defendant files a document or attends a hearing
without an attorney, the court counts the case as
unrepresented, unless the plaintiffs
unrepresented status was already reported.

Frequently, those courts that exercise small
claims jurisdiction and / or handle infractions
and ordinance violations have multiple cases
falling into this category. Litigants who are
defaulted are not counted as unrepresented
since information about representation was not
obtained A case may be counted as
unrepresented at any time the court believes at
least one arty is acting on his or her behalf
without e assistance of counsel.

Each case may be counted a maximum of one
time as unrepresented in the life of the case.
Courts may look to appearance fomis, filings (if
a person files something or appears without an
attomey), attendance at hearings without
attorney representation or any other factor for
this determination. The lndiana Supreme
Court uses the statistics reported on this line to
provide enhanced resources tailored to the case
type for unrepresented litigants. Litigants
previously referred to as Pro Se are now often
referred to as Unrepresented Litigants.

‘ Cases Referred to Altemative Dispute

Resolution: As defined by lndiana Rules of
A]temative Dispute Resolution Rule 1.1,

reco ‘zed alternative dispute resolution
(AD§:,)1 methods include arbitration, mediation,
conciliation, facilitation, mini-trials, summary
jury tria]s, private judges and judging,
convening or conflict assessment, neutral
evaluation and fact-finding, multi-door case
allocations, and negotiated rulemaking

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A court may order any covered case to proceed
with a form ofADR prior to conducting further
court proceedings lfADRis successful on all
issues before the court, then the court will
report the case dismissed as the disposition
type. Regardless of whether ADR is ultimately
successful, the courts report the referral on the
quarterly statistical report in the quarter of the
ADR referral.

These statistics are used by the lndiana
Supreme Court to encourage ADR plans and
other services for the courts in resolving the
cases outside of the courtroorns. Currently,
IOCS administers Family Court ADR plans for
domestic relations cases and juvenile paternity
cases.

‘ Appointment of Public Defenders: The
courts report the cases where a public defender
was appointed at county expense or partial
county expense.

' Appointment of GAL/CASA: Guardians Ad
Litem (GAL) and CourtAppointed Special
Advocates (CASA) are reported in certain case
type categories and the reported numbers
should correspond with the related
GAL/CASA program for that county. The
lndiana Supreme Court uses these statistics to
support grant proposals as well as identify
counties needing more resources. The courts
report the case in the first quarter in which a
guardian or advocate is appointed during the

ife of the case.

' Use of Court Interpreters: The courts report
the appointment of a court interpreter as well as
the language interpreted in the first quarter an
interpreter is used in the case. Currently, the
interpreter certification program offers
candidates certification opportunities in more
than 201angua es, including Spanish, Chjnese
(Mandarin andgCantonese), Polish,
Vietnamese, and Korean.

For more detailed information regarding case
assignment and case disposition, three resources are
available: the Q_CSRApplication Guide, the Case
Type Q_uick Reference and the Administrative
Manual. These three resources can be found by
accessing the lndiana Courts Website at
courts.in.gov.

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Case Types and Abbreviations

 

 

 

Case Type Abbreviation Case Type Abbreviafion
Cj-iminaj Murder MR Level 1 Felony Fl
life without Paroie LP“ Levef 2 Felony F2
Deth Penafty DP" Leve13 Felony F3
Felony (Prior to 1/1/02) CF' Levei 4 Felony F4
A Felony FA Levei 5 Felony F5
B Feiony FB Levef 6 Felony F6
C Felony FC Post Conviction Refief PC
D Felony FD Criminal Misdemeanor CM
Misceffaneuus Crimina| MC
ijij Intractions |F Ordinance Violations OVlOE'
Violatio ns
Juvenjje Juvenife CHfNS JC Juvenife Paiernity JP
l Juvem|e Delinquency JD Juvenife Misce|faneous JM
Juveni|e Status JS Juveni|e Terminalion of Parenta| Rights JT
C§VH Civif P|enary (Priorto 1!1]02) CP' Adoptinn AD
Civif P|enary (Fiied after ljl/DZ) PL Estates- Supervised ES
Morfgage Forec|osure MF Estates - Unsupervised EU
Civif Coliections CC Estates - Misceflaneous EM
‘ Civii Tort CT Guardianship GU
Smaf| Claims SC Trusts TR
j Dumestic Refations DR Protective Orders PO
Reciprocaf Supporf RS Expungements xP
Manta| Heaith MH Civil Miscef|aneous M{
v l f Court Business (Administra!ive Case Type)

"I`hese case types are no longer used for new filings

 

"'I`hese case types are subtypes ofMurder and are used for statistical reporting purposes only.

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Appointed]udicial Officers

Appointed judicial officers assist the elected judge
with the courts caseload. Frequently courts share
appointed officers based on case types, caseload,
extended absences, etc. Magistrates,
Commissioners, Referees, and Hearing Officers
are considered “regularly assigned” judicial
officers and are included when IOCS compiles the
\Veighted Caseload Report. The following
describes each type ofappointed officer.

MAGISTRATES - Magistrates are full-time
employees who serve in one or more courts. A
magistrate is an attorney, appointed by the county
judges but paid by the state. A magistrate has
most ofthe powers ofa judge,~ however, they
cannot issue judicial mandates and their power to
issue final orders is limited to small claims and
protective order cases, plus cases in which the
magistrate is sitting as a judge pro tempore or
special judge. A magistrate may also issue a final
order, conduct a sentencing hearing and impose a
sentence in a criminal case, if the magistrate is
sitting as the judge. The presiding judge must

countersign all other final appealable orders.

_]uvenile court magistrates may be appointed in
judicial circuits with a population of at least
S0,000. Ajuvenile court magistrate is paid
partially by the state and partially by the county.

COMMISSIONERS/MASTER
COMMISSIONERS - All counties with a voting
population over 7,000 may appoint a probate
commissioner. The titles “Comrnissioner” and
“Master Commissioner” appear to be
interchangeable Specific statutes permit the
appointment ofcommissioners or master

commissioners:

lndiana Code 33~33»2»13, 33-33-2-14 - Allen
County;

‘ lndiana Code 33-33-5~4 - Blackford County;
° lndiana Code 33-33-15-4 - Dearborn County;
' lndiana Code 33-33~18-7 - Delaware County;

' lndiana Code 33-33-45~9, 33-33-45-12 - Lake
County;

' lndiana Code 33-33-49-12, 33-33-49-15, 33-33»
49'16 - Marion County;

' lndiana Code 33-33-59-4 - Orange County;

‘ lndiana Code 33-33-64-7 - Porter County;

' lndiana Code 33¢33~71~12 - Saint_]oseph
County;

' lndiana Code 33-33»79-10 - Tippecanoe
County;

' lndiana Code 33-33-82-13 -Vanderburgh
COunty;

‘ lndiana Code 33-33-84-8, 33-33-84-9 - Vigo
County; and

' lndiana Code 33-33-89.3»6 - Wayne County.

Commissioners, generally, have the same
jurisdiction as magistrates but are paid by the
county. The presiding judge must countersign all
final appealable orders.

REFEREES » A referee is appointed by a circuit or
superior court judge and serves at the pleasure of the
judge and performs the duties assigned by the judge.
Referees are appointed to serve in various courts
including special courts such as domestic relations
courts (lndiana Code 31-12-1»9), certain juvenile
courts ( lndiana Code 31-31-3-6) and small claims
divisions of superior and circuit courts (Indiana
Code 33-29~3-3). Based on assignments, the referee
will make ruling recommendations to the presiding
judge but does not enter rulings independently.
Some Small Claims Referees are paid by the State

but most referees are paid by the county.

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2016

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2016 NEW F|LINGS
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MR FA Fa Fc Fo F1 r2 F3 F4 F5 F6 PC cM Mc 1F ov 05
LAKE
suPERxoR couNTv1 0 0 0 0 4 0 0 o 0 0 325 0 1.495 11 11.512 2
suPERioR CouNTv 2 0 0 0 0 2 0 0 0 0 0 305 0 11130 55 6 3,453
suPERxoa couNTv 3 0 0 0 0 7 0 0 0 0 0 320 0 1.134 0 5,269 3,531
suPER¢oR coumY 4 0 0 0 0 1 0 0 0 0 0 291 0 1,120 5 3.444 0
suPERioR cRerNAL 1 1 2 1 3 5 10 11 39 41 121 231 10 43 249 0 0
suPERioR cRiM\NAL 2 s 1 0 3 s 11 13 31 45 120 265 1 1 231 0 0
suPERloR cR\MmAL 3 5 2 0 3 2 s 23 42 54 115 211 5 2 234 0 0
sUPEmoR cR\MiNAL 4 10 2 0 1 4 11 13 31 45 121 255 9 26 214 0 0
sUPERioR JquNiLE 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0
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EAST cHicAGo c11v 0 0 0 0 0 0 0 0 0 0 0 141 0 1,109 115
GARY c11Y 0 0 0 0 0 0 0 0 0 0 0 0 1,453 0 5,149 2.111
HAMMOND cmr 0 0 0 0 0 0 0 0 0 0 0 0 1551 0 12,523 5,461
uoBART cnv 0 0 0 0 0 0 0 0 0 0 0 0 1,535 0 2,035 125
iAKl: srArioN ciTY 0 0 0 0 0 0 0 0 0 0 0 0 445 0 522 359
rowl:LL town 0 0 0 0 0 0 0 0 0 0 0 0 243 0 1.359 336
ril:RRILLv\LLl: TowN 0 0 0 0 0 0 0 0 0 0 0 0 595 0 3.955 3,159
E~CHLRERVILL£ town 0 0 0 0 0 0 0 0 0 0 0 0 555 0 4.514 1,554
\vaNc ciTv 0 0 0 0 0 0 0 0 0 0 0 0 115 0 224 413
§ 1’oTAL crrv 5 rowN; 0 0 0 0 0 0 0 0 0 0 0 0 5,110 0 34.255 15,541
§Oumv YOTAL_ 31 1 1 10 31 35 66 155 155 456 2_256 34 134121 1000 54.515 221559
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§`.uPERioR 4 0 0 0 0 0 0 0 0 0 0 479 0 1.353 129 2,521 50
ioTAL couRTs oF REcoRD; 4 4 5 2 211 9 20 41 65 155 551 16 2.403 419 5.535 115
COUNYY TOTAL; 4 4 5 2 211 5 20 41 65 155 551 16 2.403 419 5.535 115
LAWRENCE
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suPLmoR1 1 0 0 0 0 3 5 9 12 30 119 5 95 25 0 0
suPeRioR 2 0 1 0 0 2 1 1 5 12 24 209 3 459 215 2,150 55
TorAL couRTs or RECORD: 1 1 0 0 2 4 6 11 24 54 325 5 554 259 2.150 55
COL,NW rorAL; 1 1 0 0 2 4 6 11 24 54 325 a 554 255 2.150 55
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ciRcun 2 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 15
ciRcurr 3 1 0 0 6 1 s 5 11 21 15 116 13 1 339 0 0
cchun 4 1 1 1 5 3 4 1 14 15 15 130 5 3 142 0 0
ciRcu\T 5 0 0 0 0 15 0 0 1 0 565 1 20 134 0 0
ciRanT 5 2 0 10 5 4 14 25 11 123 16 2 101 0 55
ToTAL couRTs oF RECORD; 5 3 1 25 26 23 19 55 105 300 1.067 43 56 555 0 105
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2016 NEW FIL|NGS
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JC JD JS JP JM JT PL MF CC CT SC DR RS MH AD ES EU EM GU TR PO XP M| TOTAL

0 0 0 0 0 0 0 0 0 0 1,367 0 0 0 0 0 0 0 0 0 0 56 2 15,137

0 0 0 0 0 0 88 15 351 15 6,221 0 0 0 0 0 0 0 0 0 0 0 24 11.695

0 0 0 0 0 0 126 1 340 32 2,324 0 0 6 0 0 0 0 0 0 0 52 213 13,76`|

0 0 0 0 0 0 2 0 8 0 1.101 0 0 0 0 0 0 0 0 0 0 0 0 5.973

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 40 3 834

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 38 2 790

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 22 3 798

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 24 0 795

1,422 800 73 1.435 674 302 0 0 0 1 0 1 0 199 0 0 0 196 0 323 0 0 5‘428

11422 800 73 1,435 674 302 1,023 1.533 3.815 1,331 11,026 1.863 179 187 207 300 447 186 541 29 2,104 232 669 67,891

0 0 0 0 0 0 59 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 1,550

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 3.234

0 0 0 0 0 0 869 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 11.228

0 0 0 0 0 0 5.017 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 25.992

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§ 0 0 0 0 0 0 6.945 0 287 0 1 0 0 0 0 0 0 0 0 0 0 D 2 55,83`1

3,422 800 73 1,435 674 302 7,966 1.533 4.102 1.331 11.027 1,863 179 187 207 300 447 186 541 29 2,104 232 871 133.722
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< 345 270 86 40 112 35 42 57 458 85 0 290 0 80 25 20 340 25 143 3 315 15 253 3.947

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: 0 2 0 236 1 0 43 124 17 61 0 134 2 40 35 7 42 9 40 3 106 3 36 1,(!)7

:0 0 0 0 0 0 76 49 243 19 11168 0 0 1 0 0 0 0 1 0 0 15 47 6.612

'/ 0 0 0 0 0 0 8 1 466 16 1.325 0 0 8 0 0 0 1 0 0 0 29 51 6.567

345 272 86 286 1\3 35 206 354 1.291 227 2.515 546 41 212 67 36 425 42 206 6 515 67 403 21.258

345 272 86 286 113 35 206 354 1.29`1 227 2,516 546 41 212 67 38 425 42 208 6 515 67 403 21,258

126 89 29 70 171 14 40 96 282 55 0 160 5 0 26 86 0 0 80 1 342 1 172 1.868

0 0 0 0 0 0 0 0 0 0 0 81 0 16 0 0 0 0 0 0 15 7 1 427

0 0 0 0 0 0 0 0 0 0 1.428 0 0 0 0 0 0 0 0 0 0 7 35 4,64]

126 89 29 70 171 14 40 96 282 55 1,428 241 5 16 26 66 0 0 80 1 357 15 206 6,938

126 89 29 70 `171 14 40 96 282 55 1.426 241 5 16 26 66 0 0 80 1 357 15 208 6,938

0 0 0 20 0 0 29 126 194 39 0 169 `|1 46 21 26 74 31 92 1 5 27 213 1,605

697 523 143 553 497 92 3 0 1 1 0 44 3 0 0 0 0 0 24 0 1 1 12 2,611

0 0 0 0 0 0 24 131 134 19 1 176 9 0 14 25 46 12 86 0 289 10 565 2,171

0 0 0 1 0 0 31 1 309 37 2,377 172 0 0 1 0 0 0 0 0 490 4 97 3.931

0 0 0 0 0 0 30 0 369 42 2.139 0 0 0 0 0 0 0 0 0 0 75 176 3,568

0 0 0 0 0 0 25 132 230 37 0 163 13 0 17 39 61 25 108 4 386 11 122 1.869

697 523 143 574 497 92 142 390 1,237 175 4.517 724 36 46 53 90 201 66 310 5 1,173 126 1,205 15,755

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 1455

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 3.500

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 5,346

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 1,750

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CR|M|NAL / CNIL V|OLATIONS /JUVEN|LE

CASES DISPOSED

 

 

 

 

MR cF FA FB Fc F0 F1 F2 F3 54 55 Fe Pc cM Mc 15 0v Jc 10 15
LAK£
suPER10R couNTv 1 0 0 0 o 0 138 o 0 0 0 0 213 0 1,705 22 14`244 0 0 0 0
suPERxoR couNTv 2 0 2 0 0 0 23 0 0 0 0 0 217 0 1,027 0 26 3.184 0 0 0
suPEmoR couNTv 3 0 0 0 0 0 54 0 0 0 0 0 198 0 870 0 6,515 4,707 0 0 0
suP£moR coumv 4 0 0 0 0 0 45 0 0 0 0 0 181 0 873 15 3.424 0 0 0 0
sup£moR cR\M¢NAL 1 8 5 15 20 44 85 7 7 43 46 102 243 13 12 265 0 o 0 0 0
suP£moR cR¢M\NAL 2 2 1 17 30 27 51 4 14 30 31 57 235 10 a 255 0 0 0 0 0
suP£moR cliNAL 3 10 1 11 1a 23 45 4 13 37 42 93 207 9 21 262 1 0 0 0 0
suPEmoR cR¢M\NAL 4 11 0 11 24 19 27 4 1 35 36 55 198 16 19 267 0 0 0 0 0
suPEmoR JquNlLE 0 0 0 0 0 0 0 0 0 0 0 0 0 o 0 0 0 1,159 866 s1
107A1_c00117$ 0F REcoRo; 31 9 54 92 113 458 19 35 145 155 348 1,592 48 4,535 1,086 24,210 7 891 1,189 865 51
cRowN PorNT clTv 0 0 0 0 0 0 0 0 0 0 0 0 323 0 613 431 0 0 0
£AST cH\cAoo cch o 0 0 0 0 0 0 0 0 0 0 0 0 673 0 1,723 920 0 0 0
cARv c17v 0 o 0 0 0 o 0 o o 0 0 0 0 158 0 2.696 3,020 o 0 0
HAMMoNo cva 0 0 0 0 0 o 0 0 0 0 0 0 0 1,371 0 12,929 5,094 0 0 0
'HOBART clTv 0 0 0 0 0 0 0 0 0 0 0 0 0 1.554 0 2,089 129 0 0 0
1sz sTATloN csTv 0 0 0 0 0 0 0 0 0 0 0 0 0 705 0 571 297 0 0 0
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E z meNo cmr 0 o 0 0 o o 0 0 0 0 0 0 o 119 0 153 399 0 0 0
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§ 2 § £PUNTY TOTA\; 31 9 54 92 113 458 19 35 145 155 348 1,692 48 10,840 1,096 54.179 22.511 1,189 855 61
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§ 5 >-,} ¢AP<)RT£
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15 § N L s.uP£RsoR 1 2 0 5 10 5 5 4 9 28 37 73 27 5 10 44 0 0 0 0 0
15 s§uP£RloR 2 1 0 0 1 0 0 1 0 1 0 24 5 1 3 9 0 0 0 0 0
I-U :;.uP£moRa 0 0 0 0 0 1 o 0 o 0 0 1 0 1,156 5 6,125 0 0 0 0
s,uP£RloR 4 0 12 0 0 o 224 o o 0 0 0 310 0 1.289 128 2,737 39 0 0 0
1'07AL couRTS 0F RECORD.v 6 12 16 28 23 311 6 13 3a 53 156 555 13 2.463 246 5.562 126 212 235 72
C@UN" TOTAL; 5 12 15 28 23 311 6 13 35 53 155 655 13 2453 245 8.952 126 212 238 72
LAWREN<:£
cchun 0 0 0 0 0 0 0 0 o 0 0 0 0 0 21 0 0 150 85 25
supEmoR 1 0 2 3 7 10 17 0 7 12 11 20 87 3 152 26 0 0 0 0 0
supEmoR 2 0 o 0 1 1 6 0 o 2 5 9 141 0 441 152 2.137 49 0 0 0
707A1_ couRTs 0F REcoRD; o 2 3 a 11 23 0 7 14 17 29 228 3 603 199 2137 49 150 85 25
COUNTY TOTAL; 0 2 3 8 11 23 0 7 14 17 29 225 3 503 199 2,137 49 150 95 25
MAmsoN
cchu\T 2 o 1 1 4 15 3 1 9 20 47 155 5 17 199 0 3 0 0 0
c\Rcun 2 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 6 264 338 95
cmcun 3 1 2 1 14 21 8 0 3 7 19 55 93 2 3 355 0 15 0 0 0
cchun 4 1 0 2 6 20 3 2 1 12 1a 76 85 3 3 147 0 0 0 0 0
cmcun 5 o 0 0 0 0 37 0 0 0 0 0 289 2 19 101 0 0 0 0 0
C1RCu17 6 1 0 3 7 14 3 5 5 14 21 58 99 11 4 91 0 61 0 0 0
TOTAL coums 0F REcoRD; 5 2 7 28 59 66 10 11 42 7a 236 732 23 46 894 o 85 264 338 95
Anosnsow cmr 0 0 0 0 0 0 0 0 0 0 0 0 10 1.897 0 1.606 79 0 0 0
EDGEwooo TowN 0 0 0 0 0 0 0 0 0 0 0 0 0 765 0 2.496 80 0 0 0
ELwooD chv 0 0 0 0 0 0 0 0 0 0 0 0 0 964 1 3.452 419 0 0 0
P£NDLEToN TowN 0 0 0 0 0 0 0 0 0 0 0 0 0 0 o 1,726 124 0 0 0

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CASES D|SPOSED

 

 

 

 

JUVEN|LE / CN!L

JP 1M 11 cp PL MF cc cr sc 08 ns MH 110 Fs Fu FM c,u 111 Po xP Ml 1014L

0 0 0 0 2 0 0 0 1.435 0 0 0 0 0 0 0 0 0 0 57 2 17,515

0 0 0 0 82 1 318 14 5,113 0 0 0 0 0 0 0 0 0 0 0 11 11,084

0 0 0 0 95 1 254 35 2,140 0 0 1 0 0 0 0 0 0 0 52 133 15,014

0 0 0 0 5 0 17 0 981 0 0 0 0 0 0 0 0 0 0 0 0 5,542

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 23 17 955

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 38 1 847

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 18 5 821

0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 27 4 155

1_314 532 248 0 0 0 0 1 0 1 0 0 154 0 0 0 152 0 354 0 0 4,912

1.314 532 248 19 817 2,137 31393 1,429 10.153 2.202 1.385 150 110 370 410 237 345 23 2.412 215 1,021 72.189

0 0 0 0 41 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 1,414

0 0 0 0 0 0 183 0 0 0 0 0 0 0 0 0 0 0 0 0 0 3,499

0 0 0 0 553 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 81537

0 0 0 0 1081 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 20.480

0 0 0 0 0 0 231 0 0 0 0 0 0 0 0 0 0 0 0 0 0 4,003

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< 56 g m1,314 532 248 19 2,514 2,131 3801 1,429 10,773 2.202 1.385 150 110 310 410 231 345 23 2_412 215 1,022 125,915
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COUNTY DEPARTMENT, LAW DlVlSlON CLERK DOROTHY BROWN
sEAN MCDERMOTT,
Plaintiff,

v. Case No. 2017 L 009093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC; ARCELORMITTAL
U.S.A. LLC; CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED
SAFETY,

Defendants,

NOTICE OF FILING

To: John Klebba
Brustin & Lundblad, LTD
10 North Dearborn Street, 7th Floor
Chicago, IL 60602

PLEASE TAKE NOTICE that on April 25, 2018, the following was filed with the Clerk
of the Circuit Court of Cook County, lllinois, Defendant ArcelorMittal USA LLC’s Answer and
Affirmative Defenses to Plaintifi`s First Amended Complaint at Law, a copy of which is attached
hereto and herewith served upon you.

David E. Kawala

Kelly M. Konzen

Swanson, Martin & Bell, LLP

330 N. Wabash Ave., Suite 3300

Chicago, IL 60611

(312) 321-9100/(312) 321-0990 FAX

Attomeys for Defendant ArcelorMittal USA LLC
Firm I.D. No. 29558

PROOF OF SERVICE

l, Teresa D’Aloisio, a non-attorney, certify that the above-described document was sent to counsel of record

via U.S. Maii on Apr1125 2018. , ~
,/ 1)/ ` .

[X] Under penalties as provided by law pursuant to 735 l[CS 5/1-109 l certify that the statements set
forth herein are true and correct.

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Litigant List
Printed on 04/25/2018
Case Number: 2017-L-009093 Page 1 of1

Plaintiffs
Plaintiffs Name Plaintiffs Address State Zip Unit #
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Total Plaintiffs: 1

Defendants
Defendant Name Defendant Address State Unit # Service By
ARCELOR|\/HTTAL USA LLC 208 S LASALLE |L OOOO
CODE RED SAFETY RENTAL 161 N CLARK 1L OOOO
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IN THE CIRCUIT COURT or CooK COUNTY, imin COUNTY§ILLINOIS

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SEAN MCDERMOTT,
Plaintiff,

v. Case No‘ 2017 L 009093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC; ARCELORMITTAL
U.S.A. LLC; CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED
SAFETY,

\_/"/\/\_/\'/"/\a’\_/\./\/\./\/\~/

Defendants,
DEFENDANT ARCELORMITTAL USA LLC’S
ANSWER AND AFFIRMATIVE DEFENSES '[`0 PLAINT]FF’S
FIRST AMENDEI) COMPLAINT AT LAW

Defendant, ArcelorMittal USA LLC (“AMUSA”), by its attorneys, Swanson, Martin &
Bell, LLP, state as its Answer and Aftirmative Defenses to plaintiffs First Amended Complaint
at Law, as follows:

1. in answering for AMUSA only, this defendant admits that on October 19, 2016,
AMUSA was a limited liability company organized under the laws of the State of Delaware with
a principal office at One South Dearborn Street in Chicago, illinois

2. This defendant lacks sufficient knowledge to form a belief as to the truth of the
allegations contained in paragraph 2 and therefore neither admits nor denies same.

3. This defendant lacks sufficient knowledge to fonn a belief as to the truth of the
allegations contained in paragraph 3 and therefore neither admits nor denies same

4. ln answering for AMUSA only, this defendant admits that on October 19, 2016,

AMUSA owned a steel fabricating facility known as ArcelorMittal lndiana Harbor LLC with

offices at 3210 Watling Street, East Chicago, lndiana,

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5. ln answering for AMUSA only, AMUSA, on and prior to October 19, 2016, had
repaired and refurbished various parts of the indiana Harbor facility including an area known as
Walking Beam Furnace #6 at the 80” Hot Strip Mill, indiana ilarbor East, Plant 2.

6. in answering for AMUSA only, AMUSA contracted with Code Red and/or GM Safcty
to provide safety consulting personnel services and equipment for the purposes of providing
safety during the repair and refurbishment at or around Walking Beam Furnace 116 at the 80” Hot
Strip Mill, lndiana Harbor East, Plant 2.

7. 1n answering for AMUSA only, AMUSA contracted with Rogers & Son to provide

certain repair and/or refurbishment services on or about Walking Beatn Furnace #6 at the 80”

Hot Strip Mill, indiana l~larbor East, Plant 2,
8. 'l`his defendant lacks sufficient knowledge to form a belief as to the truth of the
allegations contained in paragraph 8 and therefore neither admits nor denies same.

9. This defendant denies the allegations contained in paragraph 9 and each and every

§ subpart thereof

10. This defendant denies the allegations contained in paragraph 10.

11. This defendant lacks sufficient knowledge to form a belief as to the truth of the
allegations contained in paragraph 1 1 and therefore neither admits nor denies same

12. This defendant admits the allegations contained in paragraph 12.

WHEREFORE, defendant, Arcelorl\'iittal USA LLC, prays for judgment in its favor and
against the plaintiff

AFFIRMATIVE DEFENSES
As and for defendant Arcelorl\/Iittal USA LLCls separate and affirmative defenses,

defendant Arcelorl\/littal USA LLC states as follows:

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FIRST AFFIRMATIVE DEFENSE

 

1. The plaintiff had a duty to exercise reasonable care for plaintiffs own safety.
2. Plaintiff breached his duty to exercise reasonable care for his own safety by:
at failing to keep a proper lookout;
b. failing to observe a condition that was open and obvious; and
e. was otherwise careless and negligent
3. Plaintiffs injuries were proximately caused by plaintiffs comparative fault as alleged
above
WHEREFORE, if a jury determines that the fault of the plaintiff was more than 50 percent
of the total fault allocated, then plaintiff is barred from recovery against defendant; alternatively,
if the plaintiffs comparative fault is determine to be less than 50 percent of the total fault allocated,
then the plaintiffs recovery should be decreased in proportion to the percentage of comparative
fault allocated to the plaintiff of the total fault.
SECOND AFFIRMATIVE DEFENSE
The condition which plaintiff encountered was an open and obvious condition which
plaintiff, in the exercise of reasonable care, would have avoided without ineident.

2 MMMMMMMMMMMM n

By: /’
One of the Attorneys for Defendant,
Areelorl\/iittal USA LLC

 

David E. Kawala

Kelly M. Konzen

Swanson, Martin & Bell, LLP
330 North Wabash, Suite 3300
Chicago, lL 60611
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CIRCUIT COURT OF

168.26053 35/23 FIRl\/UUIGWQJNTY ILLINOIS

LAW DivtstoN

IN THE CIRCUIT COURT oF CooK COUNTY, ILLi§bf§K DOROTHY BROWN

COUNTY DEPARTMENT, LAW DIVlSlON
SEAN MCDERMOTT,
Plaintiff,

v.
No. 2017 L 009093
ARC};`LORMITTAL INTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC` and CODE RED SAFETY
AND RENTAL, LLC, d/b/a CODE RED
SAFETY,

Calendar A

Defendants,

V\/\./\./\./\_/\./V\./\/VV\/

CODE IUED SAFETY & RENTAL, LLC’S
ANSWER TO FIRST AMENDED COMPLAINT

NOW COMES Defendant, CODE RED SAFETY & RENTAL LLC (hereinafter
referred to as "‘Code Red"), by and through its attorneys rl"ribler Orpett & Meyer. P.C..
and for its answer to Plaintiffs First Amended Complaint at Law, states as follows:

l. Code Red is without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph lt and demands strict proof
thereof

2. Code Red admits only that at all relevant times it was duly organized
under the laws of the State of Delaware and denies that the remaining allegations
accurately state and set forth the services it provides

3. Code Red is without knowledge or information Sufficient to form a belief
as to the truth of the allegations contained in paragraph 3, and demands strict proof

thereof

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4. Code Red is without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 4, and demands strict proof
thereof

5. Code Red admits only that on or prior to October 19, 2016, there were
repairs and/or refurbishing of parts of the lndiana Harbor Facility including the area
known as Oven No. 3, and is without knowledge or information sufficient to form a
belief as to the tmth of the remaining allegations contained in paragraph 5.

6. Code Red denies that it entered into any contract to provide safety
consulting personnel, services and equipment to at the premises, including Oven No. and
and is without knowledge or information sufficient to form a belief as to the truth of the
remaining allegations contained in paragraph 6.

7. Code Red is without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 7, and demands strict proof
thereof.

8. Code Red admits only that Plaintiff was on the premises of the lndiana
Harbor Facility on October 19, 2016, and is without knowledge or information sufficient
to form a belief as to the truth of the remaining allegations contained in paragraph 8.

9. Code Red denies the allegations contained in paragraph 9, including all
subparagraphs thereof.

10. Code Red denies the allegations contained in paragraph 10.

l l, Code Red denies the allegations contained in paragraph l l, and denies that

Plaintiff was injured in the manner and to the extent alleged.

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12. Code Red admits only that Plaiiitift"s counsel has attached an affidavit as
Exhibit A, and that the affidavit speaks for itself

WHEREFORE, Defendant, CODE RED SAFETY & RENTAL, LLC, prays that
judgment be entered in its favor and against Plaintiff, together With costs.

AFFlRMATIVE DEFENSES

Defendant, CODE RED SAFETY & RENTAL, LLC, by and through its
attomeys, state the following Affiimative Defenses to Plaintiffs Complaint at Law as
alternative pleadings and without prejudice to its denials as to liability and fault;

FIRST AFFIRMATIVE DEFENSE

l. Plaintiff had a duty to exercise reasonable care for his own safety.
2. Plaintiff breached that duty and was negligent in one or more of the
following respects:
a. Failed to keep a proper lookout;
b. Failed to observe a condition that was open and obvious;
c. Failed to use a safer alternative method of performing his work;
d, Carelessly and negligently worked without exercising due care and
caution for his own safety; and
e. Failed to ask for assistance if he needed it to safely perform his
work.
3. Plaintiff s own negligence was the proximate cause of the injuries alleged

in his complaint, or, alternatively, his own negligence contributed to cause the alleged
injuries and damages

4. If judgment is entered in favor of Plaintiff and against defendant, Code
Red, such judgment shall be reduced in an amount commensurate with Plaintiffs own

degree of comparative fault, and if that fault is greater than 50% of the total fault

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attributable to all tort feasors, he shall be barred from any recovery whatsoever as a
matter of law.

WI-IEREFORE, Defendant, CGDE RED SAFETY & RENTAL, LLC, prays that
Plaintiff be barred from any recovery whatsoever, or in the alternative, that any judgment
entered in Plaintiffs favor shall be reduced in the amount commensurate with his own
degree of comparative fault.

SECOND AFFIRMATIVE DEFENSE

l. Code Red`s fault, if any, in causing the damages alleged in Plaintiffs
complaint, constitutes less than 25% of the total fault attributable to Plaintiff, Sean
McDennott, any Defendants sued by Plaintiff and applicable Third~Party Defendants

WHEREFGRE, Defendant, CGDE RED SAFETY & RENTAL, LLC, prays that
ifjudgment is entered against Code Red and in favor of Plaintiff, Code Red shall only be
severally liable for its pro-rata share of fault in causing the non»medical and non-
medically related damages, if any.

THIRD AFFIRMAT|VE DEFENSE

l. The sole proximate cause of plaintiffs decedent's accident, injuries and
death was the conduct of Plaintiff, SEAN McDermott in knowingly failing to keep a
look out of the area he was walking and working, thereby knowingly subjecting
himself to the risk of serious bodily injury, all of which was known to Plaintiff before and
at the time of the alleged accident,

WHEREFORE, Defendant, CGDE RED SAFETY & RENTAL, LLC, denies any
liability whatsoever as to plaintiff and pray for judgment in its favor and against plaintiff

and all other relief this Court deems proper.

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FOUR'I`H AFFIRMA'I`]VE DEFENSE

l. Code Red is entitled to a set-off reducing anyjudgment against it by any
amount paid to Plaintiff by, on behalf of, any Defendant, Third-Party Defendants, or
Third-Paities relating to the injuries or damages alleged in Plaintiffs complaint.
including a waiver of medical. Workers’ compensation or other liens against the judgment
pursuant to 735 lLCS 5/2-608 and/or 735 lLCS 5/2-613.

WHEREFORE, Defendant, CODE RED SAFETY & RENTAL, LLC, is entitled
to a set-off against any adverse verdicts for any amounts paid to Plaintiff related to this
matter from any source.

FIFTH AFFlRMATlVE DEFENSE

l. The condition which Plaintiff encountered was an open and obvious

condition which Plaintiff, in the exercise of reasonable care, should have avoided without

incident.

Patrick E B/urges , ne of the Attomeys for
Defen e Red Safety & Rental, LLC

Michael J. Meyer, Esq.

Patrick E. Burgess, Esq,

TRlBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 1300
Chicago, lllinois 60606

(312) 201-6400

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AFFIDAVIT OF lNSUFFlClENT KNOWLEDGE
Patrick E. Burgess, being first duly swom on oath, deposes and says that he is one of
the attorneys for Defendant, CODE RED SAFETY & RENTAL, LLC, that he is
authorized to make this affidavit and that the allegations of want of knowledge in the above
answer are true and correct to the best of his knowledge and belief

TRlBLER ORPETT & MEYER, P.C.

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PROOF OF SERVICE
TO; See Attached Service List

l, a lion-attorney, certify that l served this notice and the following documents by
sending a copy via electronic mail to the aforementioned parties on April 25, 2018:

1. Code Red Safcty & Rental’s Answer and Aff'lrmativc Defenses to First
Amended Complaint

[X] Under penalties as provided by law pursuant to ILCS
SEC 5/1-109 I certify that the statements set forth

herein are true and correct.
Date ........ .”/.:a>...i./_§“. ..................

 

 

 

 

 

 

 

Signature
Patrick E. Burgess, Esq.
TRlBLER ORPETT & MEYER, P.C.
225 West Washington, Suite 2550
Chicago. lllinois 60606
Telephone: (312) 201 -6400
Fax: (312) 201-640}
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Attornegs for Plaintiff Attornevs forArce/or Mittal
Milo W. Lundblad David E. Kawala
Frank Dermody Kelly Konzen
Brustin & Lundblad, Ltd. Swanson Martin & Bell LLP
10 N. Dearborn ~ 7lh Floor 330 N. Wabash Street
Chicago, IL 60602 Chicago, lL 60611
(312)263-1250 (312)321-9100
mlundblad/c?lzmabla\x»‘ltd.coni dkawala@smbtrials.com
fderniod\"/Z?rmablawltd.com kkonzen@smbtrials.com
todonnellf`ZBmablawltd.com - Trish O`Donnell
(assistant)
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(paralegal)

 

 

 

 

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COUNTY DEPARTMENT, LAW DivisioN LAW DivisioN
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sEAN McDERi\/iorr,
Plaintiff,
v, case N@. 2017 L 009093

ARCELORMITTAL U.S.A. LLC;

GM SAFETY, CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED
SAFETY,

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Defendants
DEFENDANT AM USA LLC’S REP()NSE
'1`0 CO-DEFENDANT’S MOTION T() TRAN§FER PURSUANT TO FORUM NON
CQNVENIENS

Defendant ArcelorMittal USA LLC (“AM USA”) for its Response in opposition to Code

Red’s motion to transfer this matter to Lake County, lndiana, pursuant to Supreme Court Rule 187,
states as follows:

I. General Argument

The doctrine of forum non conveniens strongly favors this matter staying in the Circuit

Court of Cook County, lllinois, because Plaintiff is a resident of lllinois, and this court should give

deference to Plaintiffs choice of forum. Moreover, Defendant AM USA, owner of the land where

the incident occurred, has its United States corporate offices in Chicago, Illinois. Finally, the scene

of the incident and remaining witnesses are only a short drive from downtown Chicago. “The

burden is on the [movant] to show that relevant private and public interest factors ‘strongly favor’

the [movant’s] choice of forum to warrant disturbing plaintiffs choice.” Langendorst v. Norfolk

Southern Ry. Co,, 219 lll.2d 430, 443-444 (2006). Here, Code Red failed to show that Cook

County is an inconvenient forum, and therefore this matter should remain here.

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A. I_l__ie Private Interest Factors Do Not Favor Transfer.

The private factors to be considered in determining whether this matter should be removed
to Lake County, lndiana, include: (l) the convenience of the parties; (2) the relative ease of access
to sources of testimonial, documentary, and real evidence; and (3) all other practical problems that
make trial of a case easy, expeditious, and inexpensive First Notional Bank v. Guerine, 198 lll.2d
511, 516 (Ill. 2002) (citing Griffith v. Mitsul)iski Aircraft Internationali Inc., 126 lll.2d 101, 105-
06, 554 N.E.2d 909 (Ill. 1990)).

Code Red argues that Cook County, lllinois, is a less convenient forum than Lake County,

w Indiana. However, two of the four parties to this lawsuit reside in lllinois, not Indiana. Plaintiff

1 is a resident ofBeecher, Illinois. He chose to file his lawsuit in lllinois, his home state, not Indiana.

Plaintiffs choice of forum is entitled to substantial deference Langendorsr v. Norfolk Southern
Ry, Co., 219 lll.2d 430, 448 (2006). Further, AM USA is the owner of the site in which the incident
occurred. AM USA’s United States corporate offices are in Cook County, lllinois, As to the
remaining two parties, Code Red’s and GM Safety’s employees would be required to travel a mere

30 minutes to Chicago from East Chicago, lndiana, for deposition and/or trial. Such a short trip is

hardly considered inconvenient in today’s age. “Today, we are connected by interstate highways,

bustling airways, telecommunications, and the world wide web. Today, convenience ~ the
touchstone of the forum non conveniens doctrine - has a different meaning.” Langendorst v.
Norfolk Southern Ry. Co., 219 IIl.2d 430, 450 (2006). With access to a variety of travel options
and technology that facilitates seamless and expeditious exchange of information, litigating this
case in Cook County is just as convenient as Lake County,

B. The Public Il_iterest Factors Do Not Favor Transfer.

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2017-L-009093

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The court must consider the following public factors in ruling on Code Red’s motion to
transfer: (l) the interest in deciding local controversies locally; (2) the unfairness of imposing the
expense of a trial and the burden of jury duty on residents of a county with little connection to the
litigation; and (3) the administrative difficulties presented by adding further litigation to court
dockets in already congested forums Guerz'ne, 198 lll.2d at 516-17. Here, both Plaintiff and AM
USA are residents of lllinois, As a result, this court has a substantial interest in deciding this matter
locally.

II. Conclusion

Due to the significant ties this litigation has to Cook County, and the failure of Code Red

to meet its burden of showing that Lake County is more convenient for all parties, this Honorable

1 Court should deny Code Red’s motion.

/s/ David E. Kawala
One of the Attorneys for Defendant
ArcelorMittal USA LLC

David Kawala
1 Kelly Konzen

SwANsoN, MARTIN & BELL, LLP
330 North Wabash - Suite 3300
Chicago, lllinois 60611

(312) 321-9100

Firm ID No. 29558

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coiler DEPARTMENT, LAW Divisioer CLERK DoRorHY BRowN

SEAN McDERMOTT,
Plaintiff,

V. Case No. 2017 L 009093
ARCELORl\/IITTAL INTERNATIONAL
AMERICA, LLC; ARCEL()RMITTAL
U.S.A. LLC; CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED
SAFETY,

\~/\./\~/\/\/\/\/\/\/\/\/\./\./

Defendants
NOTICE OF FILING

To: John Klebba, Brustin & Lundblad, LTD
10 North Dearborn Street, 7th Floor, Chicago, IL 60602

Patrick E. Burgess, Tribler Orpett & Meyer, P.C.
225 West Washington Street, Suite 2550, Chicago, IL 60606

PLEASE TAKE NOTICE that on May 17, 2018, the following was filed with the Clerk of
the Circuit Court of Cook County, lllinois, Defendant ArcelorMittal USA LLC’s Response to Co-
Defendant’s Motion to Transfer Pursuant to Forum Non Conveniens, a copy of which is attached
hereto and herewith served upon you.

David E. Kawala

Kelly M. Konzen

Swanson, Martin & Bell, LLP

330 N. Wabash Ave., Suite 3300

Chicago, IL 6061 l

(312) 321-9100/(312) 321-0990 FAX

Attorneys for Defendant ArcelorMittal USA LLC
Firm I.D. No. 29558

PROOF ()F SERVICE

l, Teresa D’Aloisio, a non-attomey, certify that the above-described document was sent to counsel of record
via U.S. Mail and e~mail on May 17, 2018

/s/ Teresa D’Aloisio
[X] Under penalties as provided by law pursuant to 735 ILCS 5/1-109 I certify that the statements set forth herein
are true and correct

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EXH|B|T Li

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 170 of 185 Page|D #:170

168.26058 35/28 FIRM NO. 39950

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,
Plaintiff,
v.

ARCELORMITTAL lNTERNATIONAL
AMERICA, LLC, ARCELORMITTAL
U.S.A., LLC, CODE RED SAFETY AND
RENTAL, LLC, d/b/a CODE RED
SAFETY, and GM SAFETY AND
SUPPLY, LLC,

Defendants.

No. 2017 L 009093

\_/\`/\_/\_/\_/\_/\_/\_/\_/\_/\_/

NOTICE OF FILING NOTICE OF REMOVAL
TO: See Attached Service List

PLEASE TAKE NOTICE that on May M, 2018, there was filed with the Clerk
of the Circuit Court of Cook County, lllinois, Notice of Removal, a copy of which is

attached and hereby served upon you.
%Md/W/
PW)W§$, Esq.

Michael J. Meyer, Esq.
Patrick E. Burgess, Esq.
TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 2550
Chicago, lllinois 60606
(312) 201-6400
docket@tribler.com
W

l, a non-attomey, ce ' that I served this notice by sending a copy by electronic mail to all
attorneys of record on May , 2018.

[X] Under penalties as provided by law pursuant to ILCS
SEC 5/1-109 l certify that the statements set forth

herein are true and correct. t w

Signature

 

SERVICE VIA E-MAIL WlLL BE ACCEPTED AT DOCKETt/dl'l`RlBLER.COM

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SERVICE LIST

McDermott v. Code Red Safezjv, et al -~ 1 7L 9093

Attornegs for Plaintiff
Milo W. Lundblad

Frank Dermody

Brustin & Lundblad, Ltd.

10 N. Dearborn - 7th Floor

Chicago, IL 60602

(312) 263-1250

mlundblad@mablawltd.com

tdermodv@mablawltd.com

todonnell@mablawltd.com ~ Trish O’Donnell (assistant)
blawson camablawltd.com - Brad Lawson (paralegal)

 

Attornevs for Arcelor Mittal
David E. Kawala

Kelly Konzen

Swanson Martin & Bell LLP
330 N. Wabash Street
Chicago, IL 60611

(312) 321-9100
dkawala@smbtrials.com
kkonzen@smbtrials.com

 

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EXH|B|T 5

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 173 of 185 Page|D #:173

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN MCDERMOTT,
Plaintiff,

v. No. 17 L 9093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC,

ARCELORMITTAL U.S.A., LLC, and

CODE RED SAFETY AND RENTAL, LLC,
d/b/a CODE RED SAFETY, and GM SAFETY
AND SUPPLY, LLC

Defendants

CERTIFICATE OF SERVICE

Mr. Michael J. Meyer

Mr. Patrick E. Burgess

Tribler Orpett & Meyer, PC

225 W. Washington St., Ste 2550
Chicago, lL 60606

To: Arcelor Mittal USA, LLC
Mr. David Kawala
Swanson, Martin & Bell, LLP
330 N. Wabash Ave., Ste 3300
Chicago, IL 60611
E-mail: dkawala@smbtrials.com

I, a non-attorney, hereby certify that on this _Q_t_h day of March 2018, I served the
documents listed below by e-mail and by mailing a copy First Class, postage pre-paid, to the
above-named parties at the above-mentioned addresses, and depositing same in the U.S. Mail
Chute at 10 N. Dearbom, 7th Floor, Chicago, lllinois, 60602, before 5100 P.M., under penalties as
provided by law pursuant to 735 ILCS 5/1-109.

(a) Plaintl_'ffs Response to Defendant Code Red Forum Non Conveniens
Interrogatories.

a copy of Which is attached hereto.

BRUSTIN & LUNDBLAD, LTD.

 

BRUSTIN & LUNDBLAD, LTD.
10 N. Dearborn St., 7th Floor
Chicago, lllinois 60602
(312)263-1250

Atty. No.: 21626

 

 

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

sEAN MCDERMOTT,
Piainiiff,

v. No. 17 L 9093
ARCELORMITTAL INTERNATIONAL
AMERICA, LLC,

ARCELORl\/[ITTAL U.S.A., LLC, and
CODE RED SAFETY AND RENTAL, LLC,
d/b/a CODE RED SAFETY,

\_/VV\_/\/\/\/\/\/\/VVV

Defendants,

PLAINTIFF’S RESPONSE TO DEFENDANT CODE RED FORUM NON CONVENIENS
INTERROGATORIES

1. State the plaintiffs full name and date of birth
ANSWER: Sean Martin McDerrnott, June 13, 1979

2. State the street address, city/town/village, county and State of the location where
plaintiffs alleged October 19, 2016 accident occurred.
ANSWER: 3210 Watling Street, East Chicago, Indiana, 46312

3. State the street address, city/toWn/village, county and state where plaintiff
maintained by his permanent residence as of October 19, 2016,
ANSWER: 50 Meadowlark Lane, Beecher, IL 60401

4. State the street address, city/town/village, county and State Where plaintiff
currently maintains his permanent residence

ANSWER: 356 S. Woodward, Beecher, IL 60401

 

 

 

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5. State the name(s) of all occurrence witnesses and the street address,
city/town/village, county and state where said occurrences currently reside.

ANSWER:

Able Zepeda--Foreman for Rogers & Sons, 4715 Euelid Ave, East Chicago, IN 46312

Frank Martinez--Superintendent for Rogers & Sons, 4715 Euelid Ave, East Chicago, IN 46312
Raul Rodriguez, 516 Penfield, Beecher, lL, 60401

Laborers from the Laborers Local 5 Union, Local 5, 134 N. Halsted St., Chicago Heights, IL
60411

J im LNU (Safety Personnel for Defendant Arcelor Mittal)
Andy LNU (Safety Personnel for Defendant Code Red)

6. State the name(s) of all individuals who were at the scene of the occurrence
shortly before or shortly after the occurrence and the street address, city/town/village, county and
state where said individuals currently reside
ANSWER:

Able Zepeda_Foreman for Rogers & Sons, 4715 Euelid Ave, East Chicago, IN 46312
Frank MartineZ--Superintendent for Rogers & Sons, 4715 Euelid Ave, East Chicago, IN 46312
Raul Rodriguez, 516 Penfield, Beecher, lL, 60401

Laborers from the Laborers Local 5 Union, Local 5, 134 N, Halsted St., Chjcago Heights, IL
6041 1

J im LNU (Safety Personnel for Defendant Arcelor Mittal)
Andy LNU (Safety Personnel for Defendant Code Red)

7. State the name(s) of all post-occurrence witnesses who will testify regarding
plaintiff s alleged injuries and the effect of said injuries on plaintiffs day-to-day life along with
the street address, city/toWn/village, county and state where said Witnesses currently reside.
ANSWER:

Mary, Skip and Harry McDerrnott, 356 S. Woodward Street, Beecher, IL, 60401

 

 

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Eugene Jung, 3863 Everett Ct, Peachtree Corners, GA 30097

Rob Sikora, 2292 Swallowtail Street, Bourbonnais, IL, 60914

Daniel Trevino, 278 Pine Street, Beecher, lL, 60401

Terri Zemaitis, 718 Penn Blvd, Linderhurst, IL 60046

Heather Maizano, 3457 St. Barthelemy Lane, Aurora, IL, 60504

Bill Kapp, Maureen Kapp, and Caitlin Hess, 6167 Store Mill Drive, Bourbonnais, IL, 60914
Raul Rodriguez, 516 Peniield, Beecher, IL, 60401

Brian McDerrnott, 18275 Dove Avenue, Mokina, IL, 60448

Rory and Bridget McDerrnott, 255 Hunters Drive, Beecher, IL, 60401
Tracy Trevino, 278 Pine Street, Beecher, IL, 60401

Nick and Heather Sikora, 251 Orchard Lane, Beecher, IL, 60401
Rick Day, 1106 Wildtlower, Dyer, Indiana, 46311

S. State the name, street address, city/town/village, county and state of all of
plaintiffs healthcare providers Who treated him for any injuries allegedly sustained as a result of
the subject occurrence.

ANSWER:

1. Comprehensive Care
7501 W. 15th Avenue

 

 

 

 

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Gary, lndiana 46406
Timothy E. Schroer, DO
Stephen Messana, DO
Lynn C. Schmitt, PT
Brian Gonzalez, PTA
Anthony Marquez, PT
Katrina Madoll, PT
2. Orthopaedic Specialists
730 45th Street
Munster, lndiana 46321
Sunil Dedhia, MD
Amy Berghoff, PA
3. New Life Physical Therapy
25622 Governors Highway
Monee, lllinois 60449
David Kooyenga, PT
Zorn Coleman, PT
4. Center for Minimally Invasive Surgery
9200 Calumet Avenue, Suite 200
Munster, lndiana 46321

Sunil Dedhia, MD

Amy Berghoff, PA

 

 

 

 

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9. State the dates on which plaintiff treated at any hospitals or other healthcare
providers listed in the answers to Interrogatory 8 above.

ANSWER:
Comprehensive Care_October 2016 to January 2017
Orthopaedic Servies_December 2016 to August 2017
New Life Physical Therapy--January 2017 to July 2017
Center for Minimally Invasive Surgery-~April 28, 2017
10. State the street address, city/town/village, county and state of plaintiffs employer
on the date of the occurrence.
ANSWER: Roger & Sons Construction, 4715 Euelid Avenue, East Chicago, lndiana 46312
11. State the complete name, street address, city/town/village, county and state of
plaintiffs immediate supervisor/foreman on the date of the occurrence.

ANSWER: Able Zepeda and Frank Martinez, addresses unknown

12. State the street address, city/town/village, county and state of plaintiffs current
employer.

ANSWER: N/A.

13. ldentify any and all contacts you claim that the parties to the above captioned
lawsuit have with Cook County, or any basis(es), to support your belief that Cook County is the
most convenient forum for the resolution of this lawsuit.

ANSWER: Objection. This request calls for legal conclusions and arguments Plaintiff will file
its response to Defendant’s motion at the appropriate time and in the appropriate fashion
14. ldentify each and every basis you have (excluding those identified above) for a

claim that Cook County is the most convenient forum for the resolution of this lawsuit.

ANSWER: Objection. This request calls for legal conclusions and arguments Plaintiff Will file
its response to Defendant’s motion at the appropriate time and in the appropriate fashion.

 

 

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Respectfully submitted,

BRUSTIN & LUNDBLAD, LTD.

By: /s/ Milo W. Lundblad
Milo W. Lundblad

Milo W. Lundblad

BRUST]N & LUNDBLAD, LTD.
10 N. Dearborn Street, 7th Floor
Chicago, lllinois 60602
(312)263-1250

Atty. No. 21626

Attorney for Plaintiff

 

 

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EXHlB|T 6

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 181 of 185 Page|D #:181

AFFIDAVIT OF PATRICK E. BURGESS AND CONSENT FOR REMOVAL

Patrick E. Burgess, being duly sworn under oath, states that the facts set forth
herein are true to my knowledge, or where indicated as true to the best of my knowledge,
information and belief, and ifcalled upon to testify in this matter, l could and would

competently testify as follows:

1. l am one of the attorneys for Defendants, Code Red Safcty & Rental, LLC

and GM Safcty & Supply, LLC,

2. My investigation has determined the respective status of incorporation for
Defendant, Code Red Safety & Rental, LLC and state that Defendant, Code Red Safety &
Rental, LLC is a citizen of Delaware (incorporated) and its principal place of business is

lndiana (headquartered).

3. My investigation has determined the respective status of incorporation for
Defendant, GM Safcty & Supply, LLC. and state that Defendant, Gl\/l Safety & Supply,
LLC.is a citizen of Nevada (incorporated) and its principal place of business is lndiana

(headquartered).

4. Defendant, Code Red Safety & Rental, LLC consents to the Notice of
Removal filed by Defendant Gl\/l Safety & Rental, LLC, removing this action, case
number 17 L 9093, from the Circuit Court of Cook County, lllinois, County Department,
law Division, to the United States District Court for the Northern District of lllinois,

Eastern Division.

FURTHER AFFlANT SAYETH NAUGHT.

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 182 of 185 Page|D #:182

Patrick b. Burgess, Esq.

TRIBLER ORPETT & MEYER, P.C.
225 West Washington Street, Suite 1300
Chicago, lllinois 60606

(312) 201-6400

(312) 201-6401 (fax)

 

docket§a)tribler.com
STATE OF ILLINOIS )
) SS:
COUNTY OF COOK )

SUBSCRIBED AND SWOARN

To before me this l 22 §day ofleA§‘[ ,2018

 
 
  

  

OFFlClAL SEAL

KA HERiNE M. ouNcAN
NOTARY PUBLlC. STATE OF tLLtNOtS
My Commissionxres March 24, 220

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Notary Public

   

                

 

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EXH|B|T 7

Case: 1:18-cv-03529 Document #: 1 Filed: 05/18/18 Page 184 of 185 Page|D #:184

IN THE UNlTED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

SEAN McDERMOTT,
Plaintiff,

v, Case No.

ARCELORMITI`AL USA LLC;

GM SAFETY, CODE RED SAFETY AND

RENTAL, LLC, d/b/a CODE RED

SAFETY,

Defendants,

\IVVV`_/\/V`_/`_/\I\/V

AFFIDAVIT OF PAUL M. LlEBENSON

I, Paul M. Liebenson, declare under penalty of perjury that the following is
true and correct based upon my personal knowledge:

l. I am employed as general counsel and secretary for ArcelorMittal USA
LLC.

2. ArcelorMittal USA LLC is owned through various limited liability
companies organized under the laws of the United States and various foreign jurisdictions,
which are ultimately held by ArcelorMittal SA, a Luxembourg corporation. The sole
member of ArcelorMittal USA LLC is ArcelorMittal USA Holdings I[ LLC, The sole
member of ArcelorMittal USA Holdings II LLC is ArcelorMittal North America Holdings
LLC. The sole member of ArcelorMittal North America Holdings LLC is ArcelorMittal
Holdings LLC, The sole member of ArcelorMittal Holdings LLC is ArcelorMittal USA
Holdings LLC, The sole member of ArcelorMittal USA Holdings LLC is lspat lnland
S.a.r.l, which is a limited liability company. lspat lnland S.a.r.l is wholly Owned by
ArcelorMittal S.A., a Luxembourg corporation with its principal place of business in

Luxembourg

Case: 1:18-Cv-03529 Document #: 1 Filed: 05/18/18 Page 185 of 185 Page|D #:185

3. Defendant, ArcelorMittal USA LLC consents to the Notice of Removal
filed by Defendant GM Safcty & Rental, LLC, removing this action, case number 17 L
9093, from the Circuit Court of Cook County, lllinois, County Department, Law Division,
to the United States District Court for the Northern District of lllinois, Eastem Division.

4. Pursuant to 28 U.S.C. 1746(2) I declare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

Executed on: May 16, 2018 By: /i(%

